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Counsel to the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    CELSIUS NETWORK LLC, et al.,1                                   )      Case No. 22-10964 (MG)
                                                                    )
                                       Debtors.                     )      (Jointly Administered)
                                                                    )

                         GLOBAL NOTES AND STATEMENT OF
                   LIMITATIONS, METHODOLOGY AND DISCLAIMERS
                  REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
               AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Celsius Network LLC and certain of its affiliates, as debtors and debtors in possession in
the above-captioned chapter 11 cases (the “Debtors”), have filed these respective Schedules of
Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”) in
the United States Bankruptcy Court for the Southern District of New York (the “Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy
Code”), rule 1007 of the Federal Rules of Bankruptcy Procedure, and rule 1007–1 of the
Bankruptcy Local Rules for the Southern District of New York.

       Mr. Chris Ferraro, Acting Chief Executive Officer, Chief Restructuring Officer, and Chief
Financial Officer of the Debtors, has signed each set of the Schedules and Statements. Mr. Ferraro


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining IL Ltd. (7106); Celsius Mining LLC (1387); Celsius Network IL Ltd. (7294); Celsius Network Inc. (1219);
      Celsius Network Limited (0143); Celsius Networks Lending LLC (8417); and Celsius US Holding LLC
      (7956). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service
      address in these chapter 11 cases is 121 River Street, PH05, Hoboken, New Jersey 07030.
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is an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Ferraro has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Mr.
Ferraro has not (and could not have) personally verified the accuracy of each such statement and
representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors, classification of such amounts, and
respective creditor contact information.

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve all of their rights, including to amend and/or
supplement the Schedules and Statements, as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event will the Debtors or their agents,
attorneys, and/or financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of,
each Debtor’s respective Schedules and Statements. The Global Notes should be referred to and
considered in connection with any review of the Schedules and Statements.2 In the event that the
Schedules and/or Statements differ from these Global Notes, the Global Notes control.



2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to


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                                Global Notes and Overview of Methodology

1.        Description of Cases. On July 13, 2022 (the “Petition Date”), the Debtors filed voluntary
          petitions for relief under chapter 11 of the Bankruptcy Code.3 The Debtors’ chapter 11
          cases are being jointly administered for procedural purposes only under lead case
          In re Celsius Network LLC, Case No. 22-10964 (MG) (Bankr. S.D.N.Y.). The Debtors are
          operating their business and managing their property as debtors in possession pursuant to
          sections 1107(a) and 1108 of the Bankruptcy Code. On July 27, 2022, the United States
          Trustee for the Southern District of New York (the “U.S. Trustee”) appointed an official
          committee of unsecured creditors [Docket No. 241] (the “Committee”). Additional
          information regarding the Committee and its legal and financial advisors can be obtained
          at https://cases.ra.kroll.com/CelsiusCommittee/. The information provided herein, except
          as otherwise noted, is reported as of the close of business on the Petition Date. As detailed
          more fully in Schedule AB for Celsius Mining LLC, certain asset information is listed as
          of June 30, 2022.

2.        Reporting of Cryptocurrencies. Due to their voluminous nature and for ease of review,
          the full Schedules of cryptocurrency-related items are generally reported at Celsius
          Network LLC, with cover pages cross-referencing the Schedules of Celsius Network LLC,
          as applicable. The applicable terms of use governing the business relationship between the
          Debtors and their account holders are between each account holder, on the one hand, and
          Celsius Network LLC and its “Affiliates,” on the other hand (as defined in the terms of
          use). This may mean that account holders have claims against every Debtor and
          non-Debtor entity in the Debtors’ corporate structure. The Debtors understand that certain
          parties in interest, including certain holders of the Series B Preferred Shares issued by
          Celsius Network Limited, intend to argue that account holders have claims solely against
          Celsius Network LLC. The Debtors expect that this legal issue will be resolved by the
          Court in the near term, either through a to-be-commenced adversary proceeding, a claims
          objection, or other litigation (the “Account Holder Claim Ruling”).

          Pursuant to Bankruptcy Rule 3003(c)(2), if a claim is scheduled as contingent,
          unliquidated, or disputed, a creditor must file a proof of claim in order to preserve rights
          with respect to such claim. The Debtors have scheduled account holder claims at each
          Debtor entity and have not scheduled any of such claims as contingent, unliquidated, or
          disputed. The Debtors believe that scheduling any such claims as contingent, unliquidated,
          or disputed would inequitably require each account holder to file a proof of claim against
          each Debtor Entity in order to preserve the rights to the issues to be decided through the
          Account Holder Claim Ruling. For the avoidance of doubt, it is not the intent of the
          Debtors to create any presumption that account holders have claims against each Debtor
          entity, as that issue is disputed by certain holders of the Series B Preferred Shares issued
          by Celsius Network Limited, and no creditor or other party should rely on the fact that the

     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate.
3    Copies of publicly filed documents in these chapter 11 cases are available at http://cases.stretto.com/Celsius (free
     of charge) or the Court’s website at https://www.nysb.uscourts.gov/ecf-and-pacer-information (for a fee).



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          account holder claims are scheduled at each Debtor entity as dispositive as to this legal
          issue, which will be decided in the Account Holder Claim Ruling. To the extent the Court
          enters a final and non-appealable order with respect to the Account Holder Claim Ruling,
          the Debtors intend to amend the Schedules to the extent required by such ruling. For the
          avoidance of doubt, nothing contained herein is intended as, or should be construed as, an
          admission or stipulation of the validity of any claim against any Debtor, any assertion made
          therein or herein, or a waiver of any Debtor’s rights to dispute any claim or assert any cause
          of action or defense against any party.

3.        Reservation of Rights. Reasonable efforts have been made to prepare and file complete
          and accurate Schedules and Statements; however, as noted above, inadvertent errors or
          omissions may exist. The Debtors reserve all rights to: (i) amend and/or supplement the
          Schedules and Statements from time to time, in all respects, as may be necessary or
          appropriate, including the right to amend the Schedules and Statements with respect to the
          description, designation, or Debtor against which any claim (“Claim”)4 is asserted; (ii)
          dispute or otherwise assert offsets, setoffs, or other defenses to any Claim reflected in the
          Schedules and Statements as to amount, liability, priority, status, or classification;
          (iii) subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated”; or
          (iv) object to the extent, validity, enforceability, priority, or avoidability of any Claim
          (regardless of whether of such Claim is designated in the Schedules and Statements as
          “disputed,” “contingent,” or “unliquidated”). Any failure to designate a Claim in the
          Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Debtors that such Claim or amount is not “disputed,”
          “contingent,” or “unliquidated” or a waiver of any right to later object to any claim on any
          grounds. Listing a Claim does not constitute an admission of (a) liability or (b) amounts
          due or owed, if any, in each case, by the Debtor against which the Claim is listed or against
          any of the Debtors. Furthermore, nothing contained in the Schedules and Statements shall
          constitute a waiver of rights with respect to the Debtors’ chapter 11 cases, including,
          without limitation, issues involving or defenses against Claims, substantive consolidation,
          defenses, statutory, or equitable subordination, and/or causes of action arising under the
          provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy
          laws to recover assets or avoid transfers. Any specific reservation or rights contained
          elsewhere in the Global Notes does not limit in any respect the general reservation of rights
          contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
          required to update the Schedules and Statements.

          (a)      No Admission. Nothing contained in the Schedules and Statements is intended as,
                   or should be construed as, an admission or stipulation of the validity of any Claim
                   against any Debtor, any assertion made therein or herein, or a waiver of any
                   Debtor’s rights to dispute any Claim or assert any cause of action or defense against
                   any party.




4    For the purposes of these Global Notes, the term Claim shall have the meaning as defined under section 101(5) of
     the Bankruptcy Code.



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    (b)   Recharacterization. The Debtors have made reasonable efforts to correctly
          characterize, classify, categorize, and designate the claims, assets, executory
          contracts, unexpired leases, and other items reported in the Schedules and
          Statements. Nevertheless, due to the complexity of the Debtors’ business, the
          Debtors may not have accurately characterized, classified, categorized, or
          designated certain items and/or may have omitted certain items. Accordingly, the
          Debtors reserve all of their rights to recharacterize, reclassify, recategorize, or
          redesignate items reported in the Schedules and Statements at a later time as
          necessary or appropriate, including, without limitation, whether contracts or leases
          listed herein were deemed executory or unexpired as of the Petition Date and
          remain executory and unexpired postpetition.

    (c)   Classifications. Listing (i) a Claim on Schedule D as “secured,” (ii) a Claim on
          Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
          “executory” or “unexpired” does not constitute an admission by the Debtors of the
          legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
          rights to object to such claim, recharacterize or reclassify such Claim or contract or
          to setoff such Claims.

    (d)   Estimates and Assumptions. The preparation of the Schedules and Statements
          required the Debtors to make commercially reasonable estimates and assumptions
          with respect to the reported amounts of assets and liabilities on the date of the
          Schedules and Statements, and the reported amounts of revenues and expenses
          during the applicable reporting periods. Actual results could differ from such
          estimates.

    (e)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
          and/or set forth all of their causes of action (filed or potential) against third parties
          as assets in their Schedules and Statements, including, without limitation,
          avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
          other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
          reserve all rights with respect to any causes of action (including avoidance actions),
          controversy, right of setoff, cross claim, counterclaim, or recoupment and any
          Claim on contracts or for breaches of duties imposed by law or in equity, demand,
          right, action, lien, indemnity, guaranty, suit, obligation, liability, damage,
          judgment, account, defense, power, privilege, license, and franchise of any kind or
          character whatsoever, known, unknown, fixed or contingent, matured or
          unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
          undisputed, secured or unsecured, assertable directly or derivatively, whether
          arising before, on, or after the Petition Date, in contract or in tort, in law or in equity,
          or pursuant to any other theory of law they may have (collectively, “Causes of
          Action”), and neither the Global Notes nor the Schedules and Statements shall be
          deemed a waiver of any such Claims, Causes of Action, or avoidance actions or in
          any way prejudice or impair the assertion of such Claims or Causes of Action.

    (f)   Intellectual Property Rights. Exclusion of certain intellectual property shall not
          be construed to be an admission that such intellectual property rights have been


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                   abandoned, have been terminated, or otherwise have expired by their terms, or have
                   been assigned or otherwise transferred pursuant to a sale, acquisition, or other
                   transaction. Conversely, inclusion of certain intellectual property shall not be
                   construed to be an admission that such intellectual property rights have not been
                   abandoned, have not been terminated, or otherwise have not expired by their terms,
                   or have not been assigned or otherwise transferred pursuant to a sale, acquisition,
                   or other transaction.

          (g)      Cryptocurrency. Certain of the Debtors’ assets are cryptocurrencies, or digital
                   tokens, based on a publicly accessible blockchain. Cryptocurrencies are unique
                   assets. Certain laws and regulations that may be applicable to cryptocurrencies do
                   not contemplate or address unique issues associated with the cryptocurrency
                   economy, are subject to significant uncertainty, and vary widely across U.S.
                   federal, state, and local and international jurisdictions. The Debtors make no
                   representations or admissions concerning the status of cryptocurrency as a
                   “security” under any state, federal, or local domestic or international statute,
                   including United States federal securities laws, and reserve all rights to amend
                   and/or supplement the Schedules and Statements as they deem appropriate in this
                   regard. Furthermore, the Debtors have taken the position that, consistent with the
                   applicable terms of use between the Debtors and their account holders, certain
                   cryptocurrency held on the Debtors’ platform, such as those coins held in “earn”
                   accounts, is property of the Debtors’ estate pursuant to section 541 of the
                   Bankruptcy Code. Conversely, the Debtors have taken the position that, consistent
                   with the applicable terms of use, certain other cryptocurrency held on the Debtors’
                   platform, such as those coins held in “custody” or “withhold” accounts, is not
                   property of the Debtors’ estate pursuant to section 541 of the Bankruptcy Code.5
                   The Debtors reserve all rights with respect to these designations and to amend
                   and/or supplement the Schedules and Statements as they deem appropriate in this
                   regard.

          (h)      Insiders. The Debtors have attempted to include all payments made on or within
                   12 months before the Petition Date to any individual or entity deemed an “insider”
                   (and their relatives). As to each Debtor, an individual or entity is designated as an
                   insider for the purposes of the Schedules and Statements if such individual or entity,
                   based on the totality of the circumstances, has at least a controlling interest in, or
                   exercises sufficient authority over, the Debtor such that they dictate corporate
                   policy and/or the disposition of corporate assets. Where an individual or entity was
                   a “close call” with respect to being included in the Schedules and Statements as an
                   insider, the Debtors have opted for increased disclosure and resolved such “close
                   calls” in favor of treating such individuals or entities as insiders for purposes of the
                   Schedules and Statements. Certain of the individuals or entities identified as
                   insiders may not have been insiders for the entirety of the 12-month period before



5    There may be other legal theories as to whether such cryptocurrency assets may be property of the Debtors’ estates.
     The Debtors reserve all such rights.



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           the Petition Date, but the Debtors have included them herein out of an abundance
           of caution.

           The listing or omission of a party as an insider for purposes of the Schedules and
           Statements is for informational purposes and is not intended to be, nor should it be,
           construed as an admission that those parties are insiders for purpose of
           section 101(31) of the Bankruptcy Code. Information regarding the individuals or
           entities listed as insiders in the Schedules and Statements may not be used for:
           (a) the purposes of determining (i) control of the Debtors; (ii) the extent to which
           any individual or entity exercised management responsibilities or functions;
           (iii) corporate decision-making authority over the Debtors; or (iv) whether such
           individual or entity could successfully argue that it is not an insider under applicable
           law, including the Bankruptcy Code and federal securities laws, or with respect to
           any theories of liability or (b) any other purpose. Furthermore, the listing or
           omission of a party as an insider for purposes of the Schedules and Statements is
           not intended to be, nor should it be, construed an admission of any fact, right, claim,
           or defense, and all such rights, claims, and defenses are hereby expressly reserved.

4.   Methodology.

     (a)   Basis of Presentation. Information contained in the Schedules and Statements has
           been derived from the Debtors’ books and records and historical financial
           statements. The Schedules and Statements have not, however, been subject to
           procedures that would typically be applied to financial statements prepared in
           accordance with Generally Accepted Accounting Principles in the United States
           (“GAAP”) or International Financial Reporting Standards (“IFRS”) and are not
           intended to reconcile fully with any financial statements of each Debtor prepared
           under GAAP or IFRS. Therefore, combining the assets and liabilities set forth in
           the Schedules and Statements would result in amounts that are substantially
           different from financial information that would be prepared on a consolidated basis
           under GAAP or IFRS. For financial reporting purposes, prior to the Petition Date,
           the Debtors prepared financial statements on a consolidated basis. Unlike the
           consolidated financial statements, the Schedules and Statements, except where
           otherwise indicated, reflect the assets and liabilities of each separate Debtor.
           Moreover, given, among other things, the uncertainty surrounding the valuation,
           collection, and ownership of certain assets and the valuation and nature of certain
           liabilities, to the extent that a Debtor shows more assets than liabilities, it is not an
           admission that the Debtor was solvent as of the Petition Date or at any time before
           the Petition Date. Likewise, to the extent a Debtor shows more liabilities than
           assets, it is not an admission that the Debtor was insolvent at the Petition Date or
           any time before the Petition Date. For the avoidance of doubt, nothing contained
           in the Schedules and Statements is indicative of the Debtors’ enterprise value. The
           Schedules and Statements contain unaudited information that is subject to further
           review and potential adjustment.

     (b)   Confidential or Sensitive Information. There may be instances in which certain
           information in the Schedules and Statements intentionally has been redacted due


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          to, among other things, the nature of an agreement between a Debtor and a third
          party, local restrictions on disclosure, concerns about the confidential nature of
          certain information, or concerns for the privacy of an individual (including minors).
          The alterations will be limited to only what is necessary to protect the Debtor or
          applicable third party. The Debtors may also be authorized or required to redact
          certain information from the public record pursuant to orders of the Court sealing
          or otherwise protecting such information from public disclosure, including the
          Memorandum Opinion and Order on the Debtors’ Sealing Motion [Docket
          No. 910]. All such redacted information shall be made available as directed by
          orders of the Court or to the individual account holder or creditor scheduled, as
          applicable.

    (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
          may properly be disclosed in response to multiple parts of the Schedules and
          Statements. Except as otherwise discussed below, to the extent these disclosures
          would be duplicative, the Debtors have determined to only list such assets,
          liabilities, and prepetition payments once.

    (d)   Net Book Value. In certain instances, current market valuations for certain assets
          are neither maintained by, nor readily available to, the Debtors. Accordingly,
          unless otherwise indicated, the Debtors’ Schedules and Statements reflect net book
          values. Market values may vary, sometimes materially, from net book values. The
          Debtors believe that it would be an inefficient use of estate assets for the Debtors
          to obtain the current market values of their property. Accordingly, the Debtors have
          indicated in the Schedules and Statements that the values of certain assets and
          liabilities are undetermined or unknown.

          Certain other assets, such as investments in subsidiaries and other intangible assets,
          are listed at undetermined amounts, as the net book values may differ materially
          from fair market values. Amounts ultimately realized may vary from net book
          value (or whatever value was ascribed) and such variance may be material.
          Accordingly, the Debtors reserve all of their rights to amend or adjust the value of
          each asset set forth herein. In addition, the amounts shown for total liabilities
          exclude items identified as “unknown” or “undetermined,” and, thus, ultimate
          liabilities may differ materially from those stated in the Schedules and Statements.

          In addition, assets that have been fully depreciated or that were expensed for
          accounting purposes either do not appear in these Schedules and Statements or are
          listed with a zero-dollar value, as such assets have no net book value. The omission
          of an asset from the Schedules and Statements does not constitute a representation
          regarding the ownership of such asset, and any such omission does not constitute a
          waiver of any rights of the Debtors with respect to such asset. Given, among other
          things, the current market valuation of certain assets and the valuation and nature
          of certain liabilities, nothing in the Schedules and Statements shall be, or shall be
          deemed to be, an admission that any Debtor was solvent or insolvent as of the
          Petition Date.



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    (e)   Property. The Debtors’ office property leases are set forth on Schedule G.
          Nothing in the Schedules and Statements is or shall be construed as an admission
          as to the determination as to the legal status of any lease (including whether any
          lease is a true lease or a financing arrangement), and the Debtors reserve all of their
          rights with respect to same.

    (f)   Allocation of Liabilities. The Debtors, in consultation with their advisors, have
          sought to allocate liabilities between the prepetition and postpetition periods based
          on the information and research that was conducted in connection with the
          preparation of the Schedules and Statements. As additional information becomes
          available and further research is conducted, the allocation of liabilities between
          prepetition and postpetition periods may change. The Debtors reserve the right to
          amend and/or supplement the Schedules and Statements as they deem appropriate
          in this regard.

    (g)   Undetermined Amounts. The description of an amount as “unknown” or
          “undetermined” is not intended to reflect upon the materiality of such amount.

    (h)   Unliquidated Claim Amounts. Claim amounts that could not be readily
          quantified by the Debtors are scheduled as “unliquidated.”

    (i)   Totals. All totals that are included in the Schedules and Statements represent totals
          of all the known amounts included in the Schedules and Statements. To the extent
          there are unknown or undetermined amounts, the actual total may be different than
          the listed total.

    (j)   Valuation of Cryptocurrency. Cryptocurrency amounts are generally listed by
          coin amount rather than a conversion to price in U.S. dollars. To the extent
          cryptocurrency values are presented in U.S. dollars, they reflect the valuation as set
          forth in the Debtors’ books and records as of the Petition Date or the time of the
          relevant transaction, as applicable. Actual net realizable value may vary
          significantly. The Debtors reserve all rights in this respect with such values
          presented in the Schedules and Statements.

    (k)   Paid Claims. Pursuant to certain orders of the Court entered in the Debtors’
          chapter 11 cases entered shortly after the Petition Date (collectively, the “First Day
          Orders”) as well as other orders of the Court, the Debtors have authority to pay
          certain outstanding prepetition payables pursuant to bankruptcy or other court
          order; as such, outstanding liabilities may have been reduced by any court-approved
          postpetition payments made on prepetition payables. Where and to the extent these
          liabilities have been satisfied, they are not listed in the Schedules and Statements,
          unless otherwise indicated. Regardless of whether such claims are listed in the
          Schedules and Statements, to the extent the Debtors later pay any amount of the
          claims listed in the Schedules and Statements pursuant to any orders entered by the
          Court, the Debtors reserve all rights to amend or supplement the Schedules and
          Statements or to take other action, such as filing claims objections, as is necessary
          and appropriate to avoid overpayment or duplicate payments for liabilities.



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          Nothing contained herein should be deemed to alter the rights of any party in
          interest to contest a payment made pursuant to an order of the Court where such
          order preserves the right to contest such payment.

    (l)   Intercompany Receivables and Payables. Receivables and payables among the
          Debtors and among the Debtors and their non-Debtor affiliates are reported on
          Schedule A/B and Schedule E/F, respectively, per the Debtors’ books and records.
          Intercompany loan amounts scheduled may include accrued and unpaid interest.
          The listing of any amounts with respect to such receivables and payables is not, and
          should not be construed as, an admission or conclusion of the Debtors’ regarding
          the allowance, classification, validity, or priority of such account or
          characterization of such balances as debt, equity, or otherwise. For the avoidance
          of doubt, the Debtors reserve all rights, claims, and defenses in connection with any
          and all intercompany receivables and payables, including with respect to the
          characterization of intercompany claims, loans, and notes.

          As described more fully in the Debtors’ Motion Seeking Entry of Interim and Final
          Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
          Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
          (C) Maintain Existing Business Forms, and (D) Continue to Perform Intercompany
          Transactions, (II) Granting Superpriority Administrative Expense Status To
          Postpetition Intercompany Balances, And (III) Granting Related Relief [Docket
          No. 21] (the “Cash Management Motion”), the Debtors engage in a range of
          intercompany transactions in the ordinary course of business. Pursuant to the third
          interim order granting certain of the relief requested in the Cash Management
          Motion on an interim basis [Docket No. 699] (the “Cash Management Order”), the
          Bankruptcy Court has granted the Debtors authority to continue these intercompany
          transactions in the ordinary course of business on an interim basis. Thus,
          intercompany balances as of the Petition Date, as set forth in Schedule E/F or
          Schedule A/B 77, may not accurately reflect current positions.

    (m)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
          reasonable efforts to locate and identify guarantees in their executory contracts,
          unexpired leases, and other such agreements. The Debtors may have inadvertently
          omitted guarantees embedded in their contractual agreements and may identify
          additional guarantees as they continue their review of their books and records and
          contractual agreements. The Debtors reserve their rights, but are not required, to
          amend the Schedules and Statements if additional guarantees are identified.

    (n)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
          assets, tax accruals, and liabilities from the Schedules and Statements, including
          without limitation, accrued salaries and employee benefit accruals. In addition and
          as set forth above, the Debtors may have excluded amounts for which the Debtors
          have paid or have been granted authority to pay pursuant to the First Day Orders or
          other order that may be entered by the Court. Additionally, certain immaterial or
          de minimis assets and liabilities may have been excluded.



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    (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars or
          amount of cryptocurrency coins.

    (p)   Setoffs. The Debtors may incur certain setoffs and other similar rights during the
          ordinary course of business. Offsets in the ordinary course can result from various
          items, including, without limitation, margin call or other lending-related
          transactions, intercompany transactions, pricing discrepancies, returns, and other
          disputes between the Debtors and their account holders and/or suppliers. These
          offsets and other similar rights are consistent with the ordinary course of business
          in the Debtors’ industry and may not be tracked separately. Therefore, although
          such offsets and other similar rights may have been included in the Schedules, other
          offsets are not independently accounted for, and as such, may be excluded from the
          Schedules.

    (q)   Claims and Causes of Action. The Debtors believe that they may possess certain
          Claims and Causes of Action against various parties. Additionally, the Debtors
          may possess contingent claims in the form of various avoidance actions they could
          commence under the provisions of chapter 5 of the Bankruptcy Code and other
          relevant non-bankruptcy laws. These Schedules and Statements reflect both
          transfers of cryptocurrency from earn accounts into custody accounts as well as
          withdrawals of cryptocurrency fully off of the Debtors’ platform. As of the date
          hereof, the Debtors’ advisors and the special committee of the board of directors of
          Celsius Network Limited are continuing to analyze whether such transfers and
          withdrawals give rise to any claims or causes of action under chapter 5 of the
          Bankruptcy Code.

          The Debtors, despite reasonable efforts, may not have identified and/or set forth all
          of their Causes of Action against third parties as assets in their Schedules and
          Statements, including, without limitation, avoidance actions arising under chapter
          5 of the Bankruptcy Code and actions under other relevant bankruptcy and non-
          bankruptcy laws to recover assets. The Debtors reserve all of their rights with
          respect to any Claims, Causes of Action, or avoidance actions they may have and
          nothing contained in these Global Notes or the Schedules and Statements shall be
          deemed a waiver of any such claims, avoidance actions, or Causes of Action or in
          any way prejudice or impair the assertion of such claims. Additionally, prior to the
          Petition Date, each Debtor, as plaintiff, may have commenced various lawsuits in
          the ordinary course of its business against third parties seeking monetary damages.

    (r)   Executory Contracts. Although the Debtors made diligent efforts to attribute an
          executory contract to its rightful Debtor, in certain instances, the Debtors may have
          inadvertently failed to do so. Accordingly, the Debtors reserve all of their rights
          with respect to the named parties of any and all executory contracts, including the
          right to amend Schedule G.

    (s)   Claims of Third-Party Related Entities. While the Debtors have made every
          effort to properly classify each claim listed in the Schedules as being either disputed
          or undisputed, liquidated or unliquidated, and contingent or noncontingent, the


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            Debtors have not been able to fully reconcile all payments made to certain third
            parties and their related entities on account of the Debtors’ obligations to same.
            Therefore, to the extent that the Debtors have classified their estimate of claims of
            a creditor as disputed, all claims of such creditor’s affiliates listed in the Schedules
            and Statements shall similarly be considered as disputed, whether or not they are
            designated as such.

     (t)    Umbrella or Master Agreements. Contracts listed in the Schedules and
            Statements may be umbrella or master agreements that cover relationships with
            some or all of the Debtors. Where relevant, such agreements have been listed in
            the Schedules and Statements only of the Debtor that signed the original umbrella
            or master agreement. The master service agreements have been listed in
            Schedule G, but do not reflect any decision by the Debtor as to whether or not such
            agreements are executory in nature.

     (u)    Credits and Adjustments. The Claims of individual creditors for, among other
            things, goods, products, services, or taxes are listed as the amounts entered on the
            Debtors’ books and records and may either (i) not reflect credits, allowances, or
            other adjustments due from such creditors to the Debtors or (ii) be net of accrued
            credits, allowances, or other adjustments that are actually owed by a creditor to the
            Debtors on a postpetition basis on account of such credits, allowances, or other
            adjustments earned from prepetition payments and vendor payments, if applicable.
            The Debtors reserve all of their rights with regard to such credits, allowances, or
            other adjustments, including, but not limited to, the right to modify the Schedules,
            assert claims objections and/or setoffs with respect to the same, or apply such
            allowances in the ordinary course of business on a post-petition basis.

     (v)    Payments. The financial affairs and business of the Debtors are complex. Prior to
            the Petition Date, the Debtors maintained a cash management and disbursement
            system in the ordinary course of their businesses, as described in the Cash
            Management Motion, as defined herein. Although efforts have been made to
            attribute open payable amounts to the correct legal entity, the Debtors reserve the
            right to modify or amend their Schedules and Statements to attribute such payment
            to a different legal entity, if appropriate.

5.   Specific Schedules Disclosures.

     (a)    Schedule A/B, Question 3 – Checking, Savings, Money Market, or Financial
            Brokerage Accounts. Amounts listed are as of the Petition Date for the
            corresponding Debtor and reflect the actual bank balance, not the net book value.

     (b)    Schedule A/B, Questions 7 and 8 – Deposits and Prepayments. The Debtors are
            required to make deposits or prepayments from time to time with various vendors
            and other service providers in the ordinary course of business. The Debtors have
            exercised reasonable efforts to report the current value of any deposits or
            prepayments.     The Debtors may have inadvertently omitted deposits or
            prepayments and conversely may have reported deposits or prepayments that are



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          no longer outstanding. The Debtors reserve their rights, but are not required, to
          amend the Schedules and Statements if deposits or prepayments are incorrectly
          identified.

    (c)   Schedule A/B, Question 15 – Non-Publicly Traded Stock. Equity interests in
          subsidiaries and affiliates primarily arise from common stock ownership or member
          or partnership interests. For purposes of these Schedules, the Debtors have listed
          an undetermined value for the equity interests of all subsidiaries and affiliates.
          Nothing in these Schedules is an admission or conclusion of the Debtors regarding
          the value of such subsidiary and affiliate equity interests, which, under certain fair
          market or enterprise valuation analyses, may have value.

          Book values of assets prepared in accordance with GAAP generally do not reflect
          the current performance of the assets or the impact of the industry environment and
          may differ materially from the actual value and/or performance of the underlying
          assets. As such, the value listed in these Schedules and Statements cannot be, and
          was not, used to determine the Debtors’ enterprise valuation.

    (d)   Schedule A/B, Question 55 – Real Property. The Debtors do not own any real
          property. The Debtors’ office and other property leases are set forth on Schedule
          G.

    (e)   Schedule A/B, Question 72 – Tax Refunds and Unused Net Operating Losses
          (NOLs). The Debtors’ response to the schedule questionnaire is indicative of
          certain gross non-tax effected net operating loss (“NOL”) values as compared to
          the GAAP net deferred tax assets associated with such NOLs. The actual tax
          savings from these NOLs is dependent upon, among other things, the timing,
          character, and amount of any future or previous years’ (provided NOLs are allowed
          to be carried back) income to which they can be applied. Amounts also do not
          reflect the consideration of any valuation allowances recorded pursuant to GAAP,
          which have the effect of reducing associated deferred tax assets. Additionally, the
          NOLs listed in Schedule A/B, Question 72 reflect the amounts listed in the Debtors’
          books and records, may reflect NOLs accumulated for more than one tax year, and
          may be subject to expiration or limitations on usability now or in the future. All
          figures set forth in Schedule A/B, Question 72 are preliminary, unreviewed, and
          unaudited and are subject to final adjustments.

    (f)   Schedule A/B, Question 73 – Interests in insurance policies or annuities. The
          Debtors have included a listing of their insurance policies in response to Question
          73, however, a determination as to the surrender or refund value of each of the
          insurance policies has not been made and, therefore, the balance is listed as
          undetermined.

    (g)   Schedule A/B, Question 77 – Other property of any kind not already listed.
          Schedule A/B, Question 77 lists, among other things, the Debtors’ cryptocurrency,
          or digital tokens, assets based on a publicly accessible blockchain. The current
          value shown reflects the valuation as booked in the Debtors’ books and records as



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          of the Petition Date. All figures set forth in Schedule A/B, Question 77 are
          preliminary, unreviewed, and unaudited and are subject to final adjustments
          following, inter alia, completion of quarterly and year-end close procedures.

    (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
          otherwise agreed pursuant to a stipulation, or agreed order, or general order entered
          by the Court that is or becomes final, the Debtors and their estates reserve their
          rights to dispute or challenge the validity, perfection, or immunity from avoidance
          of any lien purported to be granted or perfected in any specific asset to any creditor
          of any Debtor. The Debtors reserve all rights to dispute or challenge the secured
          nature of any such creditor’s Claim or the characterization of the structure of any
          such transaction or any document or instrument related to such creditor’s Claim.

          The Debtors have not included on Schedule D parties that may believe their Claims
          are secured through setoff rights or inchoate statutory lien rights.

    (i)   Schedule E/F – Creditors Who Have Unsecured Claims. The listing of any
          Claim on Schedule E/F does not constitute an admission by the Debtors that such
          Claim or any portion thereof is entitled to priority treatment under section 507 of
          the Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount
          and/or the priority status of any Claim on any basis at any time.

          Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Final Order
          (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting Related
          Relief [Docket No. 526] (the “Taxes Order”), the Court granted the Debtors
          authority to pay, in their sole discretion, certain tax liabilities and regulatory fees,
          including certain business licensing fees, that accrued prepetition. Accordingly,
          any unsecured priority claims based upon prepetition tax accruals that have been or
          will be paid pursuant to the Taxes Order are not listed in Schedule E.

          Furthermore, pursuant to the Final Order Authorizing the Debtors to
          (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
          Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
          Programs and (II) Granting Related Relief [Docket No. 518] (the “Wages Order”),
          the Court granted the Debtors authority to pay or honor certain prepetition
          obligations for employee wages, salaries, and other compensation, reimbursable
          employee expenses, and employee medical and similar benefits, in the ordinary
          course of business. The Debtors believe that all such Claims have been, or will be,
          satisfied in the ordinary course during their chapter 11 cases pursuant to the
          authority granted in the Wages Order, and such satisfied amounts are not set forth
          on Schedule E.

          The listing of a claim on Schedule E/F, Part 1 does not constitute an admission by
          the Debtors that such claim or any portion thereof is entitled to priority status.

          Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
          in Schedule E/F, Part 2 are derived from the Debtors’ books and records. The



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          Debtors made a reasonable attempt to set forth their unsecured obligations,
          although the actual amount of Claims against the Debtors may vary from those
          liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
          the correct amount of any unsecured creditor’s allowed Claims or the correct
          amount of all unsecured Claims. Certain creditors listed on Schedule E/F may owe
          amounts to the Debtors and, as such, the Debtors may have valid setoff or
          recoupment rights with respect to such amounts, including on account of
          outstanding cryptocurrency or other loans. The amounts listed on Schedule E/F do
          not reflect any such right of setoff or recoupment and the Debtors reserve all rights
          to assert any such setoff or recoupment rights.

          Schedule E/F, Part 2 contains information regarding threatened or pending
          litigation involving the Debtors. The amounts for these potential claims are listed
          as “undetermined” and are marked as contingent, unliquidated, and disputed in the
          Schedules and Statements. In certain instances, the date on which a litigation claim
          arose is an open issue of fact. Determining the date upon which each claim in
          Schedule E/F, Part 2 was incurred or arose would be unduly burdensome and
          prohibitively costly and, therefore, the Debtors do not list a date for each claim
          listed on Schedule E/F, Part 2.

          Schedule E/F, Part 2 reflects the prepetition amounts owing to counterparties to
          executory contracts and unexpired leases. Such prepetition amounts, however, may
          be paid in connection with the assumption, or assumption and assignment, of an
          executory contract or unexpired lease. In addition, Schedule E/F, Part 2 does not
          include rejection damage claims, to the extent such damage claims exist, of the
          counterparties to the executory contracts and unexpired leases that have been or
          may be rejected.

          Schedule E/F, Part 2 does not include certain deferred credits, deferred charges,
          deferred liabilities, accruals, or general reserves. Such amounts are general
          estimates of liabilities and do not represent specific claims as of the Petition Date;
          however, such amounts are reflected on the Debtors’ books and records as required
          in accordance with GAAP.

          The claims of individual creditors for, among other things, goods, services, or taxes
          listed on the Debtors’ books and records may not reflect credits or allowances due
          from such creditors. The Debtors reserve all of their rights in respect of such credits
          or allowances. The dollar amounts listed may be exclusive of contingent or
          unliquidated amounts.

    (j)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
          efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
          omissions may have occurred. The Debtors reserve all rights to supplement or
          amend Schedule G as necessary.

          Certain relationships between the Debtors and their vendors and account holders
          may be governed by a master services agreement, under which counterparties may



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            place purchase orders or other ancillary agreements which may be considered
            executory contracts.

            Listing a contract or agreement on Schedule G does not constitute an admission
            that such contract or agreement is an executory contract or unexpired lease or that
            such contract or agreement was in effect on the Petition Date or is valid or
            enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
            status, or enforceability of any contracts, agreements, or leases set forth in
            Schedule G and to amend or supplement such Schedule as necessary. Certain of
            the leases and contracts listed on Schedule G may contain renewal options,
            guarantees of payment, indemnifications, options to purchase, rights of first refusal
            and other miscellaneous rights. Such rights, powers, duties, and obligations are not
            set forth separately on Schedule G. In addition, the Debtors may have entered into
            various other types of agreements in the ordinary course of their business, such as
            supplemental agreements and letter agreement, which documents may not be set
            forth in Schedule G.

            The Debtors reserve all rights to dispute or challenge the characterization of any
            transaction or any document or instrument related to a creditor’s claim.

            In some cases, the same counterparty may appear multiple times in Schedule G.
            Multiple listings, if any, reflect distinct agreements between the applicable Debtor
            and such supplier or provider.

            The listing of any contract on Schedule G does not constitute an admission by the
            Debtors as to the validity of any such contract. The Debtors reserve the right to
            dispute the effectiveness of any such contract listed on Schedule G or to amend
            Schedule G at any time to remove any contract.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
            any such omitted contracts or agreements are not impaired by the omission.

6.   Specific Statements Disclosures.

     (a)    Statement Question 3 – Payments to Creditors. All accounts payable
            disbursements listed in Statement Question 3 are made through the Debtors’ cash
            management system, more fully described in the Cash Management Motion. Dates
            listed in Statement Questions 3 reflect the dates upon which the Debtor transferred
            funds to the relevant payee or disbursing agent. Certain disbursements may be
            excluded from Statement 3, such as disbursements to retained professionals
            (reported elsewhere). Certain payroll-related pass-through payments have been
            excluded from Statement 3.

            Statement Question 3 also includes details regarding certain cryptocurrency
            transactions, including earned interest or rewards, coin withdrawals and deposits,
            coin transfers, and other transactions, in order to provide a transparent transaction


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          history. The Debtors recognize that not all listed transactions are directly
          responsive to Statement Question 3, however they believe that presenting the
          transaction history provides the most accurate view. Due to their voluminous
          nature, earned rewards are presented on an aggregated basis by transferee and by
          coin type. A table describing the transaction codes and their meanings is included
          following section (b) below.

          After the Debtors established custody accounts on April 15, 2022, certain
          withdrawals off of the Debtors’ platform may have moved through a custody
          account. As a result, coin transfers from a non-custody to a custody account listed
          in Statement Question 3 may also be reflected in coin withdrawals on Statement
          Question 3.

          For the avoidance of doubt, any payments made in connection with the Debtors’
          bankruptcy within the 12-month period prior to the Petition Date are disclosed in
          response to Statement Question 11 and therefore are not listed in response to
          Statement Question 3. Further, any payments made to an insider within the
          12-month period prior to the Petition Date are disclosed in response to Statement
          Question 4 and therefore are not listed in response to Statement Question 3.

    (b)   Statement Question 4 – Payments to Insiders. The Debtors have responded to
          Statement Questions 4 and 30 in detailed format by insider in the attachment for
          Statement Question 4.

          Included in Statement Question 4 are expense reimbursements paid to insiders on
          account of charges to their corporate credit card. In addition to reimbursements for
          personal business expenses, responses to Statement Question 4 may also include
          payments for Debtor business expenses, such as vendor invoices, also charged to
          the insider’s corporate credit card. Such vendor payments are included to ensure
          completeness but do not represent transfers for the personal benefit of the insider.
          The response to Statement Question 4 excludes any charges related to certain
          employee training programs. Due to reporting constraints, certain expense line
          items may be duplicated. Additional detail is available upon request.

          Statement Question 4 also includes details regarding certain cryptocurrency
          transactions, including earned interest or rewards, coin withdrawals and deposits,
          coin transfers, and other transactions, in order to provide a transparent transaction
          history. The Debtors recognize that not all listed transactions are directly
          responsive to Statement Question 4, however they believe that presenting the
          transaction history provides the most accurate view. Due to their voluminous
          nature, earned rewards are presented on an aggregated basis by transferee and by
          coin type. A table describing the transaction codes and their meanings is included
          below. For the avoidance of doubt, insiders earned rewards on their cryptocurrency
          at the same rate as every other account holder in the earn program.

          After the Debtors established custody accounts on April 15, 2022, certain
          withdrawals off the Debtors’ platform may have moved through a custody account.



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                   As a result, coin transfers from a non-custody to a custody account listed in
                   Statement Question 4 may also be reflected as coin withdrawals listed in Statement
                   Question 4.

                   The Debtors have also reported monthly intercompany positions in Statement
                   Question 4. In addition, intercompany payables and receivables as of the Petition
                   Date can be found on Schedule E/F and Schedule AB.

                   To the extent: (i) a person qualified as an insider in the year prior to the
                   Petition Date but later resigned their insider status or (ii) did not begin the year as
                   an insider but later became an insider, the Debtors have listed in response to
                   Statement Question 4 all payments or transfers made during the applicable 12-
                   month period, irrespective of when such person was defined as an “insider.”

                   As discussed above, the inclusion of a party as an insider is not intended to be, nor
                   should be, construed as a legal characterization of such party as an insider and does
                   not act as an admission of any fact, Claim, right, or defense, and any such rights,
                   Claims, and defenses are hereby expressly reserved.
  Descriptive Purpose        Definition
  Deposit                    Incoming transfer of funds into a user's account that results in an increase in the user account balance of coin that was
                             deposited.
  Withdrawal                 Coin withdrawals are reductions to a Celsius users balance and may include withdrawals for the purpose of moving coin between
                             a single users accounts.
  Inbound Transfer           CelPay is a crypto-remittance product where customers can initiate a crypto-asset transfers to other Celsius customers. Instead
                             of initiating a transfer to a crypto wallet address, a link is generated and can be shared with the proposed receiver. The receiver
                             needs to be registered with Celsius for the transfer to complete. This represents the inbound side of the transaction.
  Outbound Transfer          See above. This represents the outbound side of the transaction.
  Interest                   Rewards paid at a fixed rate, reset weekly, for holding coin in an "Earn" account.
  Internal Account Transfer Movement of funds between Celsius Earn, Custody or Withheld account types.
  Swap In                    Represents the funds received in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap in transaction
                             for + 1 BTC).
  Swap Out                   Represents the funds paid in a swap transaction (e.g. if you buy 1 BTC with 30,000 USDC, you will see a swap out transaction
                             for -30,000 USDC).
  Loan Principal Payment     Represents the amounts funded for the loan and the amounts paid by the user to repay loan principal.
  Loan Interest Payment      Represents payments made to satisfy loan interest.
  Loan Principal Liquidation Represents the amount of collateral sold to pay off the borrowed principal (e.g. if a loan for $20K USD is liquidated, and the
                             price of BTC is $16K then this field will equal -1.25 (BTC); number should be a negative)). This transaction reduces the overall
                             user account balance (of the token held in collateral) by the amount of the token that was liquidated.
  Loan Interest Liquidation     The final interest charged on the liquidation of a loan.
  Collateral                    Coin pledged as security for repayment of a loan in the event of a borrowers default. Will include any initial collateral posted as
                                security, as well as any additional collateral provided in response to margin calls. Collateral transaction line items do not
                                represent actual coin movement. These line items reflect system designations that separately identify pledged coin from non-
                                pledged coin in a given account.
  Operation Cost                Represents the liquidation fee charged on the closing of a loan.
  Referred Award                Represents an award of coin to new users who are referred by an existing customer.
  Referrer Award                Represents an award of coin to a user for referring a new customer to Celsius.
  Bonus Token                   Represents coins rewarded as a bonus for achieving certain milestones.
  Promo Code Reward             Reward for entering a unique code on a users account and depositing a certain amount of coin on to the platform to qualify for
                                the promotion.


       (c)         Statement Question 11 – Payments Made Related to Bankruptcy. Although the
                   Debtors have made reasonable efforts to distinguish between payments made for
                   professional services related and unrelated to their restructuring efforts, some
                   amounts listed in response to Statement Question 11 may include payments for
                   professional services unrelated to bankruptcy.



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    (d)   Statement Question 21 – Property Held for Another. Statement Question 21
          details certain cryptocurrency held in custody and/or withhold accounts. Due to the
          voluminous nature of this data, amounts held in custody and/or withhold accounts
          are listed alongside amounts held in earn accounts on Schedule F. For the
          avoidance of doubt, the listing of such amounts on Schedule F is purely for clerical
          simplicity and efficiency, and does not amount to an assertion that such amounts
          are general unsecured claims or property of the estate pursuant to section 541 of the
          Bankruptcy Code.

    (e)   Statement Question 25 – Other Businesses. In addition to business interests listed
          in Statement Question 25, the Debtors also have or had interests in various
          decentralized autonomous organizations (DAOs). Due to the non-traditional
          structure of DAOs, they have been excluded from Statement Question 25.




                            *       *       *      *       *




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 Fill in this information to identify the case:

 Debtor name              Celsius Network Limited


 United States Bankruptcy Court for the:                       Southern District of New York

                                                                                                                                                                                                  ¨   Check if this is an
 Case number (If known):                      22-10966
                                                                                                                                                                                                      amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                              12/15



 Part 1:      Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
            Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                             $              Undetermined


     1b. Total personal property:
                                                                                                                                                                                             $         3,129,116,862.88*
            Copy line 91A from Schedule A/B ..............................................................................................................................


     1c. Total of all property:
                                                                                                                                                                                             $         3,129,116,862.88*
            Copy line 92 from Schedule A/B ................................................................................................................................




 Part 2:      Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                             $              Undetermined
     Copy the total dollar amount listed in Column A , Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                             $             Undetermined
            Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................


     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                            + $       10,234,215,512.12*
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                             $        10,234,215,512.12*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

      Official Form 206Sum                                                          Summary of Assets and Liabilities for Non-Individuals                                                                  page 1
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    Fill in this information to identify the case:
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     Debtor name      Celsius Network Limited


     United States Bankruptcy Court for the:        Southern District of New York
                                                                                                                                                            ¨ Check if this is an
     Case number (If known)       22-10966                                                                                                                      amended filing



  Official Form 206A/B
  Schedule A/B: Assets - Real and Personal Property                                                                                                                            12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the debtor holds
 rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets or assets that were not
 capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case number (if
 known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for
 the pertinent part.



  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation schedule, that
  gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims. See the instructions to
  understand the terms used in this form.


   Part 1:      Cash and cash equivalents


  1. Does the debtor have any cash or cash equivalents?

     ¨        No. Go to Part 2.

     þ        Yes. Fill in the information below.

                                                                                                                                                     Current value of debtor's
      All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                                     interest


  2. Cash on hand                                                                                                                                     $                         0.00

  3. Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                                   Type of account          Last 4 digits of account number

     3.1 See Attached Rider                                                                                                                           $              68,163,811.24

     3.2                                                                                                                                              $


  4. Other cash equivalents (Identify all)

     4.1 None                                                                                                                                         $                         0.00

     4.2                                                                                                                                              $


  5. Total of Part 1
                                                                                                                                                      $              68,163,811.24
      Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


   Part 2:      Deposits and prepayments


  6. Does the debtor have any deposits or prepayments?

     ¨       No.Go to Part 3.
                                                                                                                                                     Current value of debtor's
     þ       Yes. Fill in the information below.
                                                                                                                                                     interest
  7. Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit

     7.1     See Attached Rider                                                                                                                       $                   83,030.68

     7.2                                                                                                                                              $




Official Form 206A/B                                                   Schedule A/B: Assets - Real and Personal Property                                              Page 1
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             Name                                                          Pg 22 of 321

  8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 See Attached Rider                                                                                                                      $               7,663,764.25

     8.2                                                                                                                                         $


  9. Total of Part 2.
                                                                                                                                                 $               7,746,794.93
     Add lines 7 through 8. Copy the total to line 81.


   Part 3:      Accounts receivable


  10. Does the debtor have any accounts receivable?

     þ        No. Go to Part 4.

     ¨        Yes. Fill in the information below.
                                                                                                                                                Current value of debtor's
                                                                                                                                                interest
  11. Accounts receivable

         11a. 90 days old or less:                                                                                          =    ......          $

                                           face amount                            doubtful or uncollectible accounts

         11b. Over 90 days old:                                                                                             =    ......          $
                                           face amount                            doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                                 $                          0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


   Part 4:      Investments


  13. Does the debtor own any investments?

     ¨        No. Go to Part 5.

     þ        Yes. Fill in the information below.                                                                      Valuation method         Current value of debtor's
                                                                                                                       used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:
     14.1 None                                                                                                                                   $                          0.00

     14.2                                                                                                                                        $


  15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
      including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                      % of ownership:

     15.1 See Attached Rider                                                                                      %                              $            39,353,561.81*

     15.2                                                                                                         %                              $



  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1

         Describe:

     16.1 None                                                                                                                                   $                          0.00

     16.2                                                                                                                                        $



  17. Total of Part 4                                                                                                                            $            39,353,561.81*
         Add lines 14 through 16. Copy the total to line 83.



*Plus Undetermined Amounts

Official Form 206A/B                                               Schedule A/B: Assets - Real and Personal Property                                           Page 2
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   Part 5:      Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?

     þ        No. Go to Part 6.

     ¨        Yes. Fill in the information below.

         General Description                                     Date of the last            Net book value of      Valuation method    Current value of
                                                                 physical inventory          debtor's interest      used for current    debtor's interest
                                                                                             (Where available)      value

     19. Raw materials

                                                                                           $                                            $
                                                                   MM / DD / YYYY
     20. Work in progress

                                                                                           $                                            $
                                                                   MM / DD / YYYY
     21. Finished goods, including goods held for resale

                                                                                           $                                            $
                                                                   MM / DD / YYYY
     22. Other inventory or supplies

                                                                                           $                                            $
                                                                   MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                        $                          0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?

     ¨        No

     ¨        Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ¨        No

     ¨        Yes. Book value          $                   Valuation method                                Current value   $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

     ¨        No

     ¨        Yes

   Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     þ        No. Go to Part 7.

     ¨        Yes. Fill in the information below.

         General Description                                                                 Net book value of      Valuation method   Current value of debtor's
                                                                                             debtor's interest      used for current   interest
                                                                                             (Where available)      value

  28. Crops-either planted or harvested
                                                                                           $                                            $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                           $                                            $


  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                           $                                            $


  31. Farm and fishing supplies, chemicals, and feed
                                                                                           $                                            $


  32. Other farming and fishing-related property not already listed in Part 6
                                                                                           $                                            $




Official Form 206A/B                                              Schedule A/B: Assets - Real and Personal Property                                    Page 3
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  33. Total of Part 6.
                                                                                                                                      $                          0.00
         Add lines 28 through 32. Copy the total to line 85.

  34. Is the debtor a member of an agricultural cooperative?

     ¨        No

     ¨        Yes. Is any of the debtor’s property stored at the cooperative ?

             ¨      No

             ¨      Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     ¨        No

     ¨        Yes. Book value          $                       Valuation method                          Current value   $

  36. Is a depreciation schedule available for any of the property listed in Part 6?

     ¨        No

     ¨        Yes

  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     ¨        No

     ¨        Yes

   Part 7:       Office furniture, fixtures, and equipment; and collectibles


  38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     ¨        No. Go to Part 8.

     þ        Yes. Fill in the information below.

         General Description                                                               Net book value of      Valuation method   Current value of debtor's
                                                                                           debtor's interest      used for current   interest
                                                                                           (Where available)      value

  39. Office furniture

     None                                                                                 $                                           $                          0.00

  40. Office fixtures

     None                                                                                 $                                           $                          0.00


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

     Computer Equipment                                                                   $                        Net Book Value     $                      148.38

  42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
      artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
      or baseball card collections; other collections, memorabilia, or collectibles

     42.1 None                                                                            $                                           $                          0.00

     42.2                                                                                 $                                           $

     42.3                                                                                 $                                           $


  43. Total of Part 7.
                                                                                                                                      $                      148.38
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?

     ¨        No

     þ        Yes

  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     þ        No

     ¨        Yes




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                               Page 4
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   Part 8:      Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?

     þ        No. Go to Part 9.

     ¨        Yes. Fill in the information below.

         General Description                                                             Net book value of      Valuation method   Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN,               debtor's interest      used for current   interest
         HIN, or N-number)                                                               (Where available)      value



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                               $                                           $

     47.2                                                                               $                                           $
     47.3                                                                               $                                           $
     47.4                                                                               $                                           $



  48. Watercraft, trailers, motors, and related accessories Examples: Boats,
      trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                               $                                           $

     48.2                                                                               $                                           $


  49. Aircraft and accessories

     49.1                                                                               $                                           $
     49.2                                                                               $                                           $



  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

                                                                                        $                                           $




  51. Total of Part 8.
                                                                                                                                    $                          0.00
         Add lines 47 through 50. Copy the total to line 87.



  52. Is a depreciation schedule available for any of the property listed in Part 8?

     ¨        No
     ¨        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No

     ¨        Yes




Official Form 206A/B                                              Schedule A/B: Assets - Real and Personal Property                               Page 5
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   Part 9:      Real property


  54. Does the debtor own or lease any real property?

     ¨        No. Go to Part 10.

     þ        Yes. Fill in the information below.

  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                          Nature and extent           Net book value of            Valuation method        Current value of
         Include street address or other description such as           of debtor’s interest        debtor's interest            used for current        debtor's interest
         Assessor Parcel Number (APN), and type of property            in property                 (Where available)            value
         (for example, acreage, factory, warehouse, apartment
         or office building), if available.


     55.1 See Attached Rider                                                                      $        Undetermined                                 $          Undetermined
     55.2                                                                                         $                                                     $

     55.3                                                                                         $                                                     $
     55.4                                                                                         $                                                     $
     55.5                                                                                         $                                                     $

     55.6                                                                                         $                                                     $

  56. Total of Part 9.
                                                                                                                                                        $          Undetermined
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?

     þ        No

     ¨        Yes

  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

     þ        No

     ¨        Yes

  Part 10:      Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?

     ¨         No. Go to Part 11.

     þ         Yes. Fill in the information below.

          General Description                                                                 Net book value of        Valuation method            Current value of debtor's
                                                                                              debtor's interest        used for current            interest
                                                                                              (Where available)        value

  60. Patents, copyrights, trademarks, and trade secrets
     None                                                                                  $                                                        $                          0.00

  61. Internet domain names and websites
     None                                                                                  $                                                        $                          0.00


  62. Licenses, franchises, and royalties
     None                                                                                  $                                                        $                          0.00


  63. Customer lists, mailing lists, or other compilations
     Customer Relationships                                                                $          Undetermined        N/A                       $              Undetermined


  64. Other intangibles, or intellectual property
     Non-fungible Token                                                                    $          20,000,000.00       Net Book Value            $              20,000,000.00


  65. Goodwill

     None                                                                                  $                                                        $                          0.00


  66. Total of Part 10.
                                                                                                                                                        $         20,000,000.00*
          Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                               Schedule A/B: Assets - Real and Personal Property                                              Page 6
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  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

     ¨       No

     þ       Yes

  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

     þ       No

     ¨       Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

     þ       No

     ¨       Yes

  Part 11:      All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?

         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨       No. Go to Part 12.

     þ       Yes. Fill in the information below.
                                                                                                                                                         Current value of
                                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                                  =     $                       0.00
                                                                                 Total Face Amount      Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         Estimated losses through 2021 at ~$9,000,000                                                                      Tax Year        Various   $             Undetermined
                                                                                                                           Tax Year                  $
                                                                                                                           Tax Year                  $

  73. Interests in insurance policies or annuities

         Please refer to Celsius Network LLC schedule AB question 73.                                                                                $             Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         See Attached Rider                                                                                                                          $             Undetermined

         Nature of Claim

         Amount Requested              $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims

         None                                                                                                                                        $                       0.00

         Nature of Claim

         Amount Requested              $

  76. Trusts, equitable or future interests in property
         None                                                                                                                                        $                       0.00


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                                          $         2,993,852,546.52

                                                                                                                                                     $


  78. Total of Part 11.
                                                                                                                                                     $         2,993,852,546.52*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

     þ       No

     ¨       Yes

  *Plus Undetermined Amounts


Official Form 206A/B                                              Schedule A/B: Assets - Real and Personal Property                                               Page 7
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  Part 12:       Summary


  In Part 12 copy all of the totals from the earlier parts of the form.



                                                                                                                          Current value of                           Current value
         Type of Property
                                                                                                                          personal property                         of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                 $        68,163,811.24

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                     $         7,746,794.93

  82. Accounts receivable. Copy line 12, Part 3.                                                                         $                    0.00

  83. Investments. Copy line 17, Part 4.                                                                                 $       39,353,561.81*

  84. Inventory. Copy line 23, Part 5.                                                                                   $                    0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                          $                    0.00


  86. Office furniture, fixtures, and equipment; and collectibles.                                                       $                148.38

         Copy line 43, Part 7.

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                          $                    0.00

  88. Real property. Copy line 56, Part 9. . ...............................................................................                                        $   Undetermined

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                      $       20,000,000.00*


  90. All other assets. Copy line 78, Part 11.                                                                           $     2,993,852,546.52*


  91. Total. Add lines 80 through 90 for each column..............................91a.                                   $     3,129,116,862.88*        + 91b.      $   Undetermined




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................                      $ 3,129,116,862.88*




  *Plus Undetermined Amounts




Official Form 206A/B                                                              Schedule A/B: Assets - Real and Personal Property                                                           Page 8
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                                                                      Assets - Real and Personal Property


                                               Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage firm)                         Type of account                        Last 4 digits of account        Current value of debtor's
                                                                                                            number                          interest

 ED&F Man Capital Markets, Inc.                                     Brokerage Account                       1000                                              $5,108,985.07


 Signature Bank                                                     Collateral Account                      9786                                              $1,541,786.40


 Signature Bank                                                     Operating Account                       0999                                              $1,128,282.70


 Signature Bank                                                     Operating Account                       9778                                                $132,431.94


 Signature Bank                                                     OTC Account                             0344                                                $165,629.80


 Signature Bank                                                     Treasury Account                        2589                                             $60,086,695.33



                                                                                                             TOTAL                                            $68,163,811.24




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                                                                    Assets - Real and Personal Property


                                                 Part 2, Question 7: Deposits, including security deposits and utility deposits



Deposits, including security deposits and utility deposits                                      Current value of debtor's
(Description, including name of holder of deposit)                                              interest

 IW Group Services - Prepaid Security Deposit                                                                                                           $10,001.68


 New Spanish Ridge LLC - Prepaid Security Deposit                                                                                                       $62,370.00


 WeWork - Prepaid Security Deposit                                                                                                                       $2,230.63


 Workland Lithuania UAB - Prepaid Security Deposit                                                                                                           $123.57


 Workspace Management Ltd - Prepaid Security Deposit                                                                                                     $8,304.80



 TOTAL                                                                                                                                                   $83,030.68




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                                                                     Assets - Real and Personal Property


                                 Part 2, Question 8: Prepayments, including payments on executory contracts, leases, insurance, taxes, and rent



Prepayments, including prepayments on executory contracts, leases,                                 Current value of debtor's
insurance, taxes, and rent (Description, including name of holder of prepayment)                   interest

 Akin Gump Strauss Hauer Feld LLP - Prepaid Professional Expenses                                                                                             $400,000.00


 Alvarez & Marsal North America, LLC - Prepaid Professional Expenses                                                                                         $1,450,000.00


 Auth0 - Prepaid Various IT Services                                                                                                                          $160,188.20


 Carta Inc - Prepaid Various IT Services                                                                                                                       $16,000.00


 Chainalysis - Prepaid Various IT Services                                                                                                                     $64,952.09


 Cole Schotz Prepaid Professional Expenses                                                                                                                    $114,639.50


 Haines Watts - Prepaid Professional Expenses                                                                                                                 $176,222.49


 HelpSystems, dba PhishLabs. Digital Risk Protection Solution - Prepaid Various IT                                                                             $14,490.00
 Services

 Hysolate - Prepaid Various IT Services                                                                                                                         $4,820.00


 Kirkland & Ellis LLP - Prepaid Professional Expenses                                                                                                        $3,500,000.00


 Latham & Watkins (USD) - Prepaid Professional Expenses                                                                                                       $599,254.36


 Logshero LTD - Logz.io Enterprise - Prepaid Various IT Services                                                                                               $15,899.00


 Mixpanel Inc.- Prepaid Various IT Services                                                                                                                    $13,280.00


 NICE Systems - Prepaid Various IT Services                                                                                                                   $197,558.18


 Optimizely, Inc - Prepaid Various IT Services                                                                                                                 $82,521.25


 PABXL - Prepaid Various IT Services                                                                                                                            $1,800.00


 Panorays Ltd. - Prepaid Various IT Services                                                                                                                   $19,439.18


 Paul Hastings - Prepaid Professional Expenses                                                                                                                $750,000.00


 Seemplicity Security Ltd (Israel) - Prepaid Various IT Services                                                                                               $39,100.00


 SoftLedger, Inc. - Prepaid Various IT Services                                                                                                                 $11,600.00


 The Block Crypto, Inc The Block Research - Prepaid Various IT Services                                                                                        $32,000.00



 TOTAL                                                                                                                                                       $7,663,764.25




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                                                                       Assets - Real and Personal Property


           Part 4, Question 15: Non-publicly traded stock interests in incorporated and unincorporated businesses, including and interest in an LLC, partnership, or joint
                                                                                      venture


Non-publicly traded stock and interests in incorporated and                                    % of          Valuation method                 Current value of debtor's
unincorporated businesses, including any interest in an LLC,                                 Ownership       used for current value           interest
partnership, or joint venture (Name of entity:)

 Celsius US Holding LLC                                                                            100      N/A                                                      Undetermined


 Development Division Acquisition                                                                  N/A      Net Book Value                                           $4,600,000.00


 Equity                                                                                            N/A      Net Book Value                                             $100,100.00


 Safe Note                                                                                         N/A      Net Book Value                                             $150,000.00


 Series A Equity Shares                                                                            N/A      Net Book Value                                          $14,840,000.00


 Series A Preferred Shares                                                                         N/A      Net Book Value                                             $250,000.00


 Series B Preferred Equity Shares                                                                  N/A      Net Book Value                                           $1,000,000.00


 Venture Debt                                                                                      N/A      Net Book Value                                          $18,003,351.67


 Warrant                                                                                           N/A      Net Book Value                                             $410,110.14



                                                                                                            TOTAL                                                   $39,353,561.81
                                                                                                                                                             + Undetermined Amounts




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                                                                         Assets - Real and Personal Property


                          Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Description and location of property                      Nature and extent               Net book value of       Valuation method               Current value of
Include street address or other description such as       of debtor’s interest            debtor's interest       used for current               debtor's interest
Assessor Parcel Number (APN), and type of property        in property                     (Where available)       value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

 8912 SPANISH RIDGE AVE                                   Office Lease                            Undetermined N/A                                                      Undetermined
 STE. 300
 LAS VEGAS, NV 89148
 ANEXARTISIAS 34                                          Office Lease                            Undetermined N/A                                                      Undetermined
 6TH FLOOR, NORA COURT
 LIMASSOL, CYPRUS 3040
 THE HARLEY BUILDING                                      Office Lease                            Undetermined N/A                                                      Undetermined
 77-79 NEW CAVENDISH STREET
 LONDON, GREATER LONDON W1W 6XB

                                                                                                                 TOTAL                                                           $0.00

                                                                                                                                                                + Undetermined Amounts




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                                                                      Assets - Real and Personal Property


                                       Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)



Causes of action against third parties                               Nature of claim                            Amount requested                Current value of debtor's
(whether or not a lawsuit has been filed)                                                                                                       interest

 Amber Technologies Limited                                         Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 BadgerDAO and Cloudflare, Inc.                                     Gross negligence regarding                               Undetermined                              Undetermined
                                                                    security of Badger platform

 Bancor                                                             Damages claim                                            Undetermined                              Undetermined


 B-Brick, Inc.                                                      Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Blockchain Access UK Ltd.                                          Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Circle Internet Financial, LLC and Circle UK Trading               Turnover action & exploring other                        Undetermined                              Undetermined
 Company Limited                                                    avenues

 Core Scientific Capital                                            Breach of contract/intentional                           Undetermined                              Undetermined
                                                                    misconduct

 Equities First Holdings, LLC                                       Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 EZ Blockchain Services, LLC                                        Deal restructuring or termination                        Undetermined                              Undetermined


 Fabric Ventures Group Sarl                                         Collection investment                                    Undetermined                              Undetermined


 HDR Global Trading Limited t/a BitMEX                              Negligence, fraud, and market                            Undetermined                              Undetermined
                                                                    manipulation

 Into The Block Corp                                                Gross negligence                                         Undetermined                              Undetermined


 Iterative OTC, LLC                                                 Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Jason Stone and KeyFi Inc                                          Conversion, breach of contract,                          Undetermined                              Undetermined
                                                                    breach of fiduciary duties, and
                                                                    turnover of assets
 Liquidity Technologies Ltd. t/a CoinFLEX                           Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Mambu Tech B.V.                                                    Breach of SaaS contract and                              Undetermined                              Undetermined
                                                                    fraudulent inducement

 Prime Trust LLC                                                    Breach of contract                                       Undetermined                              Undetermined


 Profluent Trading UK Ltd.                                          Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Reliz Limited                                                      Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action

 Stake Hound SA and Fireblock Inc                                   Gross negligence regarding                               Undetermined                              Undetermined
                                                                    safeguarding of private keys to
                                                                    cryptocurrency
 Tether Limited                                                     Liquidation of collateral at an                          Undetermined                              Undetermined
                                                                    improper discount to market

 Three Arrows Capital                                               Insolvency proceeding                                    Undetermined                              Undetermined


 Wintermute Trading LTD                                             Breach of contract/commercial                            Undetermined                              Undetermined
                                                                    loan default action




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Debtor Name: Celsius Network Limited
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                                                                    Assets - Real and Personal Property


                                     Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)



Causes of action against third parties                             Nature of claim                            Amount requested                Current value of debtor's
(whether or not a lawsuit has been filed)                                                                                                     interest


                                                                                                             TOTAL                                                            $0.00

                                                                                                                                                             + Undetermined Amounts




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Debtor Name: Celsius Network Limited                                Pg 36 of 321                                                Case Number: 22-10966

                                                                     Assets - Real and Personal Property


                                                       Part 11, Question 77: Other property of any kind not already listed




Other property of any kind not already listed                                                   Current value of debtor's
Examples: Season tickets, country club membership                                               interest

 CEL Treasury Tokens                                                                                                                           $255,619,292.81


 Cryptocurrency and Fiat Holdings - Exchanges                                                                                                  $108,391,416.72


 Cryptocurrency Holdings - Custodians (CEL)                                                                                                      $5,808,387.25


 Cryptocurrency Holdings - Fireblocks                                                                                                        $1,150,496,943.64


 Cryptocurrency Investments - Osprey Trust                                                                                                      $15,489,887.05


 Institutional Loans Receivable                                                                                                                $242,373,822.70


 Intercompany Loan Receivable - Celsius Mining LLC                                                                                             $649,229,941.88


 Intercompany Loan Receivable - Celsius US Holding LLC                                                                                         $118,921,147.15


 Intercompany Receivable - Celsius (AUS) Pty Ltd                                                                                                    $51,324.17


 Intercompany Receivable - Celsius Lending LLC                                                                                                 $237,292,238.67


 Intercompany Receivable - Celsius Network (Gibraltar) Ltd.                                                                                         $48,056.76


 Intercompany Receivable - Celsius Network Europe                                                                                               $11,692,612.36


 Intercompany Receivable - Celsius Network Inc.                                                                                                 $25,072,940.51


 Intercompany Receivable - Celsius Network Ltd (ISR)                                                                                            $99,327,191.70


 Intercompany Receivable - Celsius Services CY Ltd                                                                                               $1,322,481.67


 Interest Receivable - Institutional Loans                                                                                                       $2,446,364.04


 Locked Tokens - 1INCH                                                                                                                           $1,796,918.67


 Locked Tokens - MATIC                                                                                                                          $12,508,958.49


 Locked Tokens - QRDO                                                                                                                            $3,631,166.47


 Non Core Investments - Sarson Funds (Stablecoin Index)                                                                                            $254,477.12


 Undeployed Stablecoins                                                                                                                              $1,408.36


 Collateral Receivable                                                                                                                          $52,075,568.33



 TOTAL                                                                                                                                        $2,993,852,546.52




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Fill in this information to identifyDoc   7 Filed
                                     the case:                                  10/05/22 Entered 10/05/22 23:48:22                              Main Document
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Debtor name          Celsius Network Limited

United States Bankruptcy Court for the:            Southern District of New York                                                                                 ¨ Check if this is an
                                                                                                                                                                     amended filing
Case number (If known):             22-10966



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      ¨    No. Check this box and submit page 1 of this form to the court with debtor’s other schedules . Debtor has nothing else to report on this form.
      þ    Yes. Fill in all of the information below.

 Part 1:          List Creditors Who Have Secured Claims
                                                                                                                                       Column A                     Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                                 Amount of Claim              Value of collateral
     secured claim, list the creditor separately for each claim.                                                                       Do not deduct the value      that supports this
                                                                                                                                       of collateral.               claim
2.1   Creditor's name                                                  Describe debtor’s property that is subject to a lien

      INSTITUTIONAL CUSTOMER LIABILITIES - SEE                         Cryptocurrency Posted by the Debtor as Collateral
                                                                                                                                       $          Undetermined      $           Undetermined
      SCHEDULE D-1 ATTACHMENT
      Creditor's mailing address



                                                                       Describe the lien
                                                                       Institutional Loan Payable

      Creditor's email address, if known                               Is the creditor an insider or related party?
                                                                       þ   No
                                                                       ¨   Yes
      Date debt was incurred
                                                                       Is anyone else liable on this claim?
      Last 4 digits of account                                         þ   No
      number
                                                                       ¨   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in the
      same property?                                                   As of the petition filing date, the claim is:
                                                                       Check all that apply.
      þ      No

      ¨      Yes. Specify each creditor, including this                ¨   Contingent
             creditor, and its relative priority.                      ¨   Unliquidated
                                        N                              ¨   Disputed

2.2   Creditor's name                                                  Describe debtor’s property that is subject to a lien

                                                                                                                                       $                            $
      Creditor's mailing address



                                                                       Describe the lien



      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?
                                                                       ¨    No
                                                                       ¨   Yes
      Date debt was incurred
                                                                       Is anyone else liable on this claim?
      Last 4 digits of account                                         ¨   No
      number
                                                                       ¨   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
      Do multiple creditors have an interest in the
      same property?                                                   As of the petition filing date, the claim is:
                                                                       Check all that apply.
      ¨      No

      ¨      Yes. Have you already specified the relative              ¨   Contingent
             priority?                                                 ¨   Unliquidated
             ¨    No. Specify each creditor, including this
                                                                       ¨   Disputed
                      creditor, and its relative priority.



             ¨    Yes. The relative priority of creditors is
                        specified on lines


 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                                      $




          Official Form 206D                                       Schedule D: Creditors Who Have Claims Secured by Property                                                Page 1 of 2
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Debtor       Celsius Network Limited
             Name
                                                                           Pg 38 of 321 Case number (If known):                                         22-10966




Part 2:          List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                          On which line in Part 1   Last 4 digits of
   Name and address                                                                                                                       did you enter the         account number
                                                                                                                                          related creditor?         for this entity



                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




                                                                                                                                        Line 2.




      Official Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 2 of 2
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                                                                                           PgSchedule
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                                                                                                      Secured Institutional Customer Claims


                                                                                                       DESCRIBE DEBTOR’S PROPERTY THAT IS INDICATE IF CLAIM IS CONTINGENT, IS THE CLAIM SUBJECT TO OFFSET?                     VALUE OF COLLATERAL
   SCHEDULE D LINE          CREDITORS NAME                   ADDRESS              DESCRIBE THE LIEN               SUBJECT TO A LIEN           UNLIQUIDATED, DISPUTED                   (YES/NO)              AMOUNT OF CLAIM   THAT SUPPORTS CLAIM
       2.1.01      SYMBOLIC CAPITAL PARTNERS LTD   30 N. GOULD ST., STE 2741   Loan Payable            Cryptocurrency Posted by the Debtor as                                             Yes              USDC 25000000.00        ETH 18426.18
                                                   SHERIDAN,WY 82801                                   Collateral




                                                                                                                        Page 1 of 1
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      Fill in this information to identify the case:                      Pg 40 of 321

       Debtor          Celsius Network Limited


       United States Bankruptcy Court for the:    Southern District of New York
                                                                                                                                                      ¨ Check if this is an
       Case number          22-10966                                                                                                                       amended filing
       (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List the other
 party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official
 Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space
 is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form .



      Part 1:        List All Creditors with PRIORITY Unsecured Claims


 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

       ¨        No. Go to Part 2.
       þ        Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                               Total claim            Priority amount

2.1    Priority creditor’s name and mailing address                        As of the petition filing date, the claim is:      $        Undetermined    $       Undetermined
       ACCRUED AND UNPAID PRE-PETITION                                     Check all that apply.
       COMPENSATION - SEE SCHEDULE E-1                                     ¨ Contingent
       ATTACHMENT                                                          ¨      Unliquidated
                                                                           ¨      Disputed
       Date or dates debt was incurred
                                                                           Basis for the claim: Accrued and Unpaid Pre-Petition Compensation


       Last 4 digits of account
       number
                                                                           Is the claim subject to offset?
       SpecifyCode subsection of PRIORITY unsecured
                                                                           þ      No
       claim: 11 U.S.C. § 507(a) ()
                                                                           ¨      Yes

2.2    Priority creditor’s name and mailing address                        As of the petition filing date, the claim is:      $                        $
                                                                           Check all that apply.
                                                                           ¨ Contingent
                                                                           ¨      Unliquidated
                                                                           ¨      Disputed
       Date or dates debt was incurred
                                                                           Basis for the claim:


       Last 4 digits of account
       number
                                                                           Is the claim subject to offset?
       SpecifyCode subsection of PRIORITY unsecured
                                                                           ¨      No
       claim: 11 U.S.C. § 507(a) ()
                                                                           ¨      Yes

2.3    Priority creditor’s name and mailing address                        As of the petition filing date, the claim is:      $                        $
                                                                           Check all that apply.
                                                                           ¨ Contingent
                                                                           ¨      Unliquidated
                                                                           ¨      Disputed
       Date or dates debt was incurred
                                                                           Basis for the claim:


       Last 4 digits of account
       number
                                                                           Is the claim subject to offset?
       SpecifyCode subsection of PRIORITY unsecured
                                                                           ¨      No
       claim: 11 U.S.C. § 507(a) ()
                                                                           ¨      Yes



      Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 18
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                                                                                         Pg Schedule
                                                                                            41 ofE ‐ 1321
                                                                                                                  Priority Unsecured Claims


                                                                                                                     INDICATE IF CLAIM IS CONTINGENT, SPECIFYCODE SUBSECTION OF IS THE CLAIM SUBJECT TO OFFSET?
   SCHEDULE E LINE            CREDITORS NAME         ADDRESS                    BASIS FOR THE CLAIM                      UNLIQUIDATED, DISPUTED          PRIORITY UNSECURED                 (YES/NO)            TOTAL CLAIM AMOUNT PRIORITY CLAIM AMOUNT
       2.1.001       ABISOLA OGUNKEYE           ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 321                   UNDETERMINED
       2.1.002       ADEEL AHMED                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1258                  UNDETERMINED
       2.1.003       ADRIA GARCIA               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 697                   UNDETERMINED
       2.1.004       AMANDA LIU                 ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 788                   UNDETERMINED
       2.1.005       ANTONY LINGARD             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1182                  UNDETERMINED
       2.1.006       BHARTI SHARMA              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 538                   UNDETERMINED
       2.1.007       CAMERON DRUMMOND REY       ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 420                   UNDETERMINED
       2.1.008       CHAD WALLS                 ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 20834                 UNDETERMINED
       2.1.009       CHARLES ROBERTS            ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 16667                 UNDETERMINED
       2.1.010       CHARLOTTE FERRIS-LAWLOR    ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1367                  UNDETERMINED
       2.1.011       CHARLOTTE HOWE             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 231                   UNDETERMINED
       2.1.012       DANNY BAILEY               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 448                   UNDETERMINED
       2.1.013       DAVID OGILVY               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1457                  UNDETERMINED
       2.1.014       EMANUEL CLODEANU           ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 449                   UNDETERMINED
       2.1.015       ETHAN TIFFEN               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 394                   UNDETERMINED
       2.1.016       EVGENI KIF                 ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 420                   UNDETERMINED
       2.1.017       GEOFFREY HOMBARUME         ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 350                   UNDETERMINED
       2.1.018       GEORGE SMITH               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 340                   UNDETERMINED
       2.1.019       GRAHAM DODD                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 357                   UNDETERMINED
       2.1.020       HARRY LUCAS                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 420                   UNDETERMINED
       2.1.021       JALAL UDDIN                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 2277                  UNDETERMINED
       2.1.022       JEFFREY ADAMS              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 757                   UNDETERMINED
       2.1.023       JELLE VAN DEN EEDE         ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 999                   UNDETERMINED
       2.1.024       MANDEEP JUTTLA             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 639                   UNDETERMINED
       2.1.025       MARK JOSSE                 ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 379                   UNDETERMINED
       2.1.026       MATTHEW DE LA FUENTE       ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1576                  UNDETERMINED
       2.1.027       MOHAMMED NABEEL AHMED      ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 307                   UNDETERMINED
       2.1.028       MONICA VARZEA              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 379                   UNDETERMINED
       2.1.029       MUHAMMAD MAQSOOD           ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 383                   UNDETERMINED
       2.1.030       NIKOLAOS EVANGELATOS       ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 291                   UNDETERMINED
       2.1.031       ODETTE WOHLMAN             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 669                   UNDETERMINED
       2.1.032       OLUJUWON LAYIWOLA          ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 357                   UNDETERMINED
       2.1.033       PHILIPP MUENS              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 1017                  UNDETERMINED
       2.1.034       RAJEEN Y R RANATUNGA J K   ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 369                   UNDETERMINED
       2.1.035       RAJIV SAWHNEY              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 614                   UNDETERMINED
       2.1.036       REUBEN BOWELL              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 420                   UNDETERMINED
       2.1.037       RITA DE BARROS GOMES       ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 572                   UNDETERMINED
       2.1.038       ROBERTA BARRETT            ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 307                   UNDETERMINED
       2.1.039       ROHIT SABHLOK              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 693                   UNDETERMINED
       2.1.040       SAM FORTUNE                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 379                   UNDETERMINED
       2.1.041       SCOTT OFFORD               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 759                   UNDETERMINED
       2.1.042       SHAHARYAR SHAIKH           ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 379                   UNDETERMINED
       2.1.043       SHAKTIDEEP TAILOR          ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 420                   UNDETERMINED
       2.1.044       SORAYA KIBE                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 354                   UNDETERMINED
       2.1.045       STEPHEN WUNDKE             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 639                   UNDETERMINED
       2.1.046       SZE LAM WONG               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 343                   UNDETERMINED
       2.1.047       SZILVIA HOCK-KOVACS        ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 331                   UNDETERMINED
       2.1.048       TIANYANG XU                ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 639                   UNDETERMINED
       2.1.049       TOBIE DUNNETT              ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 346                   UNDETERMINED
       2.1.050       TOM MCCARTHY               ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 7351                  UNDETERMINED
       2.1.051       TRACEY MCDONALD            ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 857                   UNDETERMINED
       2.1.052       TRISHUL MISTRY             ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 346                   UNDETERMINED
       2.1.053       VIPEN DOLL                 ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 337                   UNDETERMINED
       2.1.054       WING CHUN ALEXANDER CHOW   ADDRESS REDACTED   Accrued and Unpaid Pre-Petition Compensation                                        11 U.S.C. § 507(a) (4)              No              CEL 363                   UNDETERMINED




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                Name                                                  Pg 42 of 321
      Part 2:   List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditorswith nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                          Amount of claim

3.1     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                  Undetermined
        RETAIL CUSTOMER LIABILITIES - SEE SCHEDULE F-1 ON DEBTOR
        CELSIUS NETWORK LLC
                                                                                 ¨ Contingent
                                                                                 ¨ Unliquidated
                                                                                 ¨ Disputed
                                                                                 Basis for the claim: Retail Customer Liabilities

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes
3.2     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                  Undetermined
        INSTITUTIONAL CUSTOMER LIABILITIES - SEE SCHEDULE F-2
        ATTACHMENT
                                                                                 ¨ Contingent
                                                                                 ¨ Unliquidated
                                                                                 ¨ Disputed
                                                                                 Basis for the claim: Institutional Customer Liabilities

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes
3.3     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                       5,921.91
        221B PARTNERS PLLC
        1415 2ND AVE
                                                                                 ¨ Contingent
        UNIT 1205                                                                ¨   Unliquidated
        SEATTLE, WA 98101-2192                                                   ¨   Disputed
                                                                                 Basis for the claim: Trade Payable

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes
3.4     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                       6,768.45
        3 VERULAM BUILDINGS
        GRAYS INN
                                                                                 ¨ Contingent
        LONDON, WC1R 5NT                                                         þ   Unliquidated
        UNITED KINGDOM                                                           ¨   Disputed
                                                                                 Basis for the claim: Trade Payable

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes
3.5     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                     13,455.00
        AGILE FREAKS SRL
        104 CALEA POPLĂCII
                                                                                 ¨ Contingent
        SIBIU SIBIU, 550141                                                      ¨   Unliquidated
        ROMANIA                                                                  ¨   Disputed
                                                                                 Basis for the claim: Trade Payable

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes
3.6     Nonpriority creditor’s name and mailing address                          As of the petition filing date, the claim is:
                                                                                 Check all that apply.                                     $                  Undetermined
        ALABAMA SECURITIES COMMISSION
        445 DEXTER AVENUE
                                                                                 þ Contingent
        SUITE 12000                                                              þ Unliquidated
        MONTGOMERY, AL 36104                                                     þ Disputed
                                                                                 Basis for the claim: Regulatory Agency Inquiry or Action

        Date or dates debt was incurred                                          Is the claim subject to offset?
                                                                                 þ No
        Last 4 digits of account number                                          ¨ Yes




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3.7     Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        ALASKA DIVISION OF BANKING & SECURITIES
        ROBERT H. SCHMIDT, DIRECTOR                                            þ Contingent
        550 W. 7TH AVENUE                                                      þ   Unliquidated
        SUITE 1850                                                             þ   Disputed
        ANCHORAGE, AK 99501
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.8     Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        ALEX MASHINSKY
        ADDRESS REDACTED                                                       þ Contingent
                                                                               þ   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Potential Indemnification Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.9     Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                      7,495.73
        AMSALEM TOURS & TRAVEL LTD
        HAPERAHIM 3 ST.                                                        ¨ Contingent
        TIBERIAS, 1421003                                                      ¨ Unliquidated
        ISRAEL                                                                 ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.10    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                      1,325.41
        APPLEBY
        22 VICTORIA STREET                                                     ¨ Contingent
        HAMILTON HM EX,                                                        ¨ Unliquidated
        BERMUDA                                                                ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.11    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        ARKANSAS SECURITIES DEPARTMENT
        CAMPBELL MCLAURIN, III, INTERIM COMMISSIONER                           þ Contingent
        1 COMMERCE WAY                                                         þ   Unliquidated
        SUITE 402                                                              þ   Disputed
        LITTLE ROCK, AR 72202
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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3.12    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        BLOCKDAEMON LIMITED
        1 GRANTS ROW                                                           ¨ Contingent
        DUBLIN 2, D02 HX96                                                     þ   Unliquidated
        IRELAND (EIRE)                                                         ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.13    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                          607.92
        BOARD OF EUROPEAN STUDENTS OF TECHNOLOGY
        ROND POINT SCHUMAN 6                                                   ¨ Contingent
        5TH FLOOR                                                              ¨ Unliquidated
        BRUSSELS, 1040                                                         ¨ Disputed
        BELGIUM
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.14    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                    355,884.43
        BUCKLEY LLP
        2001 M STREET NORTHWEST                                                ¨ Contingent
        STE. 500                                                               ¨   Unliquidated
        WASHINGTON, DC 20036                                                   ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.15    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        CALIFORNIA DEPARTMENT OF FINANCIAL PROTECTION & INNOVATION
        ATTN: JEREMY F. KOO COUNSEL, ENFORCEMENT DIVISION                      þ Contingent
        2101 ARENA BLVD                                                        þ   Unliquidated
        SACRAMENTO, CA 95834-2036                                              þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.16    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 128,578,023.32
        CELSIUS EU UAB (LITHUANIA)
        GEDIMINO PR. 20                                                        ¨ Contingent
        1103                                                                   ¨   Unliquidated
        VILNIUS,                                                               ¨   Disputed
        LITHUANIA
                                                                               Basis for the claim: Intercompany Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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3.17    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     4,632,244.52
        CELSIUS KEYFI LLC
        121 RIVER STREET                                                       ¨ Contingent
        PH05                                                                   ¨   Unliquidated
        HOBOKEN, NJ 07030                                                      ¨   Disputed
                                                                               Basis for the claim: Intercompany Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.18    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 9,093,663,742.78
        CELSIUS NETWORK LLC
        121 RIVER STREET                                                       ¨ Contingent
        PH05                                                                   ¨   Unliquidated
        HOBOKEN, NJ 07030                                                      ¨   Disputed
                                                                               Basis for the claim: Intercompany and User Transfer Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.19    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 1,006,223,686.90
        CELSIUS NETWORKS LENDING LLC
        121 RIVER STREET                                                       ¨ Contingent
        PH05                                                                   ¨   Unliquidated
        HOBOKEN, NJ 07030                                                      ¨   Disputed
                                                                               Basis for the claim: Intercompany Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.20    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                        51,611.78
        CMS CMNO LLP
        78 CANNON STREET                                                       ¨ Contingent
        LONDON, EC4N 6AF                                                       ¨ Unliquidated
        UNITED KINGDOM                                                         ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.21    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                    Undetermined
        COMMONWEALTH OF KENTUCKY DEPARTMENT OF FINANCIAL
        INSTITUTIONS                                                           þ Contingent
        DEPARTMENT OF FINANCIAL INSTITUTIONS                                   þ   Unliquidated
        500 METRO ST. 2SW19                                                    þ   Disputed
        FRANKFORT, KY 40601
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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3.22    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        COMMONWEALTH OF MASSACHUSETTS SECURITIES DIVISION
        ATTN: MAXWELL T. ROBIDOUX, ESQ. & WILLIAM FRANCIS GALVIN               þ Contingent
        ONE ASHBURTON PLACE                                                    þ   Unliquidated
        17TH FLOOR                                                             þ   Disputed
        BOSTON, MA 02108
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.23    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     70,967.87
        COMPLIANCE RISK CONCEPTS LLC
        40 EXCHANGE PLACE                                                      ¨ Contingent
        SUITE 402                                                              ¨   Unliquidated
        NEW YORK, NY 10005                                                     ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.24    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     13,083.87
        CREDITOR GROUP CORP.
        1693 65TH STREET                                                       ¨ Contingent
        D7                                                                     ¨   Unliquidated
        NEW YORK, NY 11204                                                     ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.25    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                    110,825.00
        DEZENHALL RESOURCES, LTD.
        1201 CONNECTICUT AVE NW                                                ¨ Contingent
        SUITE 600                                                              þ Unliquidated
        WASHINGTON, DC 20036                                                   ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.26    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        DISTRICT OF COLUMBIA DEPARTMENT OF INSURANCE, SECURITIES
        AND BANKING                                                            þ Contingent
        1050 FIRST STREET NE, SUITE 801                                        þ   Unliquidated
        WASHINGTON, DC 20002                                                   þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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3.27    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                          517.88
        EE LIMITED
        TRIDENT PLACE                                                          ¨ Contingent
        MOSQUITO WAY                                                           ¨ Unliquidated
        HATFIELD, AL10 9BW                                                     ¨ Disputed
        UNITED KINGDOM
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.28    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                      5,600.00
        FATCAT CODERS
        IZVORSKA 6/2                                                           ¨ Contingent
        POŽAREVAC, 12000                                                       ¨ Unliquidated
        MONTENEGRO (SERBIA-MONTENEGRO)                                         ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.29    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        FINANCIAL AND CONSUMER AFFAIRS AUTHORITY
        SUITE 601, 1919 SASKATCHEWAN DRIVE                                     þ Contingent
        REGINA, SK S4P 4H2                                                     þ   Unliquidated
        CANADA                                                                 þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.30    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        FINANCIAL CONDUCT AUTHORITY
        12 ENDEAVOUR SQUARE                                                    þ Contingent
        LONDON, E20 1JN                                                        þ   Unliquidated
        UNITED KINGDOM                                                         þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.31    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     46,532.11
        GEM
        340 S LEMON AVE #9911                                                  ¨ Contingent
        WALNUT, CA 91789                                                       ¨ Unliquidated
                                                                               ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes


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3.32    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        GIBRALTAR FINANCIAL SERVICES COMMISSION
        PO BOX 940                                                             þ Contingent
        SUITE 3, GROUND FLOOR                                                  þ   Unliquidated
        ATLANTIC SUITES - EUROPORT AVENUE                                      þ   Disputed

        GIBRALTAR                                                              Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.33    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     40,735.76
        GK8 LTD
        6 KERMENITZKI                                                          ¨ Contingent
        TEL AVIV, 6789906                                                      ¨   Unliquidated
        ISRAEL                                                                 ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.34    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                 Undetermined
        HAWAII DEPARTMENT OF COMMERCE AND CONSUMER AFFAIRS
        ATTN: LEOLYN SUGUE-ANDERSON SUPERVISING INVESTIGATOR                   þ Contingent
        SECURITIES ENFORCEMENT BRANCH                                          þ   Unliquidated
        335 MERCHANT ST                                                        þ   Disputed
        ROOM 205
        HONOLULU, HI 96810                                                     Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.35    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                      3,640.00
        HOLLEY NETHERCOTE PTY LTD
        140 WILLIAM STREET                                                     ¨ Contingent
        LEVEL 22                                                               ¨ Unliquidated
        VIC                                                                    ¨ Disputed
        MELBOURNE, 3000
        AUSTRALIA                                                              Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.36    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                      2,599.42
        I.A.M.L LTD
        YAEL HAGIBORA 55                                                       ¨ Contingent
        MODIIN-MACABIM-REUT, 7172960                                           ¨ Unliquidated
        ISRAEL                                                                 ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes


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3.37    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                Undetermined
        KEYFI INC. C/O ROCHE FREEDMAN LLP
        KYLE W. ROCHE                                                          þ Contingent
        99 PARK AVENUE, 19TH FLOOR                                             þ   Unliquidated
        NEW YORK, NY 10016                                                     þ   Disputed
                                                                               Basis for the claim: Breach of Contract Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.38    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                     1,506.52
        LINKEDIN IRELAND UNLIMITED COMPANY
        5 WILTON PLACE                                                         ¨ Contingent
        DUBLIN 2, D02 RR27                                                     ¨ Unliquidated
        IRELAND (EIRE)                                                         ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.39    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                Undetermined
        LIQUIDITY TECHNOLOGIES LTD D/B/A COINFLEX
        HOUSE OF FRANCES, ROOM 303                                             þ Contingent
        ILE DU PORT, MAHE,                                                     þ   Unliquidated
        SEYCHELLES                                                             þ   Disputed
                                                                               Basis for the claim: Liquidation Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.40    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                         653.38
        LOGSHERO LTD
        28 HA'ARBA'A STREET                                                    ¨ Contingent
        POB 7036                                                               ¨ Unliquidated
        TEL AVIV, 6107001                                                      ¨ Disputed
        ISRAEL
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.41    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                     1,450.00
        MAZARS LLP
        5TH FLOOR                                                              ¨ Contingent
        3 WELLINGTON PLACE                                                     ¨ Unliquidated
        LEEDS, LS1 4AP                                                         ¨ Disputed
        UNITED KINGDOM
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.42    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        MINNESOTA DEPARTMENT OF COMMERCE
        85 7TH PLACE EAST - SUITE 280                                          þ Contingent
        SAINT PAUL, MN 55101                                                   þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Consumer Complaint




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.43    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        MISSISSIPPI SECRETARY OF STATE’S OFFICE
        ATTN: JOHN WILSON EXAMINER/INVESTIGATOR                                þ Contingent
        SECURITIES DIVISION                                                    þ   Unliquidated
        125 S CONGRESS ST                                                      þ   Disputed
        JACKSON, MS 39201
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.44    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     21,587.50
        MIXPANEL INC.
        ONE FRONT STREET, 28TH FLOOR                                           ¨ Contingent
        SAN FRANCISCO, CA 94111                                                þ   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.45    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        NAYAK AKSHAY
        ADDRESS REDACTED                                                       þ Contingent
                                                                               þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Breach of Contract Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.46    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        NEW HAMPSHIRE BUREAU OF SECURITIES REGULATION
        BUREAU OF SECURITIES REGULATION                                        þ Contingent
        STATE HOUSE ROOM 204                                                   þ   Unliquidated
        CONCORD, NH 03301-4989                                                 þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.47    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        NEW JERSEY OFFICE OF THE ATTORNEY GENERAL
        ATTN: DIVISION OF CONSUMER AFFAIRS, BUREAU OF SECURITIES               þ Contingent
        153 HALSEY ST                                                          þ   Unliquidated
        6TH FLOOR                                                              þ   Disputed
        NEWARK, NJ 07102
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.48    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                       6,199.57
        NICE SYSTEMS UK LIMITED
        TOLLBAR WAY                                                            ¨ Contingent
        HEDGE END                                                              ¨ Unliquidated
        SOUTHAMPTON, SO30 2ZP                                                  ¨ Disputed
        UNITED KINGDOM
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.49    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     72,881.43
        NORDLOGIC SOFTWARE SRL
        10-12 RENÉ DESCARTES STREET                                            ¨ Contingent
        CJ                                                                     ¨   Unliquidated
        CLUJ-NAPOCA, 400486                                                    ¨   Disputed
        ROMANIA
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.50    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        NORTH CAROLINA DEPARTMENT OF THE SECRETARY OF STATE
        P.O. BOX 29622                                                         þ Contingent
        RALEIGH, NC 27626-0622                                                 þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.51    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        ODETTE WOHLMAN
        ADDRESS REDACTED                                                       þ Contingent
                                                                               þ   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Potential Employment Dispute




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.52    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     84,886.60
        ORACLE CORPORATION UK LIMITED
        ORACLE PARKWAY                                                         ¨ Contingent
        THAMES VALLEY PARK (TVP)                                               ¨   Unliquidated
        READING                                                                ¨   Disputed
        BERKSHIRE, RG6 1RA
        UNITED KINGDOM                                                         Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.53    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        PENNSYLVANIA DEPARTMENT OF BANKING AND SECURITIES
        17 NORTH SECOND STREET                                                 þ Contingent
        13TH FLOOR                                                             þ   Unliquidated
        HARRISBURG, PA 17101-2290                                              þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.54    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        PETER LM CHAN
        ADDRESS REDACTED                                                       þ Contingent
                                                                               þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Court Expenses Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.55    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                       4,161.50
        PIPER ALDERMAN
        1 FARRER PLACE                                                         ¨ Contingent
        SYDNEY NSW 2000,                                                       ¨ Unliquidated
        AUSTRALIA                                                              ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.56    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     15,120.00
        REDK CRM SOLUTIONS LTD
        71 QUEEN VICTORIA STREET                                               ¨ Contingent
        LONDON, EC4V 4BE                                                       ¨   Unliquidated
        UNITED KINGDOM                                                         ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.57    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        RONI COHEN PAVON
        ADDRESS REDACTED                                                       þ Contingent
                                                                               þ   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Potential Indemnification Claim




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.58    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        SIGNATURE BANK
        565 FIFTH AVENUE                                                       þ Contingent
        12TH FLOOR                                                             þ   Unliquidated
        NEW YORK, NY 10017                                                     ¨   Disputed
                                                                               Basis for the claim: Guarantor - In connection with Letter of Credit S93061341,
                                                                               in the amount of $1,541,786 for the benefit of New Spanish Ridge, LLC, MRK
                                                                               Spanish Ridge, LLC, and PREH Spanish Ridge, LLC

        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.59    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                       1,390.00
        SORAINEN
        44A GEDIMINO PROSPEKTAS                                                ¨ Contingent
        LT-01110                                                               ¨ Unliquidated
        VILNIUS, 01400                                                         ¨ Disputed
        LITHUANIA
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.60    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        STATE OF IDAHO DEPARTMENT OF FINANCE
        P.O. BOX 83720                                                         þ Contingent
        BOISE, ID 83720-0031                                                   þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.61    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        STATE OF VERMONT DEPARTMENT OF FINANCIAL REGULATION
        89 MAIN STREET                                                         þ Contingent
        MONTPELIER, VT 5620                                                    þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.62    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        STATE OF WASHINGTON DEPARTMENT OF FINANCIAL INSTITUTIONS
        SECURITIES DIVISION                                                    þ Contingent
        P.O. BOX 9033                                                          þ   Unliquidated
        OLYMPIA, WA 98504-1199                                                 þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.63    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                     34,451.00
        STUDIO VIDA
        610 N. HOLLYWOOD WAY                                                   ¨ Contingent
        BURBANK, CA 91505                                                      ¨   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.64    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                           355.00
        TAMID GROUP
        800 8TH ST NW FL 3                                                     ¨ Contingent
        WASHINGTON, DC 20001                                                   ¨ Unliquidated
                                                                               ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.65    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                    114,883.27
        TAYLOR WESSING LLP
        5 NEW STREET SQUARE                                                    ¨ Contingent
        LONDON, EC4A 3TW                                                       ¨ Unliquidated
        UNITED KINGDOM                                                         ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes

3.66    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                           316.29
        TERAWORKS CONSULTING AND SOFTWARE SERVICES LTD
        13, GIBOREI ISRAEL ST.                                                 ¨ Contingent
        QADIMA-ZORAN,                                                          ¨ Unliquidated
        ISRAEL                                                                 ¨ Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ No
        Last 4 digits of account number                                        ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.



3.67    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        TEXAS STATE SECURITIES BOARD
        ATTN: JOSEPH ROTUNDA & RACHEL ANDERSON RYNDERS                         þ Contingent
        ENFORCEMENT DIVISION                                                   þ   Unliquidated
        208 E 10TH ST                                                          þ   Disputed
        5TH FLOOR
        AUSTIN, TX 78701-2407                                                  Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.68    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        THE ONTARIO SECURITIES COMMISSION (THE OSC)
        20 QUEEN STREET WEST 20                                                þ Contingent
        TORONTO, ON M5H 3S8                                                    þ   Unliquidated
                                                                               þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.69    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        THREE ARROWS CAPITAL LTD.
        C/O LIQUIDATOR -- FAO RUSSELL CRUMPLER AND CHRISTOPHER                 þ Contingent
        FARMER                                                                 þ   Unliquidated
        3RD FLOOR, BANCO POPULAR BUILDING, ROAD TOWN                           þ   Disputed
        TORTOLA
        VG1110                                                                 Basis for the claim: Arbitration
        VIRGIN ISLANDS



        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.70    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        UNITED STATES DEPARTMENT OF JUSTICE
        U.S ATTORNEY'S OFFICE                                                  þ Contingent
        ONE ST. ANDREW'S PLAZA                                                 þ   Unliquidated
        NEW YORK, NY 10007                                                     þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.71    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                                      $                  Undetermined
        UNITED STATES SECURITIES AND EXCHANGE COMMISSION - DIVISION
        OF ENFORCEMENT                                                         þ Contingent
        100 F STREET, NE                                                       þ   Unliquidated
        WASHINGTON, DC 20549                                                   þ   Disputed
                                                                               Basis for the claim: Regulatory Agency Inquiry or Action




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes



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3.72    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                 Undetermined
        UNO GOMES CERQUEIRA C/O W H PARTNERS
        DAVINIA CUTAJAR                                                        þ Contingent
        LEVEL 5 QUANTUM HOUSE, 75 ABATE RIGORD STREET,                         þ   Unliquidated
         ,                                                                     þ   Disputed
        TA’ XBIEX, XBX 1120
        MALTA                                                                  Basis for the claim: Consumer Complaint




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.73    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $                    20,400.00
        URIA MENENDEZ
        ADDRESS REDACTED                                                       ¨ Contingent
                                                                               ¨   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim: Trade Payable




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               þ   No
        Last 4 digits of account number                                        ¨   Yes


3.74    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $
                                                                               ¨ Contingent
                                                                               ¨   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim:




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               ¨   No
        Last 4 digits of account number                                        ¨   Yes


3.75    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $
                                                                               ¨ Contingent
                                                                               ¨   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim:




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               ¨   No
        Last 4 digits of account number                                        ¨   Yes


3.76    Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                               Check all that apply.                               $
                                                                               ¨ Contingent
                                                                               ¨   Unliquidated
                                                                               ¨   Disputed
                                                                               Basis for the claim:




        Date or dates debt was incurred                                        Is the claim subject to offset?
                                                                               ¨   No
        Last 4 digits of account number                                        ¨   Yes



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Part 3:          List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                                       Last 4 digits of
                                                                                                                            On which line in Part 1 or Part 2 is the
            Name and mailing address                                                                                                                                   account number, if
                                                                                                                            related creditor (if any) listed?
                                                                                                                                                                       any

 4.1                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.2                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.3                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.4                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.5                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.6                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.7                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.8                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




 4.9                                                                                                                        Line


                                                                                                                            ¨      Not listed. Explain




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      Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims




5.       Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                              Total of claim amounts




5a.      Total claims from Part 1                                                                                   5a.       $                                0.00

                                                                                                                                               + Undetermined Amounts




5b.      Total claims from Part 2                                                                                   5b.   +   $                10,234,215,512.12

                                                                                                                                               + Undetermined Amounts




5c.      Total of Parts 1 and 2                                                                                     5c.       $                10,234,215,512.12
         Lines 5a + 5b = 5c.                                                                                                                   + Undetermined Amounts




       Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 18 of 18
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Debtor Name: Celsius Network Limited
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                                                                                     Pg Schedule
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                                                                                       Non‐Priority Unsecured Institutional Customer Claims


                                                                                              INDICATE IF CLAIM IS CONTINGENT,   IS THE CLAIM SUBJECT
   SCHEDULE F LINE             CREDITORS NAME                         ADDRESS                     UNLIQUIDATED, DISPUTED          TO OFFSET? (YES/NO)                 LOAN PAYABLE              COLLATERAL ON LOAN RECEIVABLE
   3.2.01          168 TRADING LIMITED              5‐9 MAIN STREET                                                                       Yes                                             USDC 1652258.43
                                                    GIBRALTAR GX11 1AA
   3.2.02           ALAMEDA RESEARCH LTD            TORTOLA PIER PARK, BUILDING 1 SECOND                                                 Yes                                              FTT 587874.69
                                                    FLOOR                                                                                                                                 SRM 32729963.60
                                                    WICKHAMS CAY I ROAD TOWN
                                                    TORTOLA VG1110
                                                    VIRGIN ISLANDS
   3.2.03           B2C2 LTD                        86‐90 PAUL ST                                                                        Yes            USDC 10000000.00                  BTC 103.76
                                                    LONDON EC2A 4NE                                                                                                                       ETH 9857.91
                                                    UNITED KINGDOM
   3.2.04           BLOCKCHAIN ACCESS UK LTD        3RD FLOOR 86‐90 PAUL STREET                                                          Yes                                              BTC 82.93
                                                    LONDON, UK EC2A 4NE
   3.2.05           ONCHAIN CUSTODIAN PTE LTD       20 COLLYER QUAY, #11‐04                                                              Yes                                              BTC 52.83
                                                    SINGAPORE 049319
   3.2.06           OPTIMAL ALPHA MASTER FUND LTD   94 SOLARIS AVE                                                                       Yes                                              BTC 184.07
                                                    CAMANA BAY, GRAND CAYMAN
                                                    CAYMAN ISLANDS KY1‐1108
   3.2.07           PHAROS FUND SP                  3RD FLOOR, CITRUS GROVE                                                                             USDC 81081798.00
                    PHAROS USD FUND SP              106 GORING AVENUE
                                                    GRAND CAYMAN KY1‐1106
                                                    CAYMAN ISLANDS
   3.2.08           PROFLUENT TRADING INC           954 AVENIDA PONCE DE LEON                                                            Yes                                              BTC 92.93
                                                    MIRAMAR PLAZA, SUITE 205, #10111                                                                                                      ETH 302.69
                                                    SAN JUAN, PR 00907                                                                                                                    USDC 3000000.00
   3.2.09           RELIZ LTD                       401 W ONTARIO ST. #400                                                               Yes                                              USD 250000.00
                                                    CHICAGO, IL USA 60654
   3.2.10           SYMBOLIC CAPITAL PARTNERS LTD   30 N. GOULD ST., STE 2741                                                            Yes                                              ETH 2278.79
                                                    SHERIDAN, WY 82801
   3.2.11           TOWER BC LTD                    OFFICE 187/188, 2ND FLOOR,                                                           Yes                                              USDT ERC20 849992.08
                                                    30 CHURCHILL PLACE,
                                                    LONDON, UK E14 5RB




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  Fill in this information to identify the case:                           Pg 60 of 321

  Debtor name        Celsius Network Limited


  United States Bankruptcy Court for the:      Southern District of New York
                                                                                                                                                             ¨ Check if this is an
  Case number (If known):         22-10966                                                                                                                         amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                         12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?

        ¨   No. Check this box and file this form with the court with the debtor’s other schedules . There is nothing else to report on this form.

        þ   Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A /B: Assets - Real and Personal Property (Official
            Form 206A/B).

 2. List all contracts and unexpired leases                                                         State the name and mailing address for all other parties with
                                                                                                    whom the debtor has an executory contract or unexpired lease

                                                   MUTUAL NONDISCLOSURE
            State what the contract or             AGREEMENT -- EFFECTIVE DATE:                       10T HOLDINGS, LLC
  2.1       lease is for and the nature            03/11/2021                                         15 E. PUTNAM AVE
            of the debtor’s interest                                                                  GREENWICH, CT 06830


            State the term remaining

            List the contract number of
            any government contract


                                                   NONDISCLOSURE AGREEMENT --
            State what the contract or             EFFECTIVE DATE: 04/06/2021                         10T HOLDINGS, LLC
  2.2       lease is for and the nature                                                               15 E PUTNAM AVE
            of the debtor’s interest                                                                  GREENWICH, CT 06830


            State the term remaining

            List the contract number of
            any government contract


                                                   PARTNER REFERRAL AGREEMENT --
            State what the contract or             EFFECTIVE DATE: 01/14/2022                         12294222 CANADA INC
  2.3       lease is for and the nature
            of the debtor’s interest

            State the term remaining

            List the contract number of
            any government contract


                                                   MUTUAL NONDISCLOSURE
            State what the contract or             AGREEMENT -- EFFECTIVE DATE:                       13090442 CANADA INC. (DBA THE CRYTO APP)
  2.4       lease is for and the nature            03/28/2022                                         139 STREET NORTHWEST
            of the debtor’s interest                                                                  EDMONTON, AB TSL 2C1
                                                                                                      CANADA
            State the term remaining

            List the contract number of
            any government contract


                                                   MUTUAL NON DISCLOSURE
            State what the contract or             AGREEMENT -- EFFECTIVE DATE:                       168 TRADING LIMITED
  2.5       lease is for and the nature            08/18/2021                                         5-9 MAIN STREET
            of the debtor’s interest                                                                  GIBRALTAR,
                                                                                                      UNITED KINGDOM
            State the term remaining

            List the contract number of
            any government contract




Official Form 206G                                               Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 244
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               Celsius Network Limited
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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 08/20/2021 PLUS            168 TRADING LIMITED
  2.6      lease is for and the nature        ANY ANCILLARY OR RELATED                   ATTN: ADRIENNE KAEMMERLEN
           of the debtor’s interest           DOCUMENTS                                  5-9 MAIN STREET
                                                                                         GX11 1AA
           State the term remaining                                                      GIBRALTAR

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               1A1Z LIMITED
  2.7      lease is for and the nature        02/03/2022                                 64 SOUTHWARK BRIDGE ROAD
           of the debtor’s interest                                                      LONDON, SE1 0AS
                                                                                         UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               210K OPPORTUNITIES LP (SPHINX BITCOIN)
  2.8      lease is for and the nature        12/15/2021                                 1395 BRICKELL AVE, SUITE 800
           of the debtor’s interest                                                      MIAMI, FL 33131

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               221B PARTNERS PLLC
  2.9      lease is for and the nature        08/13/2021                                 5547 NORTH RAVENSWOOD AVENUE
           of the debtor’s interest                                                      SUITE 406
                                                                                         CHICAGO, IL 60640
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               24 EXCHANGE BROKER LIMITED
 2.10      lease is for and the nature        03/28/2022                                 CUMBERLAND HOUSE
           of the debtor’s interest                                                      7TH FLOOR
                                                                                         1 VICTORIA STREET
           State the term remaining                                                      HAMILTON, HM11
                                                                                         BERMUDA
           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 07/01/2022                 507 CAPITAL LLC
 2.11      lease is for and the nature                                                   PO BOX #206
           of the debtor’s interest                                                      N STONINGTON, CT 06359

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 04/16/2021                 A. GEORGIOU & CO LLC
 2.12      lease is for and the nature                                                   KREMASTIS RODOU 62, OFFICE 102
           of the debtor’s interest                                                      LIMASSOL, 4620
                                                                                         CYPRUS
           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AARON BOYLAN
 2.13      lease is for and the nature        02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 AARON PATCHEN
 2.14      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 11/06/2020                 AARON PATCHEN
 2.15      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AAVE SAGL
 2.16      lease is for and the nature        01/12/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 12/03/2020                 ABE STOREY
 2.17      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 ABE STOREY
 2.18      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ACCENTURE
 2.19      lease is for and the nature        11/20/2021                                 1 MANHATTAN WEST
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ACCOMPLICE MANAGEMENT, LLC
 2.20      lease is for and the nature        04/04/2021                                 56 WAREHAM STREET
           of the debtor’s interest                                                      BOSTON, MA 02118

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ACCUDATA INTEGRATED MARKET, INC.
 2.21      lease is for and the nature        03/21/2022                                 12901 MCGREGOR BLVD.
           of the debtor’s interest                                                      SUITE 1A
                                                                                         FORT MYERS, FL 33919
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ACROCHARGE LTD
 2.22      lease is for and the nature        12/16/2021                                 154 MENACHEM BEGIN STREET
           of the debtor’s interest                                                      TEL AVIV,
                                                                                         ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ADAM MILO TECH LTD
 2.23      lease is for and the nature        02/10/2022                                 3 TVOUT HAARETEZ
           of the debtor’s interest                                                      TEL AVIV,
                                                                                         ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 02/10/2021                 ADONIS DEMETRIOU
 2.24      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ADONTAI TRAMAINE MASON
 2.25      lease is for and the nature        06/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2022                 ADRIA GARCIA
 2.26      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 ADRIANA SANCHEZ
 2.27      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 11/06/2020                 ADRIANA SANCHEZ
 2.28      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 04/13/2022                 ADRIANNA HUEHNERGARTH
 2.29      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 10/19/2021                 AGILE FREAKS SRL
 2.30      lease is for and the nature                                                   NR 104 CALEA POPLACII STR
           of the debtor’s interest                                                      SIBIU, 550141
                                                                                         ROMANIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AGILE FREAKS SRL
 2.31      lease is for and the nature        07/29/2021                                 SIBIU, STR
           of the debtor’s interest                                                      CALEA POPLACII, NR, 104
                                                                                         ROMANIA
           State the term remaining

           List the contract number of
           any government contract

                                              DATA PROTECTION AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 05/09/2022                 AGILE FREAKS SRL
 2.32      lease is for and the nature                                                   ATTN: CALINOIU ALEXANDRU
           of the debtor’s interest                                                      104, CALEA POPLĂCII
                                                                                         SIBIU,
           State the term remaining                                                      ROMANIA

           List the contract number of
           any government contract

                                              DATA PROTECTION AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 10/19/2021                 AGILE FREAKS SRL
 2.33      lease is for and the nature                                                   NR 104 CALEA POPLACII STR
           of the debtor’s interest                                                      SIBIU, 550141
                                                                                         ROMANIA
           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              CONFIDENTIALITY,
           State what the contract or         NON-COMPETITION,                           AGILE FREAKS SRL
 2.34      lease is for and the nature        NON-SOLICITATION AND                       ATTN: CALINOIU ALEXANDRU
           of the debtor’s interest           INTELLECTUAL PROPERTY                      104, CALEA POPLĂCII
                                              UNDERTAKING -- EFFECTIVE DATE:             SIBIU,
           State the term remaining                                                      ROMANIA

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AGILEENGINE LLC
 2.35      lease is for and the nature        01/21/2021                                 1751 PINNACLE DRIVE
           of the debtor’s interest                                                      SUITE 600
                                                                                         MCLEAN, VA 22102
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/01/2022                 AHMED GOMAA LOTFY SHEHATA
 2.36      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AINGEL CORP. (TRIBAL CREDIT)
 2.37      lease is for and the nature        12/15/2021                                 75 E SANTA CLARA STREET, FLOOR 6
           of the debtor’s interest                                                      SAN JOSE, CA 95113

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 12/23/2020                 AJAH S. WALKER
 2.38      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 AJAH WALKER
 2.39      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ENGAGEMENT LETTER --
           State what the contract or         EFFECTIVE DATE: 06/10/2022                 AKIN GUMP STRAUSS HAUER & FELD LLP
 2.40      lease is for and the nature                                                   BANK OF AMERICA TOWER
           of the debtor’s interest                                                      1 BRYANT PARK
                                                                                         NEW YORK, NY 10036
           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AKJ CRYPTO PLC
 2.41      lease is for and the nature        12/21/2021                                 AIRWAYS HOUSE, GAIETY LANE
           of the debtor’s interest                                                      SLIEMA, SLM 1549
                                                                                         MALTA
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AKUNA DIGITAL ASSETS LLC
 2.42      lease is for and the nature        05/28/2020 PLUS ANY ANCILLARY              333 S WABASH AVE
           of the debtor’s interest           OR RELATED DOCUMENTS                       L26
                                                                                         CHICAGO, IL 60604
           State the term remaining

           List the contract number of
           any government contract

                                              AKUNA DIGITAL ASSETS LLC
           State what the contract or         CONFIDENTIALITY AGREEMENT --               AKUNA DIGITAL ASSETS LLC
 2.43      lease is for and the nature        EFFECTIVE DATE: 03/05/2020                 333 S. WABASH
           of the debtor’s interest                                                      26TH FLOOR
                                                                                         CHICAGO, IL 60604
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 02/04/2022                 ALAIN DIZA
 2.44      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              FIRST AMENDED AND RESTATED
           State what the contract or         MASTER LOAN AGREEMENT --                   ALAMEDA RESEARCH LTD
 2.45      lease is for and the nature        EFFECTIVE DATE: 12/08/2021 PLUS            TORTOLA PIER PARK
           of the debtor’s interest           ANY ANCILLARY OR RELATED                   BUILDING 1 SECOND FLOOR WICKHAMS CAY I
                                              DOCUMENTS                                  ROAD TOWN TORTOLA, VG1110
           State the term remaining                                                      VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              DIRECTOR CONFIDENTIALITY
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALAN J. CARR
 2.46      lease is for and the nature        06/24/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 12/17/2021                 ALAN L. MAULDIN
 2.47      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALAN WHITTINGTON
 2.48      lease is for and the nature        02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALEC KERR
 2.49      lease is for and the nature        09/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/01/2022                 ALEJANDRO ANGEL
 2.50      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 07/06/2021                 ALEKSANDRA KRDZIC
 2.51      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALEX ADDISON
 2.52      lease is for and the nature        02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 ALEX MASHINSKY
 2.53      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 11/06/2020                 ALEX MASHINSKY
 2.54      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              NON DISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/01/2022                 ALEX TAMAYO
 2.55      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/01/2022                 ALEXANDER ADAM
 2.56      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALEXANDRE COLIN
 2.57      lease is for and the nature        08/17/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              OFFICE LEASE
           State what the contract or                                                    ALGO ADTECH LTD
 2.58      lease is for and the nature                                                   ANEXARTISIAS 34 & ATHINON 79
           of the debtor’s interest                                                      NORA COURT
                                                                                         FLAT 601
           State the term remaining                                                      LIMASSOL, 3040
                                                                                         CYPRUS
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALGOZ TECHNOLOGIES
 2.59      lease is for and the nature        12/31/2021                                 8 HAPNINA ST
           of the debtor’s interest                                                      RAANANA,
                                                                                         ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALIAKSANDR LITVINOVICH
 2.60      lease is for and the nature        05/17/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 03/03/2022                 ALIREZA SADAFITEHRAN
 2.61      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALIXPARTNERS, LLP
 2.62      lease is for and the nature        01/18/2022                                 909 THIRD AVENUE
           of the debtor’s interest                                                      NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2021                 ALIZA LANDES
 2.63      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 11/06/2020                 ALIZA LANDES
 2.64      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALLIANT INSURANCE SERVICES, INC.
 2.65      lease is for and the nature        07/08/2022                                 18100 VON KARMAN AVE
           of the debtor’s interest                                                      10TH FLOOR
                                                                                         IRVINE, CA 92612
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALLIED
 2.66      lease is for and the nature        05/12/2021                                 WORLD ASSURANCE COMPANY
           of the debtor’s interest                                                      199 WATER STREET
                                                                                         NEW YORK, NY 10042
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALLIED WORLD ASSURANCE COMPANY
 2.67      lease is for and the nature        05/12/2021                                 199 WATER STREET
           of the debtor’s interest                                                      NEW YORK, NY

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
           State what the contract or         STOCK OPTION AGREEMENT --                  ALON GOLAN
 2.68      lease is for and the nature        EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 03/23/2022                 ALON MAOR
 2.69      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALPACADB, INC
 2.70      lease is for and the nature        08/31/2021                                 3 EAST THIRD AVE
           of the debtor’s interest                                                      SUITE 233
                                                                                         SAN MATEO, CA 94401
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALPHAPOINT CORPORATION
 2.71      lease is for and the nature        12/10/2021                                 228 PARK AVE SOUTH
           of the debtor’s interest                                                      SUITE 75867
                                                                                         NEW YORK, NY 10003
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALTANA WEALTH
 2.72      lease is for and the nature        04/01/2021                                 175 OXFORD STREET
           of the debtor’s interest                                                      LONDON,
                                                                                         UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALTARIUS CAPITAL LIMITED
 2.73      lease is for and the nature        03/11/2022                                 28 IRISH TOWN
           of the debtor’s interest                                                      GX11 1AA
                                                                                         GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALTO SOLUTIONS, INC.
 2.74      lease is for and the nature        04/27/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALTONOMY PTE LTD
 2.75      lease is for and the nature        02/04/2022                                 10 ANSON ROAD
           of the debtor’s interest                                                      #12-08

           State the term remaining                                                      SINGAPORE

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ALUMNI VENTURES GROUP
 2.76      lease is for and the nature        12/27/2021                                 CORPORATION TRUST CENTER
           of the debtor’s interest                                                      1209 ORANGE ST
                                                                                         DE
           State the term remaining

           List the contract number of
           any government contract

                                              ENGAGEMENT LETTER --
           State what the contract or         EFFECTIVE DATE: 06/19/2022                 ALVAREZ & MARSAL NORTH AMERICA, LLC
 2.77      lease is for and the nature                                                   600 MADISON AVENUE
           of the debtor’s interest                                                      8TH FLOOR
                                                                                         NEW YORK, NY 10022
           State the term remaining

           List the contract number of
           any government contract

                                              TOKEN SALE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 03/29/2018                 AM VENTURE HOLDINGS
 2.78      lease is for and the nature                                                   210 E. 68 STREET
           of the debtor’s interest                                                      #13C
                                                                                         NEW YORK, NY 10065
           State the term remaining

           List the contract number of
           any government contract

                                              LOAN AGREEMENT -- EFFECTIVE
           State what the contract or         DATE: 01/17/2020                           AM VENTURE HOLDINGS
 2.79      lease is for and the nature                                                   16192 COASTAL HIGHWAY
           of the debtor’s interest                                                      LEWES, DE 19958-9776

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 12/07/2020 PLUS            AMBER TECHNOLOGIES LIMITED
 2.80      lease is for and the nature        ANY ANCILLARY OR RELATED                   33 WYNDHAM ST
           of the debtor’s interest           DOCUMENTS                                  LKF TOWER
                                                                                         11F
           State the term remaining                                                      HONG KONG,
                                                                                         HONG KONG
           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AMBER TECHNOLOGIES LIMITED
 2.81      lease is for and the nature        04/21/2020 PLUS ANY ANCILLARY OR           3RD FLOOR, YAMRAJ BUILDING, MARKET SQUARE
           of the debtor’s interest           RELATED DOCUMENTS                          PO BOX 3175, ROAD TOWN
                                                                                         TORTOLA,
           State the term remaining                                                      VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AMERICAN PATRIOT LLC
 2.82      lease is for and the nature        01/07/2021                                 848 N. RAINBOW
           of the debtor’s interest                                                      #1349
                                                                                         LAS VEGAS, NV 89107
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              STOCK OPTION GRANT NOTICE AND
           State what the contract or         STOCK OPTION AGREEMENT --                  AMIR ROSNER
 2.83      lease is for and the nature        EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ASSIGNMENT AND ASSUMPTION TO
           State what the contract or         SERVICE AGREEMENT -- EFFECTIVE             AMON OU
 2.84      lease is for and the nature        DATE: 07/12/2021                           ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AMON OU
 2.85      lease is for and the nature        01/22/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               AMPERSAN RESEARCH LIMITED
 2.86      lease is for and the nature        03/22/2022                                 C/O DHKN
           of the debtor’s interest                                                      GALWAY FINANCIAL SERVICES CENTRE
                                                                                         MONEENAGEISHA ROAD
           State the term remaining                                                      GALWAY,
                                                                                         IRELAND (EIRE)
           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/28/2022                 ANAMIRIA MADRIGAL
 2.87      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 02/21/2022                 ANAMIRIA MADRIGAL
 2.88      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 02/05/2021 PLUS            ANCHORAGE HOLD, LLC
 2.89      lease is for and the nature        ANY ANCILLARY OR RELATED                   1 EMBARCADERO CENTER #2623
           of the debtor’s interest           DOCUMENTS                                  SAN FRANCISCO, CA 94126-2623

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 02/04/2021 PLUS            ANCHORAGE LENDING
 2.90      lease is for and the nature        ANY ANCILLARY OR RELATED
           of the debtor’s interest           DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ANDERSEN INVEST LUXEMBOURG S.A SPF
 2.91      lease is for and the nature        01/07/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CONSULTATION LETTER --
           State what the contract or         EFFECTIVE DATE: 08/11/2021                 ANDERSEN TAX
 2.92      lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              FIXED INTEREST LOAN AGREEMENT
           State what the contract or         -- EFFECTIVE DATE: 02/15/2021              ANDREW AND STEFAN VOGEL
 2.93      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
           State what the contract or         EFFECTIVE DATE: 01/02/2022                 ANDREW HEWSON
 2.94      lease is for and the nature                                                   ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ANDREW JEPSON
 2.95      lease is for and the nature        05/27/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
           State what the contract or         AGREEMENT -- EFFECTIVE DATE:               ANDREW MOORE
 2.96      lease is for and the nature        06/02/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANDREW REZK
 2.97      lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/13/2022                 ANDREW SIEGEL
 2.98      lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/17/2021                 ANDREW TURLEY
 2.99      lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANDURIL PTE. LTD.
 2.100     lease is for and the nature         01/21/2021                                 111 SOMERSET ROAD
           of the debtor’s interest                                                       #05-03
                                                                                          (S)238164
           State the term remaining                                                       SINGAPORE

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANGELES INVESTMENT ADVISORS, LLC
 2.101     lease is for and the nature         07/19/2021                                 429 SANTA MONICA BLVD, SUITE 650
           of the debtor’s interest                                                       SANTA MONICA, CA 90245

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANGELO COLOMBO
 2.102     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 ANHMINH TRAN
 2.103     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANIRUDDHA SEN
 2.104     lease is for and the nature         02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/30/2021                 ANKICA
 2.105     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 ANKICA SAPUN
 2.106     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANTALPHA TECHNOLOGIES LIMITED
 2.107     lease is for and the nature         10/16/2021                                 KINGSTON CHAMBERS
           of the debtor’s interest                                                       PO BOX 173
                                                                                          ROAD TOWN
           State the term remaining                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/10/2022 PLUS            ANTALPHA TECHNOLOGIES LIMITED
 2.108     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: XIN JIN
           of the debtor’s interest            DOCUMENTS                                  8 KALLANG AVENUE, APERIA TOWER 1
                                                                                          #04-01/02
           State the term remaining                                                       339509
                                                                                          SINGAPORE
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/18/2021 PLUS            ANTALPHA TECHNOLOGIES LIMITED
 2.109     lease is for and the nature         ANY ANCILLARY OR RELATED                   KINGSTON CHAMBERS
           of the debtor’s interest            DOCUMENTS                                  PO BOX 173
                                                                                          ROAD TOWN
           State the term remaining                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/11/2021                 ANTHONY LINGARD
 2.110     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANTHONY MAURIN
 2.111     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/04/2022                 ANTIPIN VITALII NIKOLAEVICH
 2.112     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANTONIO CINELLI
 2.113     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 ANTONIO CINELLI
 2.114     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANTONIO GUEVARA
 2.115     lease is for and the nature         06/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/10/2021                 ANTONIS CHRISTODOULOU
 2.116     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/05/2021                 ANTONY LINGARD
 2.117     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANV GLOBAL SERVICES INC
 2.118     lease is for and the nature         05/11/2021                                 200 HUDSON STREET
           of the debtor’s interest                                                       JERSEY CITY, NJ 07311

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ANV GLOBAL SERVICES INC.
 2.119     lease is for and the nature         04/01/2022                                 200 HUDSON STREET
           of the debtor’s interest                                                       JERSEY CITY, NJ 07311

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AON RISK INSURANCE SERVICES WEST, INC.
 2.120     lease is for and the nature         11/17/2021                                 707 WILSHIRE BOULEVARD
           of the debtor’s interest                                                       LOS ANGELES, CA 90017

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AON RISK SERVICES NORTHEAST, INC.
 2.121     lease is for and the nature         02/28/2022                                 165 BROADWAY
           of the debtor’s interest                                                       SUITE 3201
                                                                                          ONE LIBERTY PLAZA
           State the term remaining                                                       NEW YORK, NY 10006

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/22/2021 PLUS            AP CAPITAL ABSOLUTE RETURN FUND
 2.122     lease is for and the nature         ANY ANCILLARY OR RELATED                   KENSINGTON HOUSE
           of the debtor’s interest            DOCUMENTS                                  69 DR. ROY’S DRIVE
                                                                                          GRAND CAYMAN, KY1-1104
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AP CAPITAL ABSOLUTE RETURN FUND
 2.123     lease is for and the nature         11/20/2021                                 KENSINGTON HOUSE
           of the debtor’s interest                                                       69 DR. ROY'S DRIVE
                                                                                          GRAND CAYMAN, KY1-1104
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/29/2021 PLUS            AP CAPITAL INVESTMENT LIMITED
 2.124     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: XBT TEAM
           of the debtor’s interest            DOCUMENTS                                  1133 CENTRAL BUILDING, 1-3 PEDDER STREET, CENTRAL
                                                                                          HONG KONG, NIL
           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               APERTURE LENS, INC.
 2.125     lease is for and the nature         05/04/2022                                 2483 OLD MIDDLEFIELD WAY, STE 202
           of the debtor’s interest                                                       MOUNTAIN VIEW, CA 94043-2330

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/05/2022                 APOLLO CAPITAL MANAGEMENT, L.P.
 2.126     lease is for and the nature                                                    ATTN: JOSEPH GLATT
           of the debtor’s interest                                                       9 WEST 57TH STREET
                                                                                          NEW YORK, NY 10019
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               APOLLO CAPITAL MANAGEMENT, L.P.
 2.127     lease is for and the nature         02/12/2021                                 9 WEST 57TH STREET
           of the debtor’s interest                                                       NEW YORK, NY 10019

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AQUABAY FINANCIAL CREST LLC FZ
 2.128     lease is for and the nature         05/11/2022                                 BUSINESS CENTER 1, M FLOOR
           of the debtor’s interest                                                       THE MEYDAN HOTEL
                                                                                          NAD AL SHEBA
           State the term remaining                                                       DUBAI,
                                                                                          UNITED ARAB EMIRATES
           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 ARACELLI SANCHEZ
 2.129     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2022                 ARBEN KANE
 2.130     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ARCHAX HOLDINGS LTD
 2.131     lease is for and the nature         12/02/2021                                 125 OLD BROAD STREET
           of the debtor’s interest                                                       LONDON, EC2N 1AR
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/16/2021                 ARCHITECT PARTNERS LLC
 2.132     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ARGUS INC.
 2.133     lease is for and the nature         01/18/2022                                 1451 LEXINGTON AVENUE
           of the debtor’s interest                                                       NEW YORK, NY 10128

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ARIK PUPKO
 2.134     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ARKANA INVESTMENT MANAGEMENT LLC
 2.135     lease is for and the nature         03/12/2022                                 8259 N MILITARY TRAIL
           of the debtor’s interest                                                       PALM BECH GARDENS, FL 33410

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ARKHIVIST LTD.
 2.136     lease is for and the nature         01/20/2022                                 HERZOG 19
           of the debtor’s interest                                                       HERZLIYA,
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ARTUS CAPITAL GMBH & CO. KGAA
 2.137     lease is for and the nature         01/13/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 ARUN SHRESTHA
 2.138     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 ARUN SHRESTHA
 2.139     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ASAF COHEN
 2.140     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 ASAF COHEN
 2.141     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/06/2021                 ASAF COHEN
 2.142     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2021                 ASHISH GANDHI
 2.143     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/04/2021                 ASHLEY CHAPMAN
 2.144     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/01/2021                 ASHLEY CHAPMAN
 2.145     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 ASHLEY HARRELL
 2.146     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 ASHLEY HARRELL
 2.147     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/06/2022                 ASHLEY MICHAEL PARKER
 2.148     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 ASHLEY O'BRIEN
 2.149     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 ASHLEY O'BRIEN
 2.150     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ASIFF HIRJI
 2.151     lease is for and the nature         01/11/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ASPEN CREEK DIGITAL CORPORATION
 2.152     lease is for and the nature         03/09/2022                                 ATTN: ALEX DACOSTA
           of the debtor’s interest                                                       880 APOLLO STREET
                                                                                          SUITE 333
           State the term remaining                                                       EL SEGUNDO, CA 90245

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/25/2022                 ASSAF OZ
 2.153     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/08/2021                 ATHOS KOUTRA
 2.154     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/19/2022                 ATLAS FRM LLC
 2.155     lease is for and the nature                                                    ATTN: MICHAEL O'DONNELL
           of the debtor’s interest                                                       100 NORTHFIELD STREET
                                                                                          GREENWICH, CT 06830
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/19/2020 PLUS            AUROS TECH LTD
 2.156     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AVANTGARDE FINANCE
 2.157     lease is for and the nature         07/15/2021                                 12 NEW FETTER LANE
           of the debtor’s interest                                                       EC4A 1JP
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AVANTGARDE FINANCE LTD
 2.158     lease is for and the nature         07/16/2021                                 12 NEW FETTER LANE
           of the debtor’s interest                                                       LONDON, EC4A 1JP
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               SETTLEMENT AGREEMENT AND
           State what the contract or          GENERAL RELEASE -- EFFECTIVE               AVI LEVIN
 2.159     lease is for and the nature         DATE: 05/07/2022                           ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               AVM, L.P.
 2.160     lease is for and the nature         12/19/2021                                 777 YAMATO ROAD
           of the debtor’s interest                                                       SUITE 300
                                                                                          BOCA RATON, FL 33431
           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  AVRAHAM AHUVIM
 2.161     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               B2C2 LTD
 2.162     lease is for and the nature         11/30/2020                                 86-90 PAUL STREET
           of the debtor’s interest                                                       LONDON, EC2A 4NE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/20/2020 PLUS            B2C2 LTD
 2.163     lease is for and the nature         ANY ANCILLARY OR RELATED                   86-90 PAUL ST
           of the debtor’s interest            DOCUMENTS                                  LONDON, EC2A 4NE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               B2C2 LTD
 2.164     lease is for and the nature         06/02/2020 PLUS ANY ANCILLARY OR           86-90 PAUL ST
           of the debtor’s interest            RELATED DOCUMENTS                          LONDON, EC2A 4NE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BAANX GROUP LTD
 2.165     lease is for and the nature         03/28/2022                                 LEVEL 18, 40 BANK STREET
           of the debtor’s interest                                                       CANARY WHARF, LONDON, E14 5NR
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BABEL HOLDING LIMITED
 2.166     lease is for and the nature         05/24/2021                                 GRAND PAVILLION, HIBISCUS WAY
           of the debtor’s interest                                                       802 WEST BAY ROAD
                                                                                          GRAND CAYMAN, KY-1205
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/23/2021 PLUS            BABEL HOLDING LIMITED
 2.167     lease is for and the nature         ANY ANCILLARY OR RELATED                   GRAND PAVILION
           of the debtor’s interest            DOCUMENTS                                  HIBISCUS WAY,
                                                                                          803 WEST BAY ROAD
           State the term remaining                                                       GRAND CAYMAN, KY1-1206
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/24/2021 PLUS            BABEL HOLDING LIMITED
 2.168     lease is for and the nature         ANY ANCILLARY OR RELATED                   GRAND PAVILION
           of the debtor’s interest            DOCUMENTS                                  HIBISCUS WAY,
                                                                                          802 WEST BAY ROAD
           State the term remaining                                                       GRAND CAYMAN, KY1-1205
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT
           State what the contract or                                                     BACKBONE HOSTING SOLUTIONS, INC.
 2.169     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 BAL KRISHNA JHA
 2.170     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 BAL KRISHNA JHA
 2.171     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BALANCE PARTNERS, LLC
 2.172     lease is for and the nature         05/11/2021                                 ONE LIBERTY PLAZA
           of the debtor’s interest                                                       NEW YORK, NY 10006

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BALANCE TECHNOLOGIES, INC
 2.173     lease is for and the nature         03/04/2022                                 852 E. ARROWHEAD LN
           of the debtor’s interest                                                       SALT LAKE CITY, UT 84107

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BALANCER LABS OU
 2.174     lease is for and the nature         11/06/2021                                 ROOSIKRANTSI 2-1200
           of the debtor’s interest                                                       TALLINN, 10119
                                                                                          ESTONIA
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BALANCER LABS OU
 2.175     lease is for and the nature         11/05/2021                                 ROOSIKRANTSI 2-1200
           of the debtor’s interest                                                       TALLINN, 10119
                                                                                          ESTONIA
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BANKHAUS SCHEICH WERTPAPIERSPEZIALIST AG
 2.176     lease is for and the nature         02/22/2021                                 ROSSMARKT 21
           of the debtor’s interest                                                       FRANKFURT,
                                                                                          GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BANYAN RISK LTD.
 2.177     lease is for and the nature         03/22/2022                                 MAXWELL ROBERTS BUILDING
           of the debtor’s interest                                                       1 CHURCH STREET
                                                                                          HAMILTON, 11
           State the term remaining                                                       BERMUDA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BARRY IRWIN
 2.178     lease is for and the nature         01/23/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BASTION WORLDWIDE LIMITED
 2.179     lease is for and the nature         01/16/2022                                 VISTRA CORPORATE SERVICES CENTRE
           of the debtor’s interest                                                       WICKHAMPS CAY II, ROAD TOWN
                                                                                          TORTOLA, VG1110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BB TRADE ESTONIA OU
 2.180     lease is for and the nature         09/22/2021                                 HARJU MAAKOND, TALLINN, LASNAMAE LINNAOSA
           of the debtor’s interest                                                       LOOTSA TN 8A, 11415
                                                                                          ESTONIA
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               B-BRICK, INC.
 2.181     lease is for and the nature         11/12/2021                                 11F, HORIM ART CENTER, 317
           of the debtor’s interest                                                       DOSAN-DAERO, GANGNAM-GU
                                                                                          SEOUL,
           State the term remaining                                                       KOREA, REPUBLIC OF

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/15/2021 PLUS            B-BRICK, INC.
 2.182     lease is for and the nature         ANY ANCILLARY OR RELATED                   11F, HORIM ART CENTER,
           of the debtor’s interest            DOCUMENTS                                  317, DOSAN-DAERO
                                                                                          GANGNAM-GU
           State the term remaining                                                       SEOUL,
                                                                                          KOREA, REPUBLIC OF
           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BC TECHNOLOGY GROUP LIMITED
 2.183     lease is for and the nature         03/03/2020 PLUS ANY ANCILLARY OR           ATTN: EDWINA CHAU
           of the debtor’s interest            RELATED DOCUMENTS                          CLIFTON HOUSE, 75 FORT STREET
                                                                                          PO BOX 1350
           State the term remaining                                                       GRAND CAYMAN ISLAND,
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BCB PRIME SERVICES LIMITED
 2.184     lease is for and the nature         07/01/2021                                 5 MERCHANT SQUARE
           of the debtor’s interest                                                       LONDON, W2 1AS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BCB PRIME SERVICES LIMITED
 2.185     lease is for and the nature         07/01/2021                                 ATTN: OLIVER TONKIN
           of the debtor’s interest                                                       5 MERCHANT SQUARE
                                                                                          LONDON, W2 1AS
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/13/2021 PLUS            BCB PRIME SERVICES LIMITED
 2.186     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: LEGAL AND COMPLIANCE
           of the debtor’s interest            DOCUMENTS                                  5 MERCHANT SQUARE
                                                                                          LONDON, W2 1AS
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               AMENDMENT NO. 1 TO MASTER
           State what the contract or          LOAN AGREEMENT -- EFFECTIVE                BCB PRIME SERVICES LIMITED
 2.187     lease is for and the nature         DATE: 07/01/2021 PLUS ANY                  ATTN: LEGAL AND COMPLIANCE
           of the debtor’s interest            ANCILLARY OR RELATED                       5 MERCHANT SQUARE
                                               DOCUMENTS                                  LONDON, W2 1AS
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BCRS2 LLC
 2.188     lease is for and the nature         04/23/2020 PLUS ANY ANCILLARY OR           ATTN: DAVID EISENBERGER
           of the debtor’s interest            RELATED DOCUMENTS                          12 STAMFORD HILL ROAD
                                                                                          LAKEWOOD, NJ 08701
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BDO USA, LLP
 2.189     lease is for and the nature         04/03/2022                                 5300 PATTERSON AVE SE
           of the debtor’s interest                                                       SUITE 100
                                                                                          GRAND RAPIDS, MI 49512
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BELLEWAY LTD
 2.190     lease is for and the nature         06/30/2020 PLUS ANY ANCILLARY OR           KUTUZOVI STREET N2
           of the debtor’s interest            RELATED DOCUMENTS                          FLAT 18
                                                                                          TBILISI, 0194
           State the term remaining                                                       GEORGIA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BELVEDERE GROUP LLC
 2.191     lease is for and the nature         07/09/2021                                 10 S RIVERSIDE PLAZA
           of the debtor’s interest                                                       SUITE 2100
                                                                                          CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  BEN BAGINSKY
 2.192     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BENITO LUIS CRISOSTOMO
 2.193     lease is for and the nature         02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BEQAUNT EXCHANGE LIMITED
 2.194     lease is for and the nature         11/22/2019                                 5B, OFFICE 2, SPINOLA RESIDENCE
           of the debtor’s interest                                                       SPINOLA ROAD
                                                                                          ST. JULIANS, STJ 3012
           State the term remaining                                                       MALTA

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BEQUANT TECHNOLOGIES LIMITED
 2.195     lease is for and the nature         11/20/2019 PLUS ANY ANCILLARY OR           2 AMERICAN SQUARE
           of the debtor’s interest            RELATED DOCUMENTS                          AMERICA HOUSE
                                                                                          LONDON, EC3N2LU
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/17/2020                 BERND FORTSCH
 2.196     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 BETHANY J. DAVIS
 2.197     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BETUR INC DBA COINS.PH
 2.198     lease is for and the nature         11/03/2021                                 30/F UNION BANK PLAZA
           of the debtor’s interest                                                       ORTIGAS CENTER
                                                                                          MERALCO AVENUE COR ONYX AND SAPPHIRE STREET
           State the term remaining                                                       PASIG CITY, 1605
                                                                                          PHILIPPINES
           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/09/2021                 BF GLOBAL
 2.199     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               ASSIGNMENT AND AMENDMENT TO
           State what the contract or          OMNIBUS WALLET SERVICE                     BF PORTFOLIO BUILDER
 2.200     lease is for and the nature         AGREEMENT -- EFFECTIVE DATE:
           of the debtor’s interest            08/19/2021

           State the term remaining

           List the contract number of
           any government contract

                                               SOFTWARE INTEGRATION
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BFXWW INC.
 2.201     lease is for and the nature         08/19/2021                                 SHRM TRUSTEES (BVI) LIMITED TRINITY CHAMBERS
           of the debtor’s interest                                                       PO BOX 4301
                                                                                          ROAD TOWN, VG110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/16/2021 PLUS            BICAMERAL VENTURES INC.
 2.202     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: ALEX MCDOUGALL
           of the debtor’s interest            DOCUMENTS                                  84 SHANNON STREET
                                                                                          TORONTO, ON M6J 2E7
           State the term remaining                                                       CANADA

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/14/2020                 BINANCE EUROPEAN SERVICES LIMITED
 2.203     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITALPHA, INC.
 2.204     lease is for and the nature         04/19/2021                                 60 RUSSELL STREET
           of the debtor’s interest                                                       SAN FRANCISCO, CA 94109

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITCOINFORME SL
 2.205     lease is for and the nature         06/12/2022                                 GERMAN BERNACER 12
           of the debtor’s interest                                                       ELCHE, 03203
                                                                                          SPAIN
           State the term remaining

           List the contract number of
           any government contract

                                               AUTHORITY LETTER -- EFFECTIVE
           State what the contract or          DATE: 03/30/2020                           BITFINEX INC
 2.206     lease is for and the nature                                                    17F-1 NO. 266, SEC. 1
           of the debtor’s interest                                                       WENHUA RD.
                                                                                          BANQIAO DIST.
           State the term remaining                                                       TAIPEI,

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITFLYER EUROPE S.A.
 2.207     lease is for and the nature         03/30/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BITGO MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITGO, INC.
 2.208     lease is for and the nature         03/24/2022                                 2443 ASH STREET
           of the debtor’s interest                                                       PALO ALTO, CA 94306

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITKUB ONLINE COMPANY LIMITED
 2.209     lease is for and the nature         02/23/2022                                 2525, FYI CENTER, TOWER 2
           of the debtor’s interest                                                       11TH FLOOR, UNIT 2/1101-2/1107
                                                                                          RAMA 4 ROAD
           State the term remaining                                                       BANGKOK,
                                                                                          THAILAND
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITOODA HOLDINGS, INC.
 2.210     lease is for and the nature         12/10/2021                                 33 COMMERCIAL STREET
           of the debtor’s interest                                                       RAYNHAM, MA 02767

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITPAY, INC.
 2.211     lease is for and the nature         02/24/2022                                 8000 AVALON BOULEVARD
           of the debtor’s interest                                                       SUITE 300
                                                                                          ALPHARETTA, GA 30009
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITSTACK SAS
 2.212     lease is for and the nature         12/12/2021                                 100 IMPASSE DES HOUILLERES
           of the debtor’s interest                                                       MEYREUIL, 13590
                                                                                          FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITSTAMP
 2.213     lease is for and the nature         02/24/2020
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITTREX GLOBAL GMBH
 2.214     lease is for and the nature         05/21/2021                                 ATTN: STEPHEN STONBERG
           of the debtor’s interest                                                       DR GRASS STRASSE 12
                                                                                          VADUZ, 9490
           State the term remaining                                                       LIECHTENSTEIN

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITUMINOUS LTD
 2.215     lease is for and the nature         02/04/2021                                 550 W JACKSON BLVD
           of the debtor’s interest                                                       SUITE 1300
                                                                                          CHICAGO, IL 60661
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITVAVO B.V.
 2.216     lease is for and the nature         02/04/2022                                 HERENGRACHT 450
           of the debtor’s interest                                                       AMSTERDAM, 1017 CA
                                                                                          NETHERLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BITWALA GMBH
 2.217     lease is for and the nature         02/04/2021                                 OHLAUER STRAßE 43
           of the debtor’s interest                                                       BERLIN, 10999
                                                                                          GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/14/2021 PLUS            BK OFFSHORE FUND LTD
 2.218     lease is for and the nature         ANY ANCILLARY OR RELATED                   CRAIGMUIR CHAMBERS
           of the debtor’s interest            DOCUMENTS                                  PO BOX 71
                                                                                          ROAD TOWN
           State the term remaining                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/16/2021                 BKCOIN CAPITAL
 2.219     lease is for and the nature                                                    1101 BRICKELL AVE, S-800
           of the debtor’s interest                                                       MIAMI, FL 33131

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/15/2021 PLUS            BKCOIN CAPITAL LP
 2.220     lease is for and the nature         ANY ANCILLARY OR RELATED                   1101 BRICKELL AVE
           of the debtor’s interest            DOCUMENTS                                  SOUTH TOWER 8TH FLOOR
                                                                                          MIAMI, FL 33131
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLACKPEAK INC.
 2.221     lease is for and the nature         07/01/2021                                 1750 K STREET NW
           of the debtor’s interest                                                       SUITE 450
                                                                                          WASHINGTON, DC 20006
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/02/2022                 BLACKROCK FINANCIAL MANAGEMENT, INC. – BLACKROCK
 2.222     lease is for and the nature                                                    CAPITAL MARKETS GROUP, ON BEHALF OF FUNDS AND
           of the debtor’s interest                                                       ACCOUNTS UNDER MANAGEMENT
                                                                                          55 EAST 52ND STREET
           State the term remaining                                                       NEW YORK, NY 10055

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLACKROCK FINANCIAL MANAGEMENT, INC. GLOBAL
 2.223     lease is for and the nature         01/25/2022                                 CREDIT OPPORTUNITIES GR OUP, ON BEHALF OF FUNDS AND
           of the debtor’s interest                                                       ACCOUNTS UNDER MANAGEMENT
                                                                                          55 EAST 52ND STREET
           State the term remaining                                                       NEW YORK, NY 10055

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLACKSUMMIT FINANCIAL GROUP INC.
 2.224     lease is for and the nature         02/15/2021                                 99 WIND HAVEN DR.
           of the debtor’s interest                                                       SUITE 2
                                                                                          NICHOLASVILLE, KY 40356
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLACKSUMMIT FINANCIAL GROUP, INC.
 2.225     lease is for and the nature         03/31/2022                                 99 WIND HAVEN DR
           of the debtor’s interest                                                       NICHOLASVILLE, KY 40356

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLENDER FINANCIAL TECHNOLOGIES LTD.
 2.226     lease is for and the nature         04/05/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLOCK MATRIX LIMITED
 2.227     lease is for and the nature         05/16/2022                                 ROOM 707, FORTRESS TOWER, 250 KING'S ROAD
           of the debtor’s interest                                                       NORTH POINT
                                                                                          HONG KONG,
           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 03/27/2020                           BLOCKBASIS
 2.228     lease is for and the nature                                                    VAEVERGRADE
           of the debtor’s interest                                                       COPENHAGEN,
                                                                                          DENMARK
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/09/2019 PLUS            BLOCKCHAIN ACCESS UK LTD
 2.229     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLOCKCHAIN.COM GROUP HOLDINGS, INC.
 2.230     lease is for and the nature         02/16/2022                                 190 ELGIN AVENUE
           of the debtor’s interest                                                       GEORGE TOWN, GRAND CAYMAN, KY1-9008
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLOCKDAEMON INC.
 2.231     lease is for and the nature         06/17/2021                                 ATTN: KONSTANTIN RICHTER
           of the debtor’s interest                                                       6060 CENTER DRIVE
                                                                                          10TH FLOOR
           State the term remaining                                                       ANGELES, CA 90045

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/26/2021                 BLUE DRAGONS AG
 2.232     lease is for and the nature                                                    ESSANESTRASSE 91
           of the debtor’s interest                                                       ESCHEN, FL-9492
                                                                                          LIECHTENSTEIN
           State the term remaining

           List the contract number of
           any government contract

                                               SERVICES AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/14/2021                 BLUE EDGE BULGARIA EOOD
 2.233     lease is for and the nature                                                    STRELBISHTE, BL. 98
           of the debtor’s interest                                                       ENTR. B, FL 6, AP 52
                                                                                          SOFIA, 1408
           State the term remaining                                                       BULGARIA

           List the contract number of
           any government contract

                                               SERVICES AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/26/2021                 BLUE EDGE BULGARIA EOOD
 2.234     lease is for and the nature                                                    STRELBISHTE, BL. 98
           of the debtor’s interest                                                       ENTR. B, FL 6, AP 52
                                                                                          SOFIA, 1408
           State the term remaining                                                       BULGARIA

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/06/2020 PLUS            BLUE FIRE CAPITAL EUROPE
 2.235     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/06/2020 PLUS            BLUE FIRE EUROPE COOPERATIEF
 2.236     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/08/2022                 BLUE TORCH CAPITAL LP
 2.237     lease is for and the nature                                                    ATTN: KEVIN P. GENDA AND DEREK B. LEO
           of the debtor’s interest                                                       150 EAST 58TH STREET
                                                                                          18TH FLOOR
           State the term remaining                                                       NEW YORK, NY 10155

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BLUE WIRE, INC.
 2.238     lease is for and the nature         04/05/2022                                 8730 WILSHIRE BLVD
           of the debtor’s interest                                                       SUITE 350
                                                                                          BEVERLY HILLS, CA 90211
           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/01/2021                 BOATWRIGHT CAPITAL GROUP LLC
 2.239     lease is for and the nature                                                    1309 D ST SE
           of the debtor’s interest                                                       WASHINGTON, DC 20003

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BOHR ARBITRAGE CRYPTO FUND LP
 2.240     lease is for and the nature         05/19/2021                                 ATTN: JAY JANER
           of the debtor’s interest                                                       GRAND CAYMAN ISLANDS

           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BONALP MANAGEMENT SARL
 2.241     lease is for and the nature         12/30/2021                                 2 C, PARC D'ACTIVITES, L-8308
           of the debtor’s interest                                                       CAPELLEN,
                                                                                          LUXEMBOURG
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BOSCHER GREGOIRE
 2.242     lease is for and the nature         10/06/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BOWHEAD SPECIALTY UNDERWRITERS, INC.
 2.243     lease is for and the nature         04/12/2022                                 667 MADISON AVE
           of the debtor’s interest                                                       5TH FLOOR
                                                                                          NEW YORK, NY 10065
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BPL GLOBAL LLC
 2.244     lease is for and the nature         09/09/2021                                 200 VESEY STREET
           of the debtor’s interest                                                       24TH FLOOR
                                                                                          NEW YORK, NY 10281
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BPM, LLP
 2.245     lease is for and the nature         04/08/2022                                 ONE CALIFORNIA STREET
           of the debtor’s interest                                                       SUITE 2500
                                                                                          SAN FRANCISCO, CA 94111
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRAD ANDERSEN
 2.246     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRAD ANDERSEN
 2.247     lease is for and the nature         01/22/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 BRADLEY CONDIT
 2.248     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 BRADLEY CONDIT
 2.249     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRANDON MAULTASCH
 2.250     lease is for and the nature         05/04/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/15/2022                 BRENDAN BLUMER
 2.251     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRENT MARCEL EICHENBERGER
 2.252     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/09/2022                 BRIAN BAULCH
 2.253     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2021                 BRIAN BOODE
 2.254     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/13/2022                 BRIAN CUNNINGHAM
 2.255     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/24/2021                 BRIAN STRAUSS
 2.256     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/25/2020 PLUS            BRITTA ACHMANN
 2.257     lease is for and the nature         ANY ANCILLARY OR RELATED                   ADDRESS REDACTED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRODIE WOOLER
 2.258     lease is for and the nature         02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 BRUNO ALESSIO CARRA
 2.259     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/27/2021                 BRUNO ALESSIO CARRA
 2.260     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BRYAN SIU-CHONG
 2.261     lease is for and the nature         08/31/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BTSE HOLDINGS LIMITED
 2.262     lease is for and the nature         12/12/2021                                 3RD FLOOR, J&C BUILDING
           of the debtor’s interest                                                       ROAD TOWN
                                                                                          TORTOLA, VG1110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/25/2022                 BULLPERKS BVI CORP
 2.263     lease is for and the nature                                                    CASABLANCA HOUSE
           of the debtor’s interest                                                       LUCK HILL
                                                                                          TORTOLA,
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               BZEROX LLC
 2.264     lease is for and the nature         08/10/2021                                 8 THE GREEN, SUITE A
           of the debtor’s interest                                                       DOVER, DE 19901

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               CONFIDENTIALITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/06/2022                 C STREET ADVISORY GROUP
 2.265     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/31/2021                 CADENZA CAPITAL MANAGEMENT LIMITED
 2.266     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/09/2021                 CAISSE DE DEPOT ET PLACEMENT DU QUEBEC
 2.267     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/24/2022                 CALLAWAY CAPITAL MANAGEMENT, LLC
 2.268     lease is for and the nature                                                    2001 S STREET NW
           of the debtor’s interest                                                       SUITE 320
                                                                                          WASHINGTON, DC 20009
           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 CAMILLA CONSTANCE-CHURCHER
 2.269     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 CAMILLA CONSTANCE-CHURCHER
 2.270     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CANACCORD GENUITY LIMITED
 2.271     lease is for and the nature         10/08/2020                                 88 WOOD STREET
           of the debtor’s interest                                                       LONDON, EC2V 7QR
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/21/2021                 CANTOR FITZGERALD & CO.
 2.272     lease is for and the nature                                                    110 EAST 59TH STREET
           of the debtor’s interest                                                       NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/09/2021                 CAPITAL E ADVISORS, INC.
 2.273     lease is for and the nature                                                    600 MADISON AVENUE
           of the debtor’s interest                                                       18TH FLOOR
                                                                                          NEW YORK, NY 10022
           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 03/15/2021                 CAREERFINDERS RECRUITMENT SERVICES LIMITED
 2.274     lease is for and the nature                                                    6TH FLOOR, ATHLOS BUILDING
           of the debtor’s interest                                                       28 NIKIS STREET
                                                                                          NICOSIA, CY-1086
           State the term remaining                                                       CYPRUS

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/09/2021                 CARLEEN LEONARD
 2.275     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CARLES REBERTE VILAGRAN
 2.276     lease is for and the nature         08/30/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CARLO CIPOLLINI
 2.277     lease is for and the nature         02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CATHLEEN HU
 2.278     lease is for and the nature         06/12/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CBRE, INC.
 2.279     lease is for and the nature         03/15/2022                                 1209 ORANGE STREET
           of the debtor’s interest                                                       WILMINGTON, DE 19801

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/17/2021                 CBS BROADCASTING INC.
 2.280     lease is for and the nature                                                    C/O VIACOMCBS INC.
           of the debtor’s interest                                                       51 W. 52ND STREET
                                                                                          NEW YORK, NY 10019
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CBW BANK
 2.281     lease is for and the nature         05/26/2022                                 109 EAST MAIN ST
           of the debtor’s interest                                                       WEIR, KS 66781

           State the term remaining

           List the contract number of
           any government contract

                                               AMENDED AND RESTATED SENIOR
           State what the contract or          SECURED CONVERTIBLE                        CDP INVESTISSEMENTS INC.
 2.282     lease is for and the nature         PROMISSORY NOTE PURCHASE                   1000 PLACE JEAN-PAUL-RIOPELLE
           of the debtor’s interest            AGREEMENT PROMISSORY NOTE                  MONTRÉAL, QC H2Z 2B3
                                               PURCHASE AGREEMENT                         CANADA
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CEDRIC HUBER
 2.283     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 12/29/2021                           CELSISU SERVICES CY LTD.
 2.284     lease is for and the nature                                                    KREMASTIS RODOU
           of the debtor’s interest                                                       62 FLAT/OFFICE 101
                                                                                          EPISKOPI
           State the term remaining                                                       LIMASSOL, 4620
                                                                                          CYPRUS
           List the contract number of
           any government contract

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 01/01/2021                           CELSIUS LENDING LLC
 2.285     lease is for and the nature                                                    221 RIVER STREET
           of the debtor’s interest                                                       9TH FLOOR
                                                                                          HOBOKEN, NJ 07030
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               ASSIGNMENT AND ASSUMPTION
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CELSIUS MINING LLC
 2.286     lease is for and the nature         02/23/2022                                 221 RIVER STREET, 9TH FLOOR
           of the debtor’s interest                                                       HOBOKEN, NJ 07030

           State the term remaining

           List the contract number of
           any government contract

                                               CREDIT AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 07/11/2022                           CELSIUS MINING LLC
 2.287     lease is for and the nature                                                    221 RIVER STREET, 9TH FLOOR
           of the debtor’s interest                                                       HOBOKEN, NJ 07030

           State the term remaining

           List the contract number of
           any government contract

                                               AMENDED AND RESTARTED
           State what the contract or          REVOLVING CREDIT AGREEMENT --              CELSIUS MINING LLC
 2.288     lease is for and the nature         EFFECTIVE DATE: 04/28/2022                 221 RIVER STREET, 9TH FLOOR
           of the debtor’s interest                                                       HOBOKEN, NJ 07030

           State the term remaining

           List the contract number of
           any government contract

                                               ASSIGNMENT AND ASSUMPTION
           State what the contract or          AGREEMENT OF MAWSON                        CELSIUS MINING LLC
 2.289     lease is for and the nature         AGREEMENTS -- EFFECTIVE DATE:              221 RIVER STREET, 9TH FLOOR
           of the debtor’s interest            02/23/2022                                 HOBOKEN, NJ 07030

           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 12/29/2021                           CELSIUS NETOWRK EUROPE D.O.O BEOGRAD
 2.290     lease is for and the nature                                                    51 CARA DUSANA
           of the debtor’s interest                                                       ZEMUN,
                                                                                          MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                               ASSIGNMENT AND ASSUMPTION
           State what the contract or          AGREEMENT OF CIRCLE INTERNET               CELSIUS NETWORK LLC
 2.291     lease is for and the nature         FINANCIAL MSA -- EFFECTIVE DATE:           221 RIVER STREET
           of the debtor’s interest            03/29/2022                                 9TH FLOOR
                                                                                          HOBOKEN, NJ 07030
           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 12/29/2021                           CELSIUS NETWORK LLC
 2.292     lease is for and the nature                                                    221 RIVER STREET
           of the debtor’s interest                                                       9TH FLOOR
                                                                                          HOBOKEN, NJ 07030
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               INTERCOMPANY RECHARGE
           State what the contract or          AGREEMENT FOR EQUITY-BASED                 CELSIUS NETWORK LTD.
 2.293     lease is for and the nature         AWARDS -- EFFECTIVE DATE:                  156 MENACHEM BEGIN ROAD
           of the debtor’s interest            12/06/2021                                 10TH FLOOR
                                                                                          TEL AVIV, 6492108
           State the term remaining                                                       ISRAEL

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 12/29/2021                           CELSIUS NETWORK LTD.
 2.294     lease is for and the nature                                                    156 MENACHEM BEGIN ROAD
           of the debtor’s interest                                                       10TH FLOOR
                                                                                          TEL AVIV, 6492108
           State the term remaining                                                       ISRAEL

           List the contract number of
           any government contract

                                               SHARE TRANSFER AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/17/2021                 CELSIUS NETWORK LTD.
 2.295     lease is for and the nature                                                    156 MENACHEM BEGIN ROAD
           of the debtor’s interest                                                       10TH FLOOR
                                                                                          TEL AVIV, 6492108
           State the term remaining                                                       ISRAEL

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CENTAUR MARKETS
 2.296     lease is for and the nature         11/22/2021                                 1395 BRICKELL AVE
           of the debtor’s interest                                                       MIAMI, FL 33131

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CENTRALEYES LTD
 2.297     lease is for and the nature         12/13/2021                                 KORAL 4
           of the debtor’s interest                                                       REUT,
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CERES INC.
 2.298     lease is for and the nature         04/23/2022                                 YOGA 4-10-1 SETAGAYA-KU
           of the debtor’s interest                                                       TOKYO,
                                                                                          JAPAN
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CEX.IO LTD
 2.299     lease is for and the nature         03/25/2021 PLUS ANY ANCILLARY OR           ATTN: KONSTANTIN ANISSIMOV
           of the debtor’s interest            RELATED DOCUMENTS                          33 ST. JAMES'S SQUARE
                                                                                          LONDON, ENGLAND, SW1Y 4JS
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CEX.IO LTD
 2.300     lease is for and the nature         01/12/2021                                 33 ST. JAMES’S SQUARE
           of the debtor’s interest                                                       LONDON, SW1Y 4JS
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CF BENCHMARKS LTD
 2.301     lease is for and the nature         12/04/2021                                 6 TH FLOOR, ONE LONDON WALL
           of the debtor’s interest                                                       LONDON, EC2Y 5EB
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHAD WALDRIP
 2.302     lease is for and the nature         02/24/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/07/2020                 CHAD WALLS
 2.303     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 CHAD WALLS
 2.304     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 CHARLES ROBERTS
 2.305     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 CHARLES WARNER
 2.306     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHARLIE ARESKOUG
 2.307     lease is for and the nature         08/31/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/08/2022                 CHARLIE FLYNN
 2.308     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/21/2020                 CHARLOTTE FERRIS-LAWLOR
 2.309     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHECKOUT LTD
 2.310     lease is for and the nature         03/24/2022                                 WENLOCK WORKS, SHEPHERDESS WALK
           of the debtor’s interest                                                       LONDON, N1 7BQ
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHEE YANG NG
 2.311     lease is for and the nature         06/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  CHEN KORNIZER
 2.312     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHENG WAI HO
 2.313     lease is for and the nature         07/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/31/2022                 CHEYENNE BUENO
 2.314     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/01/2021                 CHRIS KUNZE-LEVY
 2.315     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  CHRIS KUNZE-LEVY
 2.316     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/06/2021                 CHRIS LALLY
 2.317     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/18/2021                 CHRISTIAAN HAUSSMANN
 2.318     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHRISTIAN BOLLETER
 2.319     lease is for and the nature         02/10/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/23/2021                 CHRISTIAN CHOI
 2.320     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHRISTIAN LEON BEWLEY
 2.321     lease is for and the nature         09/07/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/17/2021                 CHRISTIAN VELEZ
 2.322     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/29/2021                 CHRISTIAN VELEZ
 2.323     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/06/2022                 CHRISTINE MAYLWARD
 2.324     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/18/2022                 CHRISTOPHER FARMER AND RUSSELL CRUMPLER
 2.325     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/26/2021                 CHRISTOPHER LALLY
 2.326     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHRISTOPHER MCLEAN
 2.327     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CHRONICLE SOFTWARE LTD
 2.328     lease is for and the nature         04/02/2022                                 82 ST JOHN ST, CLERKENWELL
           of the debtor’s interest                                                       LONDON, EC1M 4JN
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/15/2021                 CHUKWUMA MORAH
 2.329     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/09/2020                 CINDY ZIMMERMAN
 2.330     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 CINDY ZIMMERMAN
 2.331     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 CINDY ZIMMERMAN
 2.332     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CIRCLE INTERNET FINANCIAL, INC.
 2.333     lease is for and the nature         01/29/2021                                 99 HIGH STREET
           of the debtor’s interest                                                       SUITE 1701
                                                                                          BOSTON, MA 02110
           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 08/25/2021                 CITIGROUP GLOBAL MARKETS INC.
 2.334     lease is for and the nature                                                    388 GREENWICH STREET
           of the debtor’s interest                                                       NEW YORK, NY 10013

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               INDEMNITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/17/2022                 CITIGROUP GLOBAL MARKETS INC.
 2.335     lease is for and the nature                                                    388 GREENWICH STREET
           of the debtor’s interest                                                       NEW YORK, NY 10013

           State the term remaining

           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT
           State what the contract or          BETWEEN CITI AND CELSIUS                   CITIGROUP GLOBAL MARKETS LIMITED
 2.336     lease is for and the nature         NETWORK LIMITED -- EFFECTIVE
           of the debtor’s interest            DATE: 06/18/2021

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CLARIDGE CAPITAL LLC
 2.337     lease is for and the nature         01/06/2022                                 1246 NE OCEANVIEW CIRCLE
           of the debtor’s interest                                                       JENSEN BEACH, FL 34957

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CLERKENWELL MASTER FUND, LTD
 2.338     lease is for and the nature         12/01/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 05/09/2022                 CMS DERKS STAR BUSSMAN N.V.
 2.339     lease is for and the nature                                                    ATRIUM
           of the debtor’s interest                                                       PARNASSUSWEG 737
                                                                                          AMSTERDAM, NL-1077 DG
           State the term remaining                                                       NETHERLANDS

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CMS HOLDINGS LLC
 2.340     lease is for and the nature         02/12/2021 PLUS ANY ANCILLARY OR           27 HOSPITAL ROAD
           of the debtor’s interest            RELATED DOCUMENTS                          GEORGE TOWN, GRAND CAYMAN, KY1-9008
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CMS HOLDINGS, LLC
 2.341     lease is for and the nature         12/01/2020                                 27 HOSPITAL ROAD
           of the debtor’s interest                                                       GEORGE TOWN, GRAND CAYMAN, KY1-9008
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CODE WARRIORS, LLC
 2.342     lease is for and the nature         03/23/2021                                 539 W. COMMERCE ST. #3899
           of the debtor’s interest                                                       DALLAS, TX 75208

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COFFEE DISTRIBUTING CORP.
 2.343     lease is for and the nature         01/23/2022                                 200 BROADWAY
           of the debtor’s interest                                                       GARDEN CITY PARK, NY 11040

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COGNIZANT WORLDWIDE LIMITED
 2.344     lease is for and the nature         05/02/2022                                 1 KINGDOM STREET
           of the debtor’s interest                                                       PADDINGTON CENTRAL
                                                                                          LONDON, W2 6BD
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COIN MEESTER B.V.
 2.345     lease is for and the nature         12/15/2021                                 THAILANDLAAN 6
           of the debtor’s interest                                                       AALSMEER, 1432DJ
                                                                                          NETHERLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COINMERCE BV
 2.346     lease is for and the nature         02/21/2022                                 BEECHAVENUE 140
           of the debtor’s interest                                                       SCHIPHOL-RIJK, 1119PR
                                                                                          NETHERLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/04/2020 PLUS            COINSHARES CAPITAL MARKETS (JERSEY) LIMITED
 2.347     lease is for and the nature         ANY ANCILLARY OR RELATED                   2 HILL ST
           of the debtor’s interest            DOCUMENTS                                  2ND FLOOR
                                                                                          ST. HEILER, JE2 4UA
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COLIN LOH SHOU ANN
 2.348     lease is for and the nature         11/04/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COMPUTE NORTH LLC
 2.349     lease is for and the nature         08/17/2021                                 7575 CORPORATE WAY
           of the debtor’s interest                                                       EDEN PRAIRIE, MN

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 CONNOR NOLAN
 2.350     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 CONNOR NOLAN
 2.351     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/10/2020                 CONNOR NOLAN
 2.352     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON- DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CONSENSYS SOFTWARE INC.
 2.353     lease is for and the nature         03/29/2022                                 41 BOGART ST., SUITE 22
           of the debtor’s interest                                                       BROOKLYN, NY 11206

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CONSILIO LLC
 2.354     lease is for and the nature         02/24/2022                                 1828 L ST., NW
           of the debtor’s interest                                                       STE. 1070
                                                                                          WASHINGTON, DC 20036
           State the term remaining

           List the contract number of
           any government contract

                                               LETTER AGREEMENT RE:
           State what the contract or          EVALUATION MATERIALS --                    CORBIN CAPITAL PARTNERS, L.P.
 2.355     lease is for and the nature         EFFECTIVE DATE: 11/12/2021                 590 MADISON AVE, 31ST FLOOR
           of the debtor’s interest                                                       NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CORMINT DATA SYSTEMS, INC
 2.356     lease is for and the nature         05/03/2021                                 34 JANET TERRACE
           of the debtor’s interest                                                       NEW HARTFORD, NY 13413

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COTI LIMITED
 2.357     lease is for and the nature         02/18/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COTI LTD
 2.358     lease is for and the nature         07/21/2021                                 57/63 LINE WALL RD.
           of the debtor’s interest
                                                                                          GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/09/2021 PLUS            COTI LTD
 2.359     lease is for and the nature         ANY ANCILLARY OR RELATED                   57/63 LINE WALL ROAD
           of the debtor’s interest            DOCUMENTS
                                                                                          GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COUPA SOFTWARE INC.
 2.360     lease is for and the nature         03/21/2022                                 1855 S. GRANT STREET
           of the debtor’s interest                                                       SAN MATEO, CA 94402

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COVARIO AG
 2.361     lease is for and the nature         11/30/2020                                 LANDIS+GYR-STRASSE 1
           of the debtor’s interest                                                       ZUG, 6300
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/17/2021 PLUS            COVARIO AG
 2.362     lease is for and the nature         ANY ANCILLARY OR RELATED                   LANDIS+GYR-STRASSE 1
           of the debtor’s interest            DOCUMENTS                                  ZUG, CH-6300
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               COVE MARKETS, INC
 2.363     lease is for and the nature         10/19/2021                                 125 S CLARK ST
           of the debtor’s interest                                                       FL 17
                                                                                          CHICAGO, IL 60603
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/06/2022                 CRAIG BARRETT
 2.364     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 CRAIG LOSPALLUTO
 2.365     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/21/2020                 CRAIG LOSPALLUTO
 2.366     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CRAIG MCGLYNN
 2.367     lease is for and the nature         06/02/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER SERVICES AGREEMENT
           State what the contract or          FOR CONSULTING SERVICES --                 CREDITOR GROUP CORP.
 2.368     lease is for and the nature         EFFECTIVE DATE: 07/30/2021                 1013 CENTRE ROAD
           of the debtor’s interest                                                       SUITE 403-B
                                                                                          WILMINGTON, DE 19805
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CREDITOR GROUP CORP.
 2.369     lease is for and the nature         06/24/2021                                 ATTN: VIKTOR IHNATIUK
           of the debtor’s interest                                                       220 E 23RD STREET
                                                                                          NEW YORK, NY 10010
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CRYPTO BROKER AG
 2.370     lease is for and the nature         03/24/2021                                 GENFER STRASSE 35
           of the debtor’s interest                                                       8002
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CRYPTO OXYGEN GMBH
 2.371     lease is for and the nature         11/12/2021                                 WEISSENBURGER STR. 25
           of the debtor’s interest                                                       MUNICH, 81667
                                                                                          GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CRYPTOSIMPLE SAS
 2.372     lease is for and the nature         12/22/2021                                 2 RUE HENRI BARBUSSE
           of the debtor’s interest                                                       MARSEILLE, 13001
                                                                                          FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CTC ENTERPRISES LIMITED
 2.373     lease is for and the nature         10/25/2021                                 UGLAND HOUSE, PO BOX 309
           of the debtor’s interest                                                       GRAND CAYMAN, KY1-1104
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/09/2021                 CULTIV8 CONSULTING INC. DBA ILLUMITI HCM
 2.374     lease is for and the nature                                                    3500 LENOX RD NE, SUITE 1500
           of the debtor’s interest                                                       ATLANTA, GA 30326

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/18/2021 PLUS            CUMBERLAND DRW LLC
 2.375     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: GENERAL COUNSEL
           of the debtor’s interest            DOCUMENTS                                  540 W. MADISON STREET
                                                                                          SUITE 2500
           State the term remaining                                                       CHICAGO, IL 60661

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               CURVE OS LIMITED
 2.376     lease is for and the nature         10/31/2021                                 15-19 BLOOMSBURY WAY
           of the debtor’s interest                                                       LONDON, WC1A 2TH
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               LETTER AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 07/18/2022                           CYRUS CAPITAL PARTNERS, L.P.
 2.377     lease is for and the nature                                                    65 EAST 55TH STREET, 35TH FLOOR
           of the debtor’s interest                                                       NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 CYRUS PARTOW
 2.378     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               D4RW1NLABS LDA
 2.379     lease is for and the nature         12/15/2021                                 AV. DUQUE DE AVILA N66 LO
           of the debtor’s interest                                                       LISBOA, 1069-075

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAKEN COLEMAN
 2.380     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 DAKEN COLEMAN
 2.381     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/18/2022                 DALIA QUIJADA
 2.382     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/10/2022                 DAMIAN MANQUERO
 2.383     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2022                 DAMIAN MANQUERO
 2.384     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAMIEN GONELLA
 2.385     lease is for and the nature         01/15/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DANET COMMUNICATIONS LTD.
 2.386     lease is for and the nature         04/20/2022                                 HARAKEVET 58
           of the debtor’s interest                                                       TEL AVIV,
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/22/2021                 DANIEL AVRAHAM
 2.387     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/04/2022                 DANIEL CHRISTIAAN JOANNES VAN BOOMA
 2.388     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DANIEL DELANO
 2.389     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DANIEL J. EDELMAN, INC.
 2.390     lease is for and the nature         05/01/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DANIEL JOSEF ALBERG
 2.391     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 DANIEL LABOYNE
 2.392     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DANIEL MARKS
 2.393     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2021                 DANIEL MOODY
 2.394     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/15/2022                 DANNY-DMITRY ZAKON
 2.395     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/16/2020                 DARREN YARWOOD
 2.396     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 DARREN YARWOOD
 2.397     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 DARREN YARWOOD
 2.398     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/17/2021                 DARRON MOULD
 2.399     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAVED DALY
 2.400     lease is for and the nature         08/05/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/07/2022                 DAVID ALBERT
 2.401     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAVID BARSE
 2.402     lease is for and the nature         12/20/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAVID BERGSTRAESSER
 2.403     lease is for and the nature         03/09/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/08/2022                 DAVID GARCIA RIOS
 2.404     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/19/2021                 DAVID HOFFMAN
 2.405     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DAVID LOS ARCOS CARCAMO
 2.406     lease is for and the nature         02/07/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DAVID MILNER
 2.407     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/13/2022                 DAVID RICHARDSON
 2.408     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DAVID STERLING
 2.409     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 DAVID WEISBERG
 2.410     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 DAVIDE PASINI
 2.411     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 DAX NAGTEGAAL
 2.412     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/03/2020                 DAX NAGTEGAAL
 2.413     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 DEAN TAPPEN
 2.414     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DECENT TECHNOLOGIES LLC
 2.415     lease is for and the nature         10/12/2021                                 110 WASHINGTON AVENUE
           of the debtor’s interest                                                       MIAMI BEACH, FL 33139

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DELIO CO., LTD
 2.416     lease is for and the nature         07/29/2021                                 51, MAEHWA-RO, BUNDANG-GU, SEONGNAM-SI
           of the debtor’s interest                                                       GYEONGGI-DO,
                                                                                          KOREA, REPUBLIC OF
           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 03/16/2022                 DELOITTE & TOUCHE LLP
 2.417     lease is for and the nature                                                    111 S WACKER DRIVE
           of the debtor’s interest                                                       CHICAGO, IL 60606

           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 03/16/2022                 DELOITTE TAX LLP
 2.418     lease is for and the nature                                                    PO BOX 844736
           of the debtor’s interest                                                       DALLAS, TX 75284-4736

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DELTACORE CAPITAL LLC
 2.419     lease is for and the nature         10/14/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DENNIS LANSINK
 2.420     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DEXTERITY CAPITAL
 2.421     lease is for and the nature         02/19/2021                                 3518 FREMONT AVE N.
           of the debtor’s interest                                                       #331
                                                                                          SEATTLE, WA 98103
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/04/2021 PLUS            DEXTERITY CAPITAL LP
 2.422     lease is for and the nature         ANY ANCILLARY OR RELATED                   3518 FREEMONT AVE
           of the debtor’s interest            DOCUMENTS                                  #331
                                                                                          SEATTLE, WA 9813
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DEXTERITY CAPITAL LP
 2.423     lease is for and the nature         05/28/2021                                 ATTN: ARPAN GAUTAM
           of the debtor’s interest                                                       3518 FREEMONT AVE, #331
                                                                                          SEATTLE, WA 98103
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DEZENHALL RESOURCES, LTD.
 2.424     lease is for and the nature         06/01/2022                                 1201 CONNECTICUT AVE NW
           of the debtor’s interest                                                       SUITE 600
                                                                                          WASHINGTON, DC 20036
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIAL HOME SRL
 2.425     lease is for and the nature         03/14/2022                                 CLUJ CAPOCA, STR 13 SEPTEMBRIE
           of the debtor’s interest                                                       NR. 12A

           State the term remaining                                                       ROMANIA

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/09/2020                 DIANA VALENTIN A CASTILLO GARCIA
 2.426     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 DIANA VALENTIN A CASTILLO GARCIA
 2.427     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIGI TRADE
 2.428     lease is for and the nature         11/17/2020
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIGIFOX CORP.
 2.429     lease is for and the nature         01/28/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIGIPLI INC.
 2.430     lease is for and the nature         01/06/2022
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIGISHARES A/S
 2.431     lease is for and the nature         10/14/2021                                 NIELS JERNES VEJ 10
           of the debtor’s interest                                                       AALBORG, 9220
                                                                                          DENMARK
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/24/2021 PLUS            DIGITAL ASSET FUNDS MANAGEMENT LLC
 2.432     lease is for and the nature         ANY ANCILLARY OR RELATED                   C/O JGC PARTNERS
           of the debtor’s interest            DOCUMENTS                                  MLC CENTRE LEVEL 57
                                                                                          19-29 MARTIN PLACE
           State the term remaining                                                       2000
                                                                                          AUSTRALIA
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DIGITAL ASSET FUNDS MANAGEMENT PTY LTD
 2.433     lease is for and the nature         08/24/2021                                 JGC PARTNERS
           of the debtor’s interest                                                       MLC CENTRE LEVEL 57 , 19-29 MARTIN PLACE
                                                                                          2000
           State the term remaining                                                       AUSTRALIA

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/24/2021 PLUS            DIGITAL ASSET FUNDS MANAGEMENT PTY LTD
 2.434     lease is for and the nature         ANY ANCILLARY OR RELATED                   JGC PARTNERS, ‘MLC CENTRE’ LEVEL 57
           of the debtor’s interest            DOCUMENTS                                  19-29 MARTIN PLACE
                                                                                          NSW 2000 AUSTRALIA
           State the term remaining
                                                                                          AUSTRALIA
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/22/2021 PLUS            DIGITAL TREASURES MANAGEMENT PTE LTD
 2.435     lease is for and the nature         ANY ANCILLARY OR RELATED                   8 MARINA VIEW
           of the debtor’s interest            DOCUMENTS                                  #15-08A
                                                                                          ASIA SQUARE TOWER 1
           State the term remaining                                                       018960
                                                                                          SINGAPORE
           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/01/2021                 DIGITAL TREASURES MANAGEMENT PTE. LTD
 2.436     lease is for and the nature                                                    8 MARINA VIEW #15-08A, ASIA SQUARE TOWER 1
           of the debtor’s interest                                                       SINGAPORE, 018960
                                                                                          SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/07/2022                 DIKESH DHAKAL
 2.437     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/24/2021 PLUS            DIVERSIFIED ALPHA SP - INSTITUTIONAL, A SEGREGATED
 2.438     lease is for and the nature         ANY ANCILLARY OR RELATED                   PORTFOLIO OF NICKEL DIGITAL ASSET MASTER FUND SPC
           of the debtor’s interest            DOCUMENTS                                  ATTN: JONATHAN PATTERSON
                                                                                          34 ST JAMES'S STREET
           State the term remaining                                                       LONDON, SW1A 1HD
                                                                                          UNITED KINGDOM
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/14/2020 PLUS            DIVERSIFIED ALPHA SP - INSTITUTIONAL, A SEGREGATED
 2.439     lease is for and the nature         ANY ANCILLARY OR RELATED                   PORTFOLIO OF NICKEL DIGITAL ASSET MASTER FUND
           of the debtor’s interest            DOCUMENTS                                  SPC
                                                                                          9 FORUM LANE
           State the term remaining                                                       CAMANA BAY
                                                                                          PO BOX 31243
           List the contract number of                                                    GRAND CAYMAN, KY1-1205
           any government contract                                                        CAYMAN ISLANDS



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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DMITRI SIMKIN
 2.440     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DMITRIY SHREYDER
 2.441     lease is for and the nature         03/26/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DOCUSIGN, INC.
 2.442     lease is for and the nature         03/01/2022                                 221 MAIN STREET
           of the debtor’s interest                                                       SUITE 1550
                                                                                          SAN FRANCISCO, CA 94105
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DOCUSMART INC.
 2.443     lease is for and the nature         06/02/2022                                 113 CHERRY ST
           of the debtor’s interest                                                       PMB 65390
                                                                                          SEATTLE, WA 98104
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/20/2020 PLUS            DOGE
 2.444     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DOLARAPP INC.
 2.445     lease is for and the nature         07/16/2021                                 251 LITTLE FALLS DRIVE
           of the debtor’s interest                                                       WILMINGTON, DE 19808

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DOMINIQUE VERWEIJ
 2.446     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/18/2021                 DORADO TECHNOLOGIES LLC
 2.447     lease is for and the nature                                                    ATTN: GABRIELE GALLI
           of the debtor’s interest                                                       1721 S BAYSHORE LN
                                                                                          MIAMI, FL 33133
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DORADO TECHNOLOGIES,INC
 2.448     lease is for and the nature         03/08/2022                                 1721 S BAYSHORE LANE
           of the debtor’s interest                                                       MIAMI, FL 33133

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DOREEN SELLEK
 2.449     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 DORIN LIPSCHITZ
 2.450     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 DORIN LIPSCHITZ
 2.451     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/08/2020                 DORIN LIPSCHITZ
 2.452     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  DORIN LIPSCHITZ
 2.453     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/09/2022                 DOUG CARTER
 2.454     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2021                 DRAGOS IOAN ILIE
 2.455     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DRB PANAMA INC.
 2.456     lease is for and the nature         11/25/2021                                 VIA ESPANA
           of the debtor’s interest                                                       DELTA BANK BUILDING
                                                                                          6TH FLOOR, SUITE 604D
           State the term remaining                                                       PANAMA CITY,
                                                                                          PANAMA
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/13/2021 PLUS            DRUK HOLDING AND INVESTMENTS
 2.457     lease is for and the nature         ANY ANCILLARY OR RELATED                   5TH FLOOR BOBL BUILDING
           of the debtor’s interest            DOCUMENTS                                  NORZIN LAM
                                                                                          THIMPHU
           State the term remaining                                                       1101
                                                                                          BHUTAN
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DRUK HOLDING AND INVESTMENTS
 2.458     lease is for and the nature         11/05/2021                                 5TH FLOOR BOBL BUILDING
           of the debtor’s interest                                                       NORZIN LAM
                                                                                          THIMPHU
           State the term remaining                                                       1101
                                                                                          BHUTAN
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/07/2019 PLUS            DUANMIS TRADING LLC (USA)
 2.459     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 DUKE KIM
 2.460     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 DUKE KIM
 2.461     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/21/2021 PLUS            DUNAMI TRADING (BAHAMAS) LTD
 2.462     lease is for and the nature         ANY ANCILLARY OR RELATED                   WINTER BOTHAN PLACE
           of the debtor’s interest            DOCUMENTS                                  MARLBOROUGH & QUEEN STREET
                                                                                          3026- ISLAND OF NEW PROVIDENCE
           State the term remaining
                                                                                          BAHAMAS
           List the contract number of
           any government contract

                                               NOVATION AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/29/2021                 DUNAMIS TRADING (BAHAMAS) LTD.
 2.463     lease is for and the nature                                                    ATTN: DELFOS MACHADO
           of the debtor’s interest                                                       NETO
                                                                                          MALBOROUGH STREET
           State the term remaining                                                       NASSAU, NEW
                                                                                          PROIVIDENCE, N3625
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/17/2021 PLUS            DUNAMIS TRADING III LTD
 2.464     lease is for and the nature         ANY ANCILLARY OR RELATED                   94 SOLARIS AVENUE
           of the debtor’s interest            DOCUMENTS                                  CAMANA BAY
                                                                                          GRAND CAYMAN, KY1- 1008
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/07/2019 PLUS            DUNAMIS TRADING LTD
 2.465     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DUNAMIS TRADING USA LLC
 2.466     lease is for and the nature         10/07/2019 PLUS ANY ANCILLARY OR           251 LITTLE FALLS DRIVE
           of the debtor’s interest            RELATED DOCUMENTS                          WILMINGTON, DE 19808

           State the term remaining

           List the contract number of
           any government contract

                                               NOVATION AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/29/2021                 DUNAMIS TRADING USA LLC
 2.467     lease is for and the nature                                                    251 LITTLE FALLS DRIVE
           of the debtor’s interest                                                       WILMINGTON, DE 19808

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 DUNG HUI
 2.468     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DV CHAIN
 2.469     lease is for and the nature         03/08/2021                                 216 W JACKSON BLVD
           of the debtor’s interest                                                       3RD FL.
                                                                                          CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/18/2022 PLUS            DV CHAIN LLC
 2.470     lease is for and the nature         ANY ANCILLARY OR RELATED                   216 W JACKSON BLVD
           of the debtor’s interest            DOCUMENTS                                  3RD FLOOR
                                                                                          CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DV GROUP, LLC
 2.471     lease is for and the nature         03/17/2022                                 425 S. FINANCIAL PLACE
           of the debtor’s interest                                                       SUITE 2800
                                                                                          CHICAGO, IL 60605
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               DYLAN JAY SEESE
 2.472     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EARLY IQ, INC.
 2.473     lease is for and the nature         01/29/2022                                 12526 HIGH BLUFF DRIVE
           of the debtor’s interest                                                       SUITE 300
                                                                                          SAN DIEGO, CA 92130
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EDGAR BENJAMIN CABRERA
 2.474     lease is for and the nature         03/08/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EDGEWATER ADVISORY, LLC
 2.475     lease is for and the nature         04/08/2022                                 201 SE 2ND AVE
           of the debtor’s interest                                                       SUITE 2715
                                                                                          MIAMI, FL 33131
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EDWARD F MARTIN
 2.476     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EFFICIENT CAPITAL MANAGEMENT, LLC
 2.477     lease is for and the nature         10/29/2021                                 4355 WEAVER PARKWAY, SUITE 200
           of the debtor’s interest                                                       WARRENVILLE, IL 60555

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EGON ZEHNDER INTERNATIONAL
 2.478     lease is for and the nature         01/20/2022                                 1 N WACKER DR
           of the debtor’s interest                                                       CHICAGO, IL 60606

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT                                  ELDAD CHAI
 2.479     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 07/17/2019                           ELLIPAL LIMITED
 2.480     lease is for and the nature                                                    RM E 25/ F KING PALACE PLAZA 5S KING YIP ST
           of the debtor’s interest                                                       KWUN TONG,
                                                                                          CHINA
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/17/2021                 EMERGING INNOVATIONS LLC, D/B/A EMERGENTS @ WEILD &
 2.481     lease is for and the nature                                                    CO.
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EMPYREAN TECHNOLOGIES LTD.
 2.482     lease is for and the nature         05/16/2022                                 HA'SHIEZAF ST 4
           of the debtor’s interest                                                       RAANANA, 4366411
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ENERGY IMPACT PARTNERS LP
 2.483     lease is for and the nature         11/11/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2021 PLUS            ENIGMA SECURITIES LIMITED
 2.484     lease is for and the nature         ANY ANCILLARY OR RELATED                   7/8 SAVILE ROW
           of the debtor’s interest            DOCUMENTS                                  LONDON, W1S3PE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ENIGMA SECURITIES LTD.
 2.485     lease is for and the nature         08/28/2020 PLUS ANY ANCILLARY OR           7/8 SAVILE ROW
           of the debtor’s interest            RELATED DOCUMENTS                          LONDON, W1S3PE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EPIC ASIC
 2.486     lease is for and the nature         04/09/2021                                 RM 1910-1919 BLK 2 19/F 138 SHATIN RD
           of the debtor’s interest                                                       SHATIN, NEW TERRITORIES,
                                                                                          HONG KONG
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT NONDISCLOSURE                    EPISERVER INC.
 2.487     lease is for and the nature         AGREEMENT                                  199 5TH AVE
           of the debtor’s interest                                                       7TH FLOOR
                                                                                          NEW YORK, NY 10003
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/30/2021 PLUS            EQUITIES FIRST HOLDINGS, LLC
 2.488     lease is for and the nature         ANY ANCILLARY OR RELATED                   10 WEST MARKET STREET
           of the debtor’s interest            DOCUMENTS                                  SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 09/15/2021                           EQUITIES FIRST HOLDINGS, LLC
 2.489     lease is for and the nature                                                    ATTN: JULIE LAPOINT
           of the debtor’s interest                                                       10 WEST MARKET STREET
                                                                                          SUITE 3050
           State the term remaining                                                       INDIANAPOLIS, IN 46204

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/08/2022 PLUS            EQUITIES FIRST HOLDINGS, LLC
 2.490     lease is for and the nature         ANY ANCILLARY OR RELATED                   10 WEST MARKET STREET
           of the debtor’s interest            DOCUMENTS                                  SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 01/28/2022                           EQUITIES FIRST HOLDINGS, LLC
 2.491     lease is for and the nature                                                    ATTN: JULIE LAPOINT
           of the debtor’s interest                                                       10 WEST MARKET STREET, SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/31/2021 PLUS            EQUITIES FIRST HOLDINGS, LLC
 2.492     lease is for and the nature         ANY ANCILLARY OR RELATED                   11 WEST MARKET STREET
           of the debtor’s interest            DOCUMENTS                                  SUITE 3051
                                                                                          INDIANAPOLIS, IN 46205
           State the term remaining

           List the contract number of
           any government contract

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 04/20/2022                           EQUITIES FIRST HOLDINGS, LLC
 2.493     lease is for and the nature                                                    ATTN: JULIE LAPOINT
           of the debtor’s interest                                                       10 WEST MARKET STREET, SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 04/06/2022                           EQUITIES FIRST HOLDINGS, LLC
 2.494     lease is for and the nature                                                    ATTN: JULIE LAPOINT
           of the debtor’s interest                                                       10 WEST MARKET STREET, SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract

                                               LOAN AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 03/23/2022                           EQUITIES FIRST HOLDINGS, LLC
 2.495     lease is for and the nature                                                    ATTN: JULIE LAPOINT
           of the debtor’s interest                                                       10 WEST MARKET STREET, SUITE 3050
                                                                                          INDIANAPOLIS, IN 46204
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/04/2022 PLUS            EQUITIES FIRST HOLDINGS, LLC
 2.496     lease is for and the nature         ANY ANCILLARY OR RELATED                   11 WEST MARKET STREET
           of the debtor’s interest            DOCUMENTS                                  SUITE 3051
                                                                                          INDIANAPOLIS, IN 46205
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/24/2022                 ERAN ELHANANI
 2.497     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ERAN LAVI
 2.498     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  EREZ BEJERANO
 2.499     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/29/2021                 ERIC DIAS
 2.500     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIC HILLEMEIR
 2.501     lease is for and the nature         10/12/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/03/2022                 ERIC KIMLA
 2.502     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 ERIC OLIVIER
 2.503     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIC REICHERT
 2.504     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIC WARD
 2.505     lease is for and the nature         02/21/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIC WOLLAEGER
 2.506     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 ERICH DELLA VOLPE
 2.507     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/24/2020                 ERICH DELLA VOLPE
 2.508     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIDSON CLAUDIO SOUSA DA CUNHA
 2.509     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/20/2021                 ERIK ELIAS
 2.510     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERIS CLEANING, LLC
 2.511     lease is for and the nature         07/26/2021                                 111 S WACKER, SUITE 4730
           of the debtor’s interest                                                       CHICAGO, IL 60606

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ERNST & YOUNG LLP
 2.512     lease is for and the nature         03/17/2022                                 100 ADELAIDE STREET WEST
           of the debtor’s interest                                                       PO BOX 1
                                                                                          TORONTO, ON M5H0B3
           State the term remaining                                                       CANADA

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/07/2022                 ESTEBAN RODRIGUEZ
 2.513     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/10/2022                 ESTEFANO E ISAIAS
 2.514     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ETC HOLDINGS LIMITED
 2.515     lease is for and the nature         03/20/2022                                 DIXCART HOUSE
           of the debtor’s interest                                                       3RD FLOOR
                                                                                          SIR WILLIAM PLACE
           State the term remaining                                                       ST. PETER PORT, GY14EZ
                                                                                          GUERNSEY
           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 ETHAN TAN
 2.516     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ETORO GROUP LIMITED
 2.517     lease is for and the nature         06/17/2022                                 TRIDENT CHAMBERS, PO BOX 146
           of the debtor’s interest                                                       ROAD TOWN
                                                                                          TORTOLA,
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/06/2022                 EUGENIA ANTIPAS
 2.518     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EUROPEAN MEDIA FINANCE
 2.519     lease is for and the nature         03/10/2022                                 96 KENSINGTON HIGH STREET
           of the debtor’s interest                                                       LONDON, W8 4SG
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               SETTLEMENT AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/23/2021                 EUROPEAN MEDIA FINANCE LIMITED
 2.520     lease is for and the nature                                                    96 KENSINGTON HIGH STREET
           of the debtor’s interest                                                       LONDON, W84SG
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EVAN LOGSDON
 2.521     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/04/2022                 EVAN LOGSDON
 2.522     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EVERY, INC.
 2.523     lease is for and the nature         02/21/2022                                 2261 MARKET STREET #4305
           of the debtor’s interest                                                       SAN FRANCISCO, CA 94114

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 EWA WLOSEK
 2.524     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/09/2020                 EWA WLOSEK
 2.525     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               EXZAC INCE DBA MATRIX-IFS
 2.526     lease is for and the nature         05/09/2022                                 ATTN: RENAN LEVY
           of the debtor’s interest                                                       3 SECOND STREET
                                                                                          JERSEY CITY, NJ 07302
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FABIO FRONTINI
 2.527     lease is for and the nature         05/04/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FABRIC VENTURES LLP
 2.528     lease is for and the nature         01/26/2022                                 58 WOOD LANE
           of the debtor’s interest                                                       LONDON, ENGLAND, W12 7RZ
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FAIR INVEST, INC
 2.529     lease is for and the nature         07/30/2021                                 10101 SOUTHWEST FREEWAY, SUITE 570
           of the debtor’s interest                                                       HOUSTON, TX 77074

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/13/2021                 FALAH AL AHBABI
 2.530     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FALCON CAPITAL MANAGEMENT SPC
 2.531     lease is for and the nature         06/04/2020 PLUS ANY ANCILLARY OR           10 BRICK ST
           of the debtor’s interest            RELATED DOCUMENTS                          LONDON, W1J 7HQ
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/05/2020 PLUS            FALCON CAPITAL MANAGEMENT SPC - TYR
 2.532     lease is for and the nature         ANY ANCILLARY OR RELATED                   10 BRICK ST
           of the debtor’s interest            DOCUMENTS                                  LONDON, W1J 7HQ
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FALCON HYBIRD SPC-RE7 LIQUIDITY FUND SP
 2.533     lease is for and the nature         04/28/2022                                 C/O AMS CORPORATE SERVICES (CAYMAN) LIMTED
           of the debtor’s interest                                                       3-212 GOVERNORS SQUARE
                                                                                          23 LIME TREE BAY AVE, PO BOX 30746
           State the term remaining                                                       GRAND CAYMAN, SMB,
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/03/2022 PLUS            FALCON HYBRID SPC – RE7 LIQUIDITY FUND SP
 2.534     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: BENNY MENASHE
           of the debtor’s interest            DOCUMENTS                                  3 QUEEN STREET
                                                                                          LONDON, W1J 5PA
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FALCONX LIMITED
 2.535     lease is for and the nature         07/13/2021                                 LEVEL G, (OFFICE 1/1191)
           of the debtor’s interest                                                       QUANTUM HOUSE 75, ABATE RIGORD STREET
                                                                                          TA'XBIEX, XBX1120
           State the term remaining                                                       MALTA

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/19/2019 PLUS            FALCONX LIMITED
 2.536     lease is for and the nature         ANY ANCILLARY OR RELATED                   LEVEL G, (OFFICE 1/1191)
           of the debtor’s interest            DOCUMENTS                                  QUANTUM HOUSE 75, ABATE RIGORD STREET
                                                                                          TA'XBIEX, XBX1120
           State the term remaining                                                       MALTA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FASANARA CAPITAL LTD
 2.537     lease is for and the nature         07/26/2021                                 4TH FLOOR, 40 BOND STREET
           of the debtor’s interest                                                       LONDON, W1S 2RX
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/11/2022 PLUS            FASANARA INVESTMENTS MASTER FUND
 2.538     lease is for and the nature         ANY ANCILLARY OR RELATED                   C/O INTERNATIONAL CORPORATION SERVICES LTD.
           of the debtor’s interest            DOCUMENTS                                  HARBOUR PLACE, 2ND FLOOR
                                                                                          103 SOUTH CHURCH STREET GEORGE TOWN
           State the term remaining                                                       GRAND CAYMAN, KY1-1106
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/11/2021 PLUS            FASANARA INVESTMENTS SCSP
 2.539     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: FRANCESCO FILLIA
           of the debtor’s interest            DOCUMENTS                                  23 VAL FLEURI
                                                                                          L-1526
           State the term remaining                                                       LUXEMBOURG

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FEARLESS LEGENDS PTE LTD
 2.540     lease is for and the nature         11/30/2021                                 168 ROBINSON ROAD, #12-01
           of the debtor’s interest                                                       CAPITAL TOWER
                                                                                          068912
           State the term remaining                                                       SINGAPORE

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FELIPE DA SILVA LUCAS
 2.541     lease is for and the nature         11/12/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FENERGO LIMITED
 2.542     lease is for and the nature         04/27/2022                                 CASTLEFORBES HOUSE
           of the debtor’s interest                                                       MAYOR STREET
                                                                                          DUBLIN 1,
           State the term remaining                                                       IRELAND (EIRE)

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 FERNANDO DREYFUS
 2.543     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2022                 FERNANDO DREYFUS
 2.544     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 FERNANDO DREYFUS
 2.545     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 02/14/2020                           FIBERMODE LIMITED
 2.546     lease is for and the nature                                                    FINSGATE, 5-7 CRANWOOD STREET
           of the debtor’s interest                                                       LONDON, EC1V9EE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               LETTER AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 07/06/2022                           FIDELITY INFORMATION SERVICES, LLC
 2.547     lease is for and the nature                                                    ATTN: CHIEF LEGAL OFFICER
           of the debtor’s interest                                                       601 RIVERSIDE AVENUE
                                                                                          JACKSONVILLE, FL 32204
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FIGMENT INC.
 2.548     lease is for and the nature         11/13/2021                                 545 KING ST. W
           of the debtor’s interest                                                       TORONTO, ON M5V1M1
                                                                                          CANADA
           State the term remaining

           List the contract number of
           any government contract

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/10/2022                 FINDER
 2.549     lease is for and the nature                                                    32 E 31ST ST
           of the debtor’s interest                                                       4TH FLOOR
                                                                                          NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FINDER WALLET PTY LTD
 2.550     lease is for and the nature         07/06/2021                                 ATTN: FRED SCHEBESTA
           of the debtor’s interest                                                       99 YORK STREET
                                                                                          SYDNEY,
           State the term remaining                                                       AUSTRALIA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FINDER.COM COMPARISON UK LTD
 2.551     lease is for and the nature         04/15/2022                                 LEVEL 2, 20 ST THOMAS ST
           of the debtor’s interest                                                       LONDON, SE1 9RS
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               ENGAGEMENT AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/18/2021                 FINNEGAN, HENDERSON, FARABOW, GARRETT & DUNNER LLP
 2.552     lease is for and the nature                                                    ATTN: RECORDS DEPARTMENT
           of the debtor’s interest                                                       901 NEW YORK AVENUE, NW
                                                                                          WASHINGTON, DC 20001-4413
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/25/2021                 FINSTRO HOLDINGS PTY LTD
 2.553     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FIRST BULLION HOLDINGS INC.
 2.554     lease is for and the nature         03/10/2021                                 VISTRA CORPORATE SERVICES CENTRE
           of the debtor’s interest                                                       SUITE 23, 1ST FLOOR
                                                                                          EDEN PLAZA
           State the term remaining                                                       EDEN ISLAND, MAHE,
                                                                                          SEYCHELLES
           List the contract number of
           any government contract

                                               ASSIGNMENT AND AMENDMENT TO
           State what the contract or          OMNIBUS WALLET SERVICE                     FIRST DIGITAL TRUST LIMITED
 2.555     lease is for and the nature         AGREEMENT -- EFFECTIVE DATE:               SUITE 2302, 23RD FLOOR, WORLD WIDE HOUSE
           of the debtor’s interest            08/19/2021                                 19 DES VOEUX ROAD CENTRAL
                                                                                          CENTRAL,
           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FIRST DIGITAL TRUST LIMITED
 2.556     lease is for and the nature         03/04/2021                                 SUITE 2302, 23RD FLOOR, WORLD WIDE HOUSE
           of the debtor’s interest                                                       19 DES VOEUX ROAD CENTRAL
                                                                                          CENTRAL,
           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract

                                               OMNIBUS ACCOUNT SERVICE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FIRST DIGITAL TRUST LIMITED
 2.557     lease is for and the nature         04/19/2021                                 SUITE 2303, 23RD FLOOR
           of the debtor’s interest                                                       WORLD WIDE HOUSE
                                                                                          19 DES VOEUX ROAD CENTRAL
           State the term remaining
                                                                                          HONG KONG
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FIRST MILE GROUP, INC. D/B/A ALLOY
 2.558     lease is for and the nature         05/16/2022                                 41 EAST 11TH STREET, 2ND FLOOR
           of the debtor’s interest                                                       NEW YORK, NY 10003

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL CONFIDENTIALITY
           State what the contract or          AGREEMENT (GLOBAL) --                      FIS CAPITAL MARKETS US LLC
 2.559     lease is for and the nature         EFFECTIVE DATE: 02/01/2022
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/25/2020 PLUS            FLOW TRADERS B.V.
 2.560     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL CONFIDENTIALITY
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FMR LLC
 2.561     lease is for and the nature         07/11/2022                                 245 SUMMER STREET
           of the debtor’s interest                                                       BOSTON, MA 02210

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/13/2021 PLUS            FOLKVANG S.R.L.
 2.562     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: JAMES HOATH
           of the debtor’s interest            DOCUMENTS                                  DRESDNER TOWER, 11TH FL
                                                                                          50TH & 55 EAST ST.
           State the term remaining
                                                                                          PANAMA
           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FOLKVANG S.R.L.
 2.563     lease is for and the nature         05/21/2021                                 ATTN: JAMES HOATH
           of the debtor’s interest                                                       DRESDNER TOWER, 11TH FL
                                                                                          50TH & 55 EAST ST.
           State the term remaining
                                                                                          PANAMA
           List the contract number of
           any government contract

                                               MUTUAL CONFIDENTIALITY AND
           State what the contract or          NONDISCLOSURE AGREEMENT --                 FORGE TRUST CO.
 2.564     lease is for and the nature         EFFECTIVE DATE: 02/15/2022                 401 EAST 8TH ST
           of the debtor’s interest                                                       SUITE 222
                                                                                          SIOUX FALLS, SD 57103
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FORTECH AND ITS AFFILIATES
 2.565     lease is for and the nature         10/16/2021                                 FRUNZISULUI 106
           of the debtor’s interest                                                       CLUN-NAPOCA,
                                                                                          ROMANIA
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FOXBIT SERVIÇOS DIGITAIS S/A
 2.566     lease is for and the nature         03/29/2022                                 RUA GOMES DE CARVALHO, 1629, SUITE 31, VILA OLÍMPIA
           of the debtor’s interest                                                       SAO PAULO/SP, 04507-006
                                                                                          BRAZIL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FPG INC.
 2.567     lease is for and the nature         07/02/2021                                 221 RIVER STREET, 9TH FLOOR
           of the debtor’s interest                                                       HOBOKEN, NJ 07030

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRAGOMEN, DEL REY, BERNSEN & LOEWY, LLP
 2.568     lease is for and the nature         04/11/2022                                 1101 15TH STREET N.W.
           of the debtor’s interest                                                       SUITE 700
                                                                                          WASHINGTON, DC 20005
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRAMEWORK LABS, INC.
 2.569     lease is for and the nature         02/08/2022                                 92 SOUTH PARK
           of the debtor’s interest                                                       SAN FRANCISCO, CA 94107

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRANCESCO CAPPUCCIO
 2.570     lease is for and the nature         05/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRANCISCO VALIENTE
 2.571     lease is for and the nature         02/02/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRANK HINEK
 2.572     lease is for and the nature         01/18/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/18/2021                 FRANK VAN ETTEN
 2.573     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRASER AU PTY LTD
 2.574     lease is for and the nature         09/08/2020                                 35 GREAT ST. HELEN'S
           of the debtor’s interest                                                       LONDON, EC3A6AP
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FREDERIK VAN BREUGEL
 2.575     lease is for and the nature         10/28/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FRONTIER MINING, LLC
 2.576     lease is for and the nature         07/02/2021                                 1041 FOOTHILL BLVD
           of the debtor’s interest                                                       LA CANADA, CA 91011

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FULLSTORY, INC.
 2.577     lease is for and the nature         02/19/2022                                 1745 PEACHTREE RD NW
           of the debtor’s interest                                                       SUITE G
                                                                                          ATLANTA, GA 30309
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               FUNG YI LONG
 2.578     lease is for and the nature         06/12/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/01/2019 PLUS            FUTURE TECHNOLOGY INVESTMENT
 2.579     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               G.P. VAN DEN EIJKEL
 2.580     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               G-20 HERMES ADVISORY LTD
 2.581     lease is for and the nature         10/26/2020                                 ROSENEGGWEG 10
           of the debtor’s interest                                                       ZIEGELBRUKE, 8866
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/11/2020                 GA PARTNERS SARL
 2.582     lease is for and the nature                                                    ATTN: ARMEN VERDIAN, MANAGING PARTNER
           of the debtor’s interest                                                       45 RUE PIERRE CHARRON
                                                                                          PARIS, 75008
           State the term remaining                                                       FRANCE

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 GABE FICHT
 2.583     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 GABE FICHT
 2.584     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GAIL COX
 2.585     lease is for and the nature         05/17/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GALAXY DIGITAL LP
 2.586     lease is for and the nature         04/21/2022                                 300 VESEY STREET, 13TH FLOOR
           of the debtor’s interest                                                       NEW YORK, NY 10282

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GAO JIE
 2.587     lease is for and the nature         01/17/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GAUNTLET NETWORKS, INC.
 2.588     lease is for and the nature         09/21/2021                                 388 BRIDGE STREET
           of the debtor’s interest                                                       BROOKLYN, NY 11201

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/01/2022                 GDA LUMA CAPITAL MANAGEMENT
 2.589     lease is for and the nature                                                    1450 BRICKELL BAY DR, 705
           of the debtor’s interest                                                       MIAMI, FL 33131

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GEEKMEDIA ONLINE COMMUNICATIONS LTD
 2.590     lease is for and the nature         07/13/2021                                 103 HAHASHMONAIM
           of the debtor’s interest                                                       TEL-AVIV, 6713319
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENE GREGORY SMITH
 2.591     lease is for and the nature         04/02/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENE ROSS
 2.592     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENEROUS PALACE LIMITED
 2.593     lease is for and the nature         11/13/2021                                 3 FLOOR, J&C BUILDING, ROAD TOWN
           of the debtor’s interest                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENESIS GLOBAL CAPITAL, LLC
 2.594     lease is for and the nature         01/26/2022                                 111 TOWN SQUARE PLACE
           of the debtor’s interest                                                       JERSEY CITY, NJ 07310

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENNADIY KRASKO
 2.595     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GENNADIY KRASKO
 2.596     lease is for and the nature         02/22/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GEOMETRIC MANAGEMENT, LTD.
 2.597     lease is for and the nature         12/14/2021                                 ROAD TOWN
           of the debtor’s interest                                                       TORTOLA, BVI VG 1110
                                                                                          VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GEORGE GABADIAN
 2.598     lease is for and the nature         06/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2021                 GEORGE MASSI
 2.599     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/17/2021                 GEORGIOS RETOUDIS
 2.600     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               SETTLEMENT AGREEMENT AND
           State what the contract or          GENERAL RELEASE -- EFFECTIVE               GERRY GRUNSFELD
 2.601     lease is for and the nature         DATE: 10/18/2021                           ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  GILAD OUZAN
 2.602     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               DIRECTOR CONFIDENTIALITY
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GILBERT NATHAN
 2.603     lease is for and the nature         06/17/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GILLES COGNET
 2.604     lease is for and the nature         02/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 GIOVANI MARSANO
 2.605     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GLASSNODE SERVICES AG
 2.606     lease is for and the nature         04/26/2022                                 NEUHOFSTRASSE 22
           of the debtor’s interest                                                       BAAR, 6340
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GLEN SLATER
 2.607     lease is for and the nature         02/01/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 GLENN WILLIAMS JR
 2.608     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/29/2020                 GLENN WILLIAMS JR
 2.609     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GLOBALBLOCK LTD
 2.610     lease is for and the nature         10/15/2020                                 65 CURZON STREET
           of the debtor’s interest                                                       LONDON, W1J 8PE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GLOBANT
 2.611     lease is for and the nature         12/03/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GMO COIN, INC.
 2.612     lease is for and the nature         04/26/2022                                 SHILBUYA FUKURAS
           of the debtor’s interest                                                       1-2-3 DOGENZAKA
                                                                                          SHIBUYA-KU
           State the term remaining                                                       TOKYO, 150-0043
                                                                                          JAPAN
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GN MANPOWER AND PROJECTS LTD
 2.613     lease is for and the nature         07/27/2022
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GOLAN LOSINSKY
 2.614     lease is for and the nature         04/19/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/13/2021                 GOLDENTREE ASSET MANAGEMENT LP
 2.615     lease is for and the nature                                                    300 PARK AVENUE
           of the debtor’s interest                                                       NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract

                                               LETTER AGREEMENT RE:
           State what the contract or          EVALUATION MATERIALS --                    GOLDENTREE ASSET MANAGEMENT LP
 2.616     lease is for and the nature         EFFECTIVE DATE: 06/27/2022                 ATTN: PETER ALDERMAN
           of the debtor’s interest                                                       300 PARK AVENUE
                                                                                          NEW YORK, NY 10022
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GONZALO ACEVEDO
 2.617     lease is for and the nature         06/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GONZALO MORAGA
 2.618     lease is for and the nature         08/30/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GOODBAY TECHNOLOGIES INC.
 2.619     lease is for and the nature         02/06/2022                                 7500 RIALTO BLVD 1
           of the debtor’s interest                                                       STE 250
                                                                                          AUSTIN, TX 78735
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GPD HOLDINGS LLC
 2.620     lease is for and the nature         04/26/2022                                 433 WEST VAN BUREN STREET
           of the debtor’s interest                                                       SUITE 1050N
                                                                                          CHICAGO, IL 60607
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GPD HOLDINGS LLC D/B/A COINFLIP
 2.621     lease is for and the nature         07/20/2021                                 4957 OAKTON ST
           of the debtor’s interest                                                       #263
                                                                                          SKOKIE, IL 60077
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 GRAHAM NOVITCH
 2.622     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 GRAHAM NOVITCH
 2.623     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GRANT HARBIN
 2.624     lease is for and the nature         05/03/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GRAPEFRUIT TRADING LLC
 2.625     lease is for and the nature         07/28/2021                                 10E OHIO ST
           of the debtor’s interest                                                       CHICAGO, IL 60611

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/24/2019 PLUS            GRAPEFRUIT TRADING LLC
 2.626     lease is for and the nature         ANY ANCILLARY OR RELATED                   10E OHIO ST
           of the debtor’s interest            DOCUMENTS                                  CHICAGO, IL 60611

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GREAT LAKES INSURANCE SE
 2.627     lease is for and the nature         12/09/2021                                 KÖNIGINSTRASSE 107
           of the debtor’s interest                                                       MUNICH, 80802
                                                                                          GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GREEN LEAF PR
 2.628     lease is for and the nature         03/04/2021                                 INTERNATIONAL HOUSE
           of the debtor’s interest                                                       223 REGENT STREET
                                                                                          MAYFAIR
           State the term remaining                                                       LONDON, W1B 2QD
                                                                                          UNITED KINGDOM
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/25/2021                 GRETA VAN
 2.629     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GRIT DAILY D/B/A NOTABILITY PARTNERS
 2.630     lease is for and the nature         03/24/2022                                 2404 STIRRUP DRIVE
           of the debtor’s interest                                                       ROUND ROCK, TX 78702

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GSR MARKETS LIMITED
 2.631     lease is for and the nature         03/24/2021 PLUS ANY ANCILLARY OR           SUITE 5508
           of the debtor’s interest            RELATED DOCUMENTS                          55TH FL, CENTRAL PLAZA
                                                                                          18TH HARBOUR ROAD
           State the term remaining                                                       WANACHAI,
                                                                                          HONG KONG
           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GUIDEHOUSE INC.
 2.632     lease is for and the nature         06/07/2021                                 ATTN: ALMA ANGOTTI
           of the debtor’s interest                                                       2941 FAIRVIEW PARK DRIVE
                                                                                          SUITE 501
           State the term remaining                                                       FALLS CHURCH, VA 22042

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 GUIDO LANGE
 2.633     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GUIDO LASSALLY
 2.634     lease is for and the nature         06/01/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 GUILDO LANGE
 2.635     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/07/2022                 GUILLERMO BODNAR
 2.636     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               GUY KOHN ("INSURETAX")
 2.637     lease is for and the nature         07/14/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  GUY LASSER
 2.638     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/04/2020                 GUY STIEBEL
 2.639     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  GUY STIEBEL
 2.640     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  HADAS DAVID
 2.641     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 HADAS DAVID
 2.642     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/11/2020                 HADAS DAVID
 2.643     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               2021 EQUITY INCENTIVE PLAN
           State what the contract or          STOCK OPTION GRANT NOTICE AND              HADAS DAVID
 2.644     lease is for and the nature         STOCK OPTION AGREEMENT --                  ADDRESS REDACTED
           of the debtor’s interest            EFFECTIVE DATE: 12/08/2021

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 HADAS DAVID
 2.645     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HAGGLEX LIMITED
 2.646     lease is for and the nature         12/02/2020                                 10B ROAD 13
           of the debtor’s interest                                                       IKOTA VILLA ESTATE AJAH
                                                                                          LAGOS,
           State the term remaining                                                       NIGERIA

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 06/07/2022                 HAINES WATTS (CITY) LLP
 2.647     lease is for and the nature                                                    NEW DERWENT HOUSE
           of the debtor’s interest                                                       69-73 THEOBALDS ROAD
                                                                                          LONDON, WC1X 8TA
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 HANS MIGNON
 2.648     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 HANY ISHAK
 2.649     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HARRISON OPPORTUNITY III INC
 2.650     lease is for and the nature         11/13/2021                                 BURNHAM COURT, BISHOP'S COURT HILL
           of the debtor’s interest                                                       UPPER COLLYMORE ROCK

           State the term remaining                                                       BARBADOS

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/15/2021 PLUS            HARRISON OPPORTUNITY III INC
 2.651     lease is for and the nature         ANY ANCILLARY OR RELATED                   BURNHAM COURT
           of the debtor’s interest            DOCUMENTS                                  BISHOP’S COURT HILL
                                                                                          UPPER COLLYMORE ROCK
           State the term remaining
                                                                                          BARBADOS
           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 HARRY DEAN TAPPEN
 2.652     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/07/2020                 HARUMI URATA-THOMPSON
 2.653     lease is for and the nature                                                    200 WEST 54TH STREET
           of the debtor’s interest                                                       APT 7J
                                                                                          NEW YORK, NY 10019
           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 HARUMI URATA-THOMPSON
 2.654     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 HARUMI URATA-THOMPSON
 2.655     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HAS FUTURES LLC
 2.656     lease is for and the nature         05/20/2021                                 ATTN: HAL SCHWARTZ
           of the debtor’s interest                                                       1516 ROSEWOOD AVE
                                                                                          DEERFIELD, IL 60015
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HASHICORP INC.
 2.657     lease is for and the nature         11/13/2021                                 101 2ND ST
           of the debtor’s interest                                                       SUITE 700
                                                                                          CA 94105
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HASHKEY FINTECH INVESTMENT
 2.658     lease is for and the nature         04/29/2022                                 89 NEXUS WAY
           of the debtor’s interest                                                       CAMANA BAY
                                                                                          GRAND CAYMAN, KY1-9009
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HASHKEY FINTECH INVESTMENT FUND LP
 2.659     lease is for and the nature         03/11/2021                                 89 NEXUS WAY
           of the debtor’s interest                                                       CAMANA BAY, GRAND CAYMAN, KY1-9009
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HEADLIGHT LABS LLC
 2.660     lease is for and the nature         05/03/2022                                 12 E 14TH ST.
           of the debtor’s interest                                                       NEW YORK, NY 10003

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HEHMEYER LLC
 2.661     lease is for and the nature         09/24/2020 PLUS ANY ANCILLARY OR           141 W. JACKSON BLVD
           of the debtor’s interest            RELATED DOCUMENTS                          SUITE 1460
                                                                                          CHICAGO, IL 60604
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/10/2021 PLUS            HEHMEYER TRADING AG
 2.662     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: NADINE KENZELMANN
           of the debtor’s interest            DOCUMENTS                                  DAMMSTRASSE 16
                                                                                          6300
           State the term remaining                                                       ZUG,
                                                                                          SWITZERLAND
           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HEHMEYER TRADING AG
 2.663     lease is for and the nature         07/29/2021                                 DAMMSTRASSE 16
           of the debtor’s interest                                                       ZUG, 6300
                                                                                          SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/09/2022 PLUS            HEKA FUNDS SICAV PLC D/B/A ELYSIUM GLOBAL ARBITRAGE
 2.664     lease is for and the nature         ANY ANCILLARY OR RELATED                   FUND
           of the debtor’s interest            DOCUMENTS                                  475, TRIQ IL-KBIRA SAN GUZEPP
                                                                                          SANTA VENERA, SVR 011
           State the term remaining                                                       MALTA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HEKA FUNDS SICAV PLC D/B/A ELYSIUM GLOBAL ARBITRAGE
 2.665     lease is for and the nature         05/04/2022                                 FUND
           of the debtor’s interest                                                       475 TRIQ IL- KBIRA SAN GUZEPP
                                                                                          SANTA VENERA SVR, 1011
           State the term remaining                                                       MALTA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HELIAD EQUITY PARTNERS GMBH & CO. KGAA
 2.666     lease is for and the nature         06/22/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HELIAD EQUITY PARTNERS GMBH Y CO, KGAA
 2.667     lease is for and the nature         01/11/2022                                 GRUNEBURGWEG 18
           of the debtor’s interest                                                       FRANKFURT/MAIN, 60322
                                                                                          GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HENRIKSEN BUTLER
 2.668     lease is for and the nature         04/27/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HERNAN ORTIZ
 2.669     lease is for and the nature         06/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HEX TECHNOLOGIES LIMITED
 2.670     lease is for and the nature         06/06/2022                                 H CODE, HIGHT BLOCK, 9F
           of the debtor’s interest                                                       45 POTTINGER STREET, CENTRAL
                                                                                          HONG KONG,
           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 09/24/2020 PLUS            HEYMEYER TRADING AG
 2.671     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HIDDDEN ROADS PARTNERS CIV (BIV), LTD.
 2.672     lease is for and the nature         01/06/2022                                 TRINITY CHAMBERS, ROAD TOWN
           of the debtor’s interest                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HIDDEN ROAD PARTNERS LP
 2.673     lease is for and the nature         11/29/2021                                 589 5TH AVE
           of the debtor’s interest                                                       NEW YORK, NY 10017

           State the term remaining

           List the contract number of
           any government contract

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/14/2022                 HIGH THROUGHPUT PRODUCTIONS LLC DBA BITBOY CRYPTO
 2.674     lease is for and the nature                                                    32 E 31ST ST
           of the debtor’s interest                                                       4TH FLOOR
                                                                                          NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/21/2021                 HIGH THROUGHPUT PRODUCTIONS LLC DBA BITBOY CRYPTO
 2.675     lease is for and the nature                                                    3401 NOVIS POINTE NW
           of the debtor’s interest                                                       ACWORTH, GA 30101

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HIKAIA AMOHIA
 2.676     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HIKARI MOBILITY PTE LTD
 2.677     lease is for and the nature         06/10/2022                                 101 UPPER CROSS STREET, #5-16
           of the debtor’s interest                                                       058357
                                                                                          SINGAPORE
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/27/2021 PLUS            HODLNAUT PTE LTD
 2.678     lease is for and the nature         ANY ANCILLARY OR RELATED                   24 RAFFLES PLACE
           of the debtor’s interest            DOCUMENTS                                  #28 CLIFFORD CENTRE
                                                                                          48621
           State the term remaining                                                       SINGAPORE

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HODLNAUT PTE LTD.
 2.679     lease is for and the nature         10/20/2021                                 24 RAFFLES PLACE, #28, CLIFFORD CENTRE
           of the debtor’s interest                                                       048621
                                                                                          SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HORICON BANK
 2.680     lease is for and the nature         03/11/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/05/2021 PLUS            HRTJ LIMITED
 2.681     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: GENERAL COUNSEL
           of the debtor’s interest            DOCUMENTS                                  89 NEXUS WAY
                                                                                          CAMANA BAY
           State the term remaining                                                       GRAND CAYMAN, KY1-9009
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/21/2021                 HSU LI
 2.682     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HT MARKETS LIMITED
 2.683     lease is for and the nature         05/24/2021                                 ATTN: ALESSIO QUAGLINI
           of the debtor’s interest                                                       45 POTTINGER STREET
                                                                                          HONG KONG,
           State the term remaining                                                       CHINA

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/24/2021 PLUS            HT MARKETS LIMITED
 2.684     lease is for and the nature         ANY ANCILLARY OR RELATED                   9F H-CODE
           of the debtor’s interest            DOCUMENTS                                  45 PO]NGER STREET,

           State the term remaining                                                       HONG KONG

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/15/2021 PLUS            HUDSON BAY CAPITAL MANAGEMENT LP
 2.685     lease is for and the nature         ANY ANCILLARY OR RELATED                   28 HAVEMEYER PLACE
           of the debtor’s interest            DOCUMENTS                                  2ND FLOOR
                                                                                          GREENWICH, CT 06830
           State the term remaining

           List the contract number of
           any government contract

                                               LETTER AGREEMENT RE:
           State what the contract or          EVALUATION MATERIALS --                    HUDSON BAY CAPITAL MANAGEMENT LP
 2.686     lease is for and the nature         EFFECTIVE DATE: 06/26/2022                 28 HAVEMEYER PLACE, 2ND FLOOR
           of the debtor’s interest                                                       GREENWICH, CT 06830

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUDSON BAY CAPITAL MANAGEMENT LP
 2.687     lease is for and the nature         12/09/2021                                 28 HAVEMEYER PL
           of the debtor’s interest                                                       2ND FLOOR
                                                                                          GREENWICH, CT 06830
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUDSON INSURANCE COMPANY
 2.688     lease is for and the nature         05/13/2021                                 100 WILLIAM ST
           of the debtor’s interest                                                       NEW YORK, NY 10038

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUDSON RIVER TRADING LLC
 2.689     lease is for and the nature         08/20/2021                                 3 WORLD TRADE CENTER
           of the debtor’s interest                                                       175 GREENWICH STREET, 76TH FLOOR
                                                                                          NEW YORK, NY 10007
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUGO FILIPE DA SILVA
 2.690     lease is for and the nature         11/14/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 HUI YOUNG (BRYAN) LEE
 2.691     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/01/2021                 HUMAN CAPITAL
 2.692     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUMAN SECURITY, INC.
 2.693     lease is for and the nature         01/15/2022                                 111 WEST 33RD ST
           of the debtor’s interest                                                       11TH FLOOR
                                                                                          NEW YORK, NY 10001
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUMP DOO
 2.694     lease is for and the nature         08/08/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUNT CLUB, INC.
 2.695     lease is for and the nature         01/07/2022                                 33 N DEARBORN ST
           of the debtor’s interest                                                       SUITE 200
                                                                                          CHICAGO, IL 60602
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUOBI GLOBAL LIMITED
 2.696     lease is for and the nature         04/02/2022                                 2ND FLOOR
           of the debtor’s interest                                                       EDEN PLAZA SUITE 202
                                                                                          EDEN ISLAND
           State the term remaining                                                       MAHE,
                                                                                          SEYCHELLES
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               HUTTON CAPITAL MANAGEMENT, LLC
 2.697     lease is for and the nature         03/03/2021                                 207 WEST 25TH STREET
           of the debtor’s interest                                                       9TH FLOOR
                                                                                          NEW YORK, NY 10001
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IAC/INTERACTIVECORP
 2.698     lease is for and the nature         08/02/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               I-AML LTD.
 2.699     lease is for and the nature         02/14/2022                                 55 YAEL HAGIBORE ST
           of the debtor’s interest                                                       MODIIN,
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/17/2021                 IAN JOHNSON
 2.700     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IBLOCK TECHNOLOGIES PVT LTD
 2.701     lease is for and the nature         10/02/2021                                 G-14, FIRST FLOOR SECTOR - 3 NOIDA
           of the debtor’s interest                                                       GAUTAM BUDDHA NAGAR UP IN
                                                                                          201301
           State the term remaining                                                       INDIA

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IBS ASSETS LIMITED
 2.702     lease is for and the nature         09/19/2021                                 PASSER CHEVERN & CO., 5 SPRING VILLA ROAD, SPRING VILLA
           of the debtor’s interest                                                       ROAD, EDGWARE
                                                                                          MIDDLESEX, HA8 7EB
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ICHX TECH PTE. LTD.
 2.703     lease is for and the nature         02/10/2022                                 8 KALLANG AVENUE
           of the debtor’s interest                                                       APERIA TOWER ONE #13-01/04
                                                                                          339509
           State the term remaining                                                       SINGAPORE

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IDEALEX SERVICES OU
 2.704     lease is for and the nature         08/16/2021                                 HARJU MAAKOND
           of the debtor’s interest                                                       KRISTIINE LINNAOSA
                                                                                          KEEMIA TN 4
           State the term remaining                                                       TALLINN, 10616
                                                                                          ESTONIA
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IDEANOMICS, INC
 2.705     lease is for and the nature         02/25/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/01/2021                 IDO SADEH MAN
 2.706     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               2021 EQUITY INCENTIVE PLAN
           State what the contract or          STOCK OPTION GRANT NOTICE AND              ILAN HAZAM
 2.707     lease is for and the nature         STOCK OPTION AGREEMENT --                  ADDRESS REDACTED
           of the debtor’s interest            EFFECTIVE DATE: 12/08/2021

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ILAN HAZAM
 2.708     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IMAGINATION S.P. Z.O.O.
 2.709     lease is for and the nature         06/29/2021                                 ATTN: DAWID LAZINSKI
           of the debtor’s interest                                                       UL. CHMIELNA 85/87
                                                                                          WARSAW, 00-805
           State the term remaining                                                       POLAND

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT & CONFIDENTIALITY                IMPACT RADIUS LIMITED
 2.710     lease is for and the nature         AGREEMENT -- EFFECTIVE DATE:               5 FLEET PLACE
           of the debtor’s interest            06/19/2020                                 LONDON, EC4M 7RD
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  INESSA KLIMOVITSKY
 2.711     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               INTACT INSRUANCE GROUP USA LLC
 2.712     lease is for and the nature         05/12/2021                                 605 HIGHWAY 169 NORTH
           of the debtor’s interest                                                       PLYMOUTH, MN 55441

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               INTELLIGO GROUP USA CORP.
 2.713     lease is for and the nature         06/03/2021                                 ATTN: ETHAN BIENENFELD
           of the debtor’s interest                                                       12 E 49TH STREET
                                                                                          NEW YORK, NY 10017
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               INTERNATIONAL BUSINESS MACHINES CORPORATION
 2.714     lease is for and the nature         05/11/2022                                 NEW ORCHARD ROAD
           of the debtor’s interest                                                       ARMONK, NY 10504

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/04/2020 PLUS            INTERSHIP LTD.
 2.715     lease is for and the nature         ANY ANCILLARY OR RELATED                   ADDRESS REDACTED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               INVESPRO PTY LTD
 2.716     lease is for and the nature         08/27/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/26/2021                 IRIS ENERGY PTY LTD
 2.717     lease is for and the nature                                                    LEVEL 21, 60 MARGARET STREET
           of the debtor’s interest                                                       SYDNEY, 2000
                                                                                          AUSTRALIA
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IRONCLAD INC.
 2.718     lease is for and the nature         12/10/2021                                 71 STEVENSON ST
           of the debtor’s interest                                                       SUITE 600
                                                                                          SAN FRANCISCO, CA 94105
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IRONSHORE INSURANCE SERVICES LLC
 2.719     lease is for and the nature         05/13/2021                                 28 LIBERTY STREET
           of the debtor’s interest                                                       5TH FL
                                                                                          NEW YORK, NY 10005
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 IRVING LARA
 2.720     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ISHAI INBAR
 2.721     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/12/2020                 ISHAN GOEL
 2.722     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ITAI LEVISMAN
 2.723     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  ITAY DERY
 2.724     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/29/2021                 ITERATIVE INSTINCT UGP, LLC
 2.725     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ITERATIVE OTC LLC
 2.726     lease is for and the nature         07/21/2020 PLUS ANY ANCILLARY OR           1209 ORANGE STREET
           of the debtor’s interest            RELATED DOCUMENTS                          WILMINGTON, DE 19801

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL CONFIDENTIALITY AND
           State what the contract or          NONDISCLOSURE AGREEMENT --                 ITERATIVE OTC LLC
 2.727     lease is for and the nature         EFFECTIVE DATE: 01/01/2022                 1209 ORANGE STREET
           of the debtor’s interest                                                       WILMINGTON, DE 19801

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               ITI DIGITAL
 2.728     lease is for and the nature         12/08/2020                                 LEVEL 33, TOWER 42, 25 OLD BROAD ST
           of the debtor’s interest                                                       CORNHILL, LONDON, EC2N 1HO
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IVAN GURSCHLER
 2.729     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               IVXS TECHNOLOGY USA INC.
 2.730     lease is for and the nature         02/25/2021                                 9 EAST 38TH STREET
           of the debtor’s interest                                                       3RD FLOOR
                                                                                          NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               J.B. HUNT TRANSPORT, INC.
 2.731     lease is for and the nature         03/21/2022                                 615 J.B. HUNT CORPORATE DR.
           of the debtor’s interest                                                       LOWELL, AR 72745

           State the term remaining

           List the contract number of
           any government contract

                                               LENDER & BORROWER ESCROW
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JACKSON ELSEGOOD
 2.732     lease is for and the nature         05/13/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/07/2022                 JACLYN RUBIN
 2.733     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/08/2020                 JACOB (YUKI) DVIR
 2.734     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 JACOB (YUKI) DVIR
 2.735     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/03/2020                 JACOB CLEMENT
 2.736     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JACOB GRANT
 2.737     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/11/2021                 JACOB GRANT
 2.738     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JACOB HOLLOWAY
 2.739     lease is for and the nature         06/28/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  JACOB ISRAEL
 2.740     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/17/2021                 JAD JUBAYLI
 2.741     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/28/2020                 JALAL UDDIN
 2.742     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/21/2022                 JAMES CARTMILL
 2.743     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JAMES CHRISTIE
 2.744     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JAMES DONATELL
 2.745     lease is for and the nature         05/21/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 JAMES HARTLEY
 2.746     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/18/2021                 JAMES HOBSON
 2.747     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/09/2022                 JAMES NICK KORDEMOS
 2.748     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JAMES THEODORE DUFFY
 2.749     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JAMES TROY HILL
 2.750     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/28/2022                 JAMIE SPADEMAN
 2.751     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JAN BECKERS
 2.752     lease is for and the nature         04/29/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/16/2022                 JANAKA DUSHANTHA
 2.753     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JARED NEWMAN
 2.754     lease is for and the nature         05/25/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JASMINE BURGESS
 2.755     lease is for and the nature         05/13/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/17/2021                 JASON GALOOB
 2.756     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 JASON IOVINE
 2.757     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/31/2022                 JASON MCARTHUR
 2.758     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/16/2022                 JAVIER SETOVICH
 2.759     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JAY SALVATI
 2.760     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/21/2020                 JAY SALVATI
 2.761     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2021                 JAY SCHOFIELD
 2.762     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JAY SCHOFIELD
 2.763     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JDK TECHNOLOGIES, INC.
 2.764     lease is for and the nature         08/25/2021                                 29 S WEBSTER ST
           of the debtor’s interest                                                       STE 350A
                                                                                          NAPERVILLE, IL 60540
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JEAN CARLO HIM GARCIA
 2.765     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/28/2022                 JEFF GOLDSMITH
 2.766     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               CONFIDENTIALITY AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/16/2021                 JEFFERIES LLC
 2.767     lease is for and the nature                                                    ATTN: GENERAL COUNSEL
           of the debtor’s interest                                                       520 MADISON AVENUE
                                                                                          NEW YORK, NY 10022
           State the term remaining

           List the contract number of
           any government contract

                                               LETTER RE: SERVICES AGREEMENT
           State what the contract or          -- EFFECTIVE DATE: 09/30/2021              JEFFREY L. ADAMS
 2.768     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JEFFREY LOUIS MARKOWSKI
 2.769     lease is for and the nature         10/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JEFFREY VANDERVELDE
 2.770     lease is for and the nature         03/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JENNIFER BALL
 2.771     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 JENNIFER BALL
 2.772     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/08/2020                 JENNIFER BALL
 2.773     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JEREMIE BEAUDRY
 2.774     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 JEREMIE BEAUDRY
 2.775     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JEROEN SOORS
 2.776     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 JESMEN DAVID
 2.777     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/29/2021                 JESSICA PECK
 2.778     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/09/2020                 JESSICA VELIZ
 2.779     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JESSICA VELIZ
 2.780     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JET BLOCKCHAIN RESEARCH AND DEVELOPMENT LTD
 2.781     lease is for and the nature         07/23/2021                                 13 ZAHRIN STREET, BUILDING A, 7TH FLOOR
           of the debtor’s interest                                                       RA'ANANA, 4366241
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/06/2022                 JIE C ZHENG
 2.782     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JITEN HALAI
 2.783     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/09/2021 PLUS            JKL DIGITAL CAPITAL LIMITED
 2.784     lease is for and the nature         ANY ANCILLARY OR RELATED                   80 MAIN STREET
           of the debtor’s interest            DOCUMENTS                                  PO BOX 3200
                                                                                          ROAD TOWN, VG1110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JKL DIGITAL CAPITAL LIMITED
 2.785     lease is for and the nature         06/07/2021                                 ATTN: LIN CHEUNG
           of the debtor’s interest                                                       80 MAIN STREET
                                                                                          PO BOX 3200, ROAD TOWN
           State the term remaining                                                       TORTOLA, VG1110
                                                                                          VIRGIN ISLANDS
           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOAO DE DEUS MATAS DE CARVALHO
 2.786     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/06/2021                 JOE BEGONIS
 2.787     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JOEL PEDERIGAN
 2.788     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/29/2020                 JOEL PEDERIGAN
 2.789     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOEL SILVA PEDERIGAN
 2.790     lease is for and the nature         03/31/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/09/2021                 JOHANNA SCOTT
 2.791     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 JOHANNES TREUTLER
 2.792     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JOHANNES TREUTLER
 2.793     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/04/2020                 JOHN AMOROSANA
 2.794     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JOHN AMOROSANA
 2.795     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JOHN ARCE
 2.796     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 JOHN ARCE
 2.797     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/06/2022                 JOHN BOLAN
 2.798     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/10/2022                 JOHN GIALAMAS
 2.799     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOHN HAVLIK
 2.800     lease is for and the nature         01/22/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2022                 JOHN HODSON
 2.801     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 10/07/2021                 JOHN METAIS
 2.802     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               DIRECTOR CONFIDENTIALITY
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOHN S. DUBEL
 2.803     lease is for and the nature         06/17/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/08/2020                 JOHN SCIANNA
 2.804     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/08/2020                 JOHN SHKEDI
 2.805     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOHN T KOZAK III
 2.806     lease is for and the nature         02/22/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JON JONES
 2.807     lease is for and the nature         05/27/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JONAS MERTENS
 2.808     lease is for and the nature         09/06/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JONATHAN BLACKMORE
 2.809     lease is for and the nature         09/10/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JONATHAN DUNSMOOR
 2.810     lease is for and the nature         01/20/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/17/2021                 JONATHAN RODRIGUEZ
 2.811     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JONATHAN SHKEDI
 2.812     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JORDANE VERNERIE
 2.813     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/18/2021                 JOSE MARIA CABALLERO BECERRIL
 2.814     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOSEPH DARRYL BOUCHARD
 2.815     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOSEPH YOUNG
 2.816     lease is for and the nature         02/05/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOSH GOODBODY
 2.817     lease is for and the nature         05/04/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JOSH VAUGHAN
 2.818     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 JOSHUA CHERKINSKY
 2.819     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/11/2022                 JOSHUA ROBERT GRAY
 2.820     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 JOSUE GONZALEZ
 2.821     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/09/2020                 JOVANA GROZDANIC
 2.822     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JPK CAPITAL HOLDINGS (BARBADOS) INC.
 2.823     lease is for and the nature         10/09/2021                                 BURNHAM COURT, BISHOP'S COURT HILL
           of the debtor’s interest                                                       ST. MICHAEL,
                                                                                          BARBADOS
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/07/2021 PLUS            JSCT HONG KONG LIMITED
 2.824     lease is for and the nature         ANY ANCILLARY OR RELATED                   15TH FLOOR
           of the debtor’s interest            DOCUMENTS                                  CHATER HOUSE
                                                                                          8 CONNAUGHT ROAD
           State the term remaining                                                       CENTRAL,
                                                                                          HONG KONG
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/14/2019 PLUS            JST ALPHA
 2.825     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/07/2019 PLUS            JST CAPITAL LLC
 2.826     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/14/2019 PLUS            JST SYSTEMS
 2.827     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/17/2021                 JUAN CACERES
 2.828     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/16/2022                 JUAN CAMILO VALENCIA
 2.829     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/23/2020                 JULIE SECOR
 2.830     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 JULIE SECOR
 2.831     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 JULIO NAVARRO
 2.832     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JUNIUS ANJANA AMARANATH KANDE VIDANARALALAGE
 2.833     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               JURO ONLINE LTD
 2.834     lease is for and the nature         03/11/2022                                 2-7 CLERKENWEL GREEN
           of the debtor’s interest                                                       LONDON, EC1R 0DE
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2022                 JUSTIN JEFFERY
 2.835     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/31/2021                 JYOTI SINGLA
 2.836     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               K2 INTEGRITY, OPERATING THROUGH K2 INTELLIGENCE, LLC
 2.837     lease is for and the nature         01/16/2022                                 845 THIRD AVENUE
           of the debtor’s interest                                                       NEW YORK, NY 10022

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/08/2021                 KACEY WOODS
 2.838     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 10/22/2021                           KAIRON LABS BV
 2.839     lease is for and the nature                                                    PUURSESTEENWEG 320
           of the debtor’s interest                                                       BORNEM, 2880
                                                                                          BELGIUM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KAIRON LABS BV
 2.840     lease is for and the nature         04/16/2022                                 PUURSESTEENWEG 320
           of the debtor’s interest                                                       2880 BORNEM
                                                                                          BORNEM,
           State the term remaining                                                       BELGIUM

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 KAL CHAN
 2.841     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/09/2020                 KAL CHAN
 2.842     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 KALVIN CHAN
 2.843     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KANE BOND
 2.844     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KANE KALAS
 2.845     lease is for and the nature         11/19/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KARE BAASTRUP
 2.846     lease is for and the nature         09/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/18/2020                 KARIN AIRY
 2.847     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               2021 EQUITY INCENTIVE PLAN
           State what the contract or          STOCK OPTION GRANT NOTICE AND              KARIN BANNAI
 2.848     lease is for and the nature         STOCK OPTION AGREEMENT --                  ADDRESS REDACTED
           of the debtor’s interest            EFFECTIVE DATE: 12/08/2021

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  KARIN BANNAI
 2.849     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/19/2021                 KAROL NOWAK
 2.850     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KARSTEN FOMSGAARD LARSEN
 2.851     lease is for and the nature         03/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KATENA COMPUTING TECHNOLOGIES, INC.
 2.852     lease is for and the nature         04/14/2021
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  KATYA LYPOVANCHUK
 2.853     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KAY MEYER
 2.854     lease is for and the nature         02/21/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SETTLEMENT AGREEMENT AND
           State what the contract or          GENERAL RELEASE -- EFFECTIVE               KEITH BAUMWALD
 2.855     lease is for and the nature         DATE: 02/01/2021                           ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KEITH LAVIGNE
 2.856     lease is for and the nature         05/11/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/26/2021                 KELSEY RICHMOND
 2.857     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KENETIC TRADING LIMITED
 2.858     lease is for and the nature         01/19/2020 PLUS ANY ANCILLARY OR           OMC CHAMBERS WICKHAMS CAY 1
           of the debtor’s interest            RELATED DOCUMENTS                          ROAD TOWN
                                                                                          TORTOLA, VG1110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KENNETH DARSCHEWSKI
 2.859     lease is for and the nature         03/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/05/2020                 KEVIN BRADFORD
 2.860     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KEVIN ISSADORE
 2.861     lease is for and the nature         05/12/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KEVIN SEAN LAMPON
 2.862     lease is for and the nature         06/28/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KEVIN WEXLER
 2.863     lease is for and the nature         08/31/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               CELSIUS NETWORK LIMITED
           State what the contract or          SERVICE AGREEMENT -- EFFECTIVE             KEYFI, INC.
 2.864     lease is for and the nature         DATE: 10/07/2020                           99 JOHN ST., 1405
           of the debtor’s interest                                                       NEW YORK, NY 10038

           State the term remaining

           List the contract number of
           any government contract

                                               ASSET PURCHASE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/31/2020                 KEYFI, INC.
 2.865     lease is for and the nature                                                    99 JOHN ST., 1405
           of the debtor’s interest                                                       NEW YORK, NY 10038

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/15/2020 PLUS            KEYROCK SA
 2.866     lease is for and the nature         ANY ANCILLARY OR RELATED                   AVENUE LOUISE 251
           of the debtor’s interest            DOCUMENTS                                  BRUSSELS, 1050
                                                                                          BELGIUM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/07/2020 PLUS            KEYROCK SA
 2.867     lease is for and the nature         ANY ANCILLARY OR RELATED                   AVENUE LOUISE 251
           of the debtor’s interest            DOCUMENTS                                  BRUSSELS, 1050
                                                                                          BELGIUM
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KEYROCK SA
 2.868     lease is for and the nature         06/15/2020 PLUS ANY ANCILLARY OR           AVENUE LOUISE 251
           of the debtor’s interest            RELATED DOCUMENTS                          BRUSSELS, 1050
                                                                                          BELGIUM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KFORCE, INC
 2.869     lease is for and the nature         12/04/2021                                 1001 E PALM AVE
           of the debtor’s interest                                                       TAMPA, FL 33605

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KID KALANON
 2.870     lease is for and the nature         08/20/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/07/2022                 KIDRON CAPITAL SECURITIES LLC
 2.871     lease is for and the nature                                                    ATTN: MARK SEGALL
           of the debtor’s interest                                                       1450 BROADWAY
                                                                                          FL 39
           State the term remaining                                                       NEW YORK, NY 10018

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 KIMBERLEY GANTZ
 2.872     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/08/2020                 KIMBERLY GANTZ
 2.873     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 KIMBERLY GANTZ
 2.874     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 KIRK DESOTO
 2.875     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER –
           State what the contract or          EFFECTIVE AS OF JULY 1, 2022               KIRKLAND & ELLIS LLP
 2.876     lease is for and the nature                                                    300 NORTH LASALLE STREET
           of the debtor’s interest                                                       CHICAGO, IL 60654

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KISSFLOW INC
 2.877     lease is for and the nature         03/21/2022                                 1000 N WEST STREET, SUITE 1200
           of the debtor’s interest                                                       WILMINGTON, DE 19801

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KIT GOH
 2.878     lease is for and the nature         09/04/2020                                 35 GREAT ST. HELEN'S
           of the debtor’s interest                                                       LONDON, EC3A6AP
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KLUB SAS
 2.879     lease is for and the nature         08/12/2020                                 10 RUE DE PENTHIEVRE
           of the debtor’s interest                                                       PARIS, 75008
                                                                                          FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 11/26/2019                           KORBIT, INC.
 2.880     lease is for and the nature                                                    4TH FLOOR
           of the debtor’s interest                                                       KG TOWER
                                                                                          TEHERAN-RO 5-GIL 7
           State the term remaining                                                       GANGNAM-GU, SEOUL,
                                                                                          KOREA, REPUBLIC OF
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/25/2022                 KORN FERRY (US)
 2.881     lease is for and the nature                                                    200 PARK AVENUE
           of the debtor’s interest                                                       33RD FLOOR
                                                                                          NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract

                                               TAX ADVISORY SERVICES --
           State what the contract or          EFFECTIVE DATE: 10/14/2021                 KOST FORER GABBAY & KASIERER
 2.882     lease is for and the nature                                                    144 MENACHEM BEGIN ROAD
           of the debtor’s interest                                                       BUILDING A
                                                                                          TEL-AVIV, 6492102
           State the term remaining                                                       ISRAEL

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 02/18/2022                 KPMG SOMEKH CHAIKIN
 2.883     lease is for and the nature                                                    KPMG MILLENNIUM TOWER
           of the debtor’s interest                                                       17 HA’ARBA’A STREET
                                                                                          PO BOX 609
           State the term remaining                                                       TEL AVIV, 61006
                                                                                          ISRAEL
           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KRIPTOMAT OU
 2.884     lease is for and the nature         08/31/2021                                 PARNU MNT 31
           of the debtor’s interest                                                       TALLINN, 10119
                                                                                          ESTONIA
           State the term remaining

           List the contract number of
           any government contract

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 03/16/2022                 KROLL ADVISORY LTD
 2.885     lease is for and the nature                                                    THE SHARD
           of the debtor’s interest                                                       32 LONDON BRIDGE STREET
                                                                                          LONDON, SE1 9SG
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 KT WONG
 2.886     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/04/2022                 KUMAR ATTANGUDI PERICHIAPPAN
 2.887     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               KYLE HOLZHAUER
 2.888     lease is for and the nature         07/19/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 KYLE SAVAGE
 2.889     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/08/2020                 KYLE SAVAGE
 2.890     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 KYLE SAVAGE
 2.891     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               LETTER RE: SERVICES AGREEMENT
           State what the contract or          -- EFFECTIVE DATE: 09/27/2021              LAM WAI CHING
 2.892     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/12/2022                 LANCIUM LLC
 2.893     lease is for and the nature                                                    ATTN: LEGAL DEPARTMENT
           of the debtor’s interest                                                       9950 WOODLOCH FOREST DR.
                                                                                          STE 1700
           State the term remaining                                                       THE WOODLANDS, TX 77380

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LANCIUM LLC
 2.894     lease is for and the nature         07/20/2021                                 ATTN: LEGAL DEPARTMENT
           of the debtor’s interest                                                       9950 WOODLOCH FOREST DR.
                                                                                          STE 1700
           State the term remaining                                                       THE WOODLANDS, TX 77380

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               ENGAGEMENT LETTER --
           State what the contract or          EFFECTIVE DATE: 09/06/2021                 LATHAM & WATKINS
 2.895     lease is for and the nature                                                    (LONDON) LLP
           of the debtor’s interest                                                       99 BISHOPSGATE
                                                                                          LONDON, EC2M 3XF
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LAURA NADIA KYD
 2.896     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/04/2021                 LAUREN SMITH
 2.897     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/04/2022                 LAURENT NANGNIOT
 2.898     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 03/18/2021                 LAZARD FRERES & CO. LLC
 2.899     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LCX AG
 2.900     lease is for and the nature         04/30/2021                                 HERRENGASSE 6
           of the debtor’s interest                                                       VADUZ, 9490
                                                                                          LIECHTENSTEIN
           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 LEAH JONAS
 2.901     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 LEAH JONAS
 2.902     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/16/2020                 LEAH JONAS
 2.903     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/02/2019 PLUS            LEDGERPRIME DAO MASTER FUND LP
 2.904     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LEO NEZONDET
 2.905     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/21/2022                 LEOBARDO RICHARTE
 2.906     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/06/2022                 LEVI RACHMANOV AND TAMARA RACHMANOV
 2.907     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/16/2021                 LEVI SOLOMON
 2.908     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LGO EUROPE SAS
 2.909     lease is for and the nature         06/05/2020 PLUS ANY ANCILLARY OR           110 RUE DU JARDIN PUBLIC
           of the debtor’s interest            RELATED DOCUMENTS                          BORDEAUX, 33000
                                                                                          FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/11/2021                 LIAM DUNN
 2.910     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 LIAM DUNN
 2.911     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               PARTNER REFERRAL AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/25/2022                 LIME CHARLIE MEDIA LLC
 2.912     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LINUS FINANCIAL LLC
 2.913     lease is for and the nature         03/02/2021                                 41 PEABODY ST
           of the debtor’s interest                                                       NASHVILLE, TN 37210

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  LIOR KOREN
 2.914     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/14/2020 PLUS            LIQUIBIT USD MARKET NEUTRAL ARBITRAGE FUND
 2.915     lease is for and the nature         ANY ANCILLARY OR RELATED                   71 FORT ST
           of the debtor’s interest            DOCUMENTS                                  GEORGE TOWN, GRAND CAYMAN, KY1-1106
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LIQUIBIT USD MARKET NEUTRAL ARBITRAGE FUND
 2.916     lease is for and the nature         06/14/2020 PLUS ANY ANCILLARY OR           71 FORT ST
           of the debtor’s interest            RELATED DOCUMENTS                          GEORGE TOWN, GRAND CAYMAN, KY1-1106
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON- DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LIQUIDITY TECHNOLOGIES LTD
 2.917     lease is for and the nature         03/28/2022                                 HOUSE OF FRANCIS
           of the debtor’s interest                                                       ROOM303
                                                                                          ILE DU PORT, MAHE,
           State the term remaining                                                       SEYCHELLES

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/17/2020 PLUS            LIQUIDITY TECHNOLOGIES LTD
 2.918     lease is for and the nature         ANY ANCILLARY OR RELATED                   25-01 33 WYNDHAM ST
           of the debtor’s interest            DOCUMENTS                                  HONG KONG,
                                                                                          HONG KONG
           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LIQUIDITY TECHNOLOGIES LTD
 2.919     lease is for and the nature         06/17/2020 PLUS ANY ANCILLARY OR           GLOBAL GATEWAY 8
           of the debtor’s interest            RELATED DOCUMENTS                          RUE DE LA PERLE

           State the term remaining                                                       SEYCHELLES

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LIQUIDSTAKE DARMA CAPITAL
 2.920     lease is for and the nature         03/23/2021                                 200 DORADO BEACH DR
           of the debtor’s interest                                                       SUITE 3741
                                                                                          DORADO, PR 00646
           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LIVIU CIRSTOIU
 2.921     lease is for and the nature         03/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LOCALCOIN
 2.922     lease is for and the nature         12/19/2020                                 EMEK BRACHA 6
           of the debtor’s interest                                                       TEL AVIV,
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LOGSHERO LTD
 2.923     lease is for and the nature         02/01/2022                                 28 HA’ARBA’A ST.
           of the debtor’s interest                                                       TEL AVIV, 6473925
                                                                                          ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LONDONLINK OTC LIMITED
 2.924     lease is for and the nature         08/07/2021                                 71-75 SHELTON STREET, COVENT GARDEN
           of the debtor’s interest                                                       LONDON, WC2H 9JQ
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 06/28/2022                 LORD, ABBETT & CO. LLC
 2.925     lease is for and the nature                                                    ATTN: LAWRENCE STOLLER
           of the debtor’s interest                                                       90 HUDSON STREET
                                                                                          JERSEY CITY, NJ 07302
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LORI ZARKOVACKI
 2.926     lease is for and the nature         05/21/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 LORIE BLAND
 2.927     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 LOUIS CUNNINGHAM
 2.928     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LOWER EAST SIDE CAPITAL LLC
 2.929     lease is for and the nature         08/23/2021                                 651 N BROAD ST, SUITE 206
           of the debtor’s interest                                                       MIDDLETOWN, DE 19709

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/31/2022                 LUCA CALABRESE
 2.930     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUCIA K AUGUST
 2.931     lease is for and the nature         08/17/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/10/2021                 LUCIE FAHY
 2.932     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUCIO MERLO
 2.933     lease is for and the nature         02/17/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 04/29/2021                 LUCY LABS, INC.
 2.934     lease is for and the nature                                                    5470 KIETZKE LANE
           of the debtor’s interest                                                       SUITE 300
                                                                                          PMB 3634151
           State the term remaining                                                       RENO, NV 89511

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUDISIA (CAYMAN) LTD.
 2.935     lease is for and the nature         03/01/2022                                 190 ELGIN AVENUE
           of the debtor’s interest                                                       GEORGE TOWN
                                                                                          GRAND CAYMAN, KY1-9008
           State the term remaining                                                       CAYMAN ISLANDS

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/07/2022                 LUKASZ TRZECIAK
 2.936     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL CONFIDENTIALITY
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUKE CUTHILL
 2.937     lease is for and the nature         05/21/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUKE ROBERT MOUNTER
 2.938     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/01/2021                 LUKE WAGMAN
 2.939     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SOC REPORT NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUKKA, INC.
 2.940     lease is for and the nature         04/05/2022                                 130 5TH AVENUE, 5TH FLOOR
           of the debtor’s interest                                                       NEW YORK, NY 10017

           State the term remaining

           List the contract number of
           any government contract

                                               DIGITAL ASSET LENDING
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               LUOJI2017 LTD.
 2.941     lease is for and the nature         08/16/2020 PLUS ANY ANCILLARY OR           TRINITY CHAMBERS
           of the debtor’s interest            RELATED DOCUMENTS                          PO BOX 4301
                                                                                          ROAD TOWN
           State the term remaining                                                       TORTOLA,
                                                                                          VIRGIN ISLANDS
           List the contract number of
           any government contract

                                               ASSIGNMENT AND AMENDMENT TO
           State what the contract or          OMNIBUS WALLET SERVICE                     LVC USA
 2.942     lease is for and the nature         AGREEMENT -- EFFECTIVE DATE:               3101 PARK BLDV.,
           of the debtor’s interest            08/19/2021                                 PALO ALTO, CA 94306

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 LYNLEY PILLAY
 2.943     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 LYNLEY PILLAY
 2.944     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 08/03/2021 PLUS            M31 CAPITAL MANAGEMENT, LLC
 2.945     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: MICHAEL SWENSSON
           of the debtor’s interest            DOCUMENTS                                  33258 KENT AVE
                                                                                          SUSSEX
           State the term remaining                                                       BETHANY BEACH, DE 19930

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               M31 CAPITAL MANAGEMENT, LLC
 2.946     lease is for and the nature         07/19/2021                                 ATTN: MICHAEL SWENSSON
           of the debtor’s interest                                                       33258 KENT AVE
                                                                                          SUSSEX
           State the term remaining                                                       BETHANY BEACH, DE 19930

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MACIEJ TOKAR
 2.947     lease is for and the nature         03/07/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 12/30/2020                 MADHU KUTTY
 2.948     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MAESTROQA, INC.
 2.949     lease is for and the nature         08/16/2021                                 33 WEST 17TH STREET
           of the debtor’s interest                                                       NEW YORK, NY 10011

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MANHATTAN VENTURE PARTNERS
 2.950     lease is for and the nature         04/19/2022                                 152 MADISON AVE
           of the debtor’s interest                                                       7TH FLOOR
                                                                                          NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARC MAYOR
 2.951     lease is for and the nature         06/21/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARC ROBICHAUD
 2.952     lease is for and the nature         12/17/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARCO LIM
 2.953     lease is for and the nature         05/04/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARGARET A RUSSELL
 2.954     lease is for and the nature         04/02/2022                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/08/2021                 MARGARITA GEORGIADOU
 2.955     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/26/2021                 MARIANA HALL
 2.956     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/26/2021                 MARIE SPASOV
 2.957     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/12/2022                 MARINER INVESTMENT GROUP, LLC
 2.958     lease is for and the nature                                                    ATTN: PETER O'ROURKE AND MICHAEL LIPSKY
           of the debtor’s interest                                                       500 MAMARONECK AVE
                                                                                          SUITE 405
           State the term remaining                                                       HARRISON, NY 10528

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/04/2022                 MARINUS CORNELIS GIJSBERT DE ROOIJ
 2.959     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARINUS VAN DEN ELSHOUT
 2.960     lease is for and the nature         04/24/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARK ANDREW SWANSON
 2.961     lease is for and the nature         09/06/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               SERVICE AGREEMENT -- EFFECTIVE
           State what the contract or          DATE: 01/06/2020                           MARK DENCKER HOLDING IVS
 2.962     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/05/2021                 MARK EDDISON
 2.963     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 MARK FINELLI
 2.964     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/04/2022                 MARK FLANDERS
 2.965     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/06/2020                 MARK KENDALL
 2.966     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 MARK KENDALL
 2.967     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               CELSIUS NETWORK, LTD.
           State what the contract or          RESTRICTED TOKEN AGREEMENT --              MARK KENDALL
 2.968     lease is for and the nature         EFFECTIVE DATE: 11/06/2020                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARK VOZZO
 2.969     lease is for and the nature         04/25/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARK VOZZO
 2.970     lease is for and the nature         04/19/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARKEL SERVICE, INCORPORATED
 2.971     lease is for and the nature         05/19/2021                                 4521 HIGHWOODS PARKWAY
           of the debtor’s interest                                                       GLEN ALLEN, VA 23060

           State the term remaining

           List the contract number of
           any government contract




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                Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARQUETTE DIGITAL
 2.972     lease is for and the nature         03/01/2021                                 FLOOR 4
           of the debtor’s interest                                                       WILLOW HOUSE
                                                                                          CRICKET SQUARE
           State the term remaining                                                       KY1-9010

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 05/19/2021 PLUS            MARQUETTE DIGITAL
 2.973     lease is for and the nature         ANY ANCILLARY OR RELATED                   FLOOR 4
           of the debtor’s interest            DOCUMENTS                                  WILLOW HOUSE
                                                                                          CRICKET SQUARE
           State the term remaining                                                       KY1-9010

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARSH USA INC
 2.974     lease is for and the nature         11/17/2021                                 1166 AVENUE OF THE AMERICAS
           of the debtor’s interest                                                       NEW YORK, NY 10036

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MARTIN MELENDRO TORRES
 2.975     lease is for and the nature         02/18/2021                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/05/2021                 MARY KATE FIORAVANTI
 2.976     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/28/2021                 MARY KATE FIORAVANTI
 2.977     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NON DISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 MASHELL CHAPEYAMA
 2.978     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/01/2022                 MASHELL CHAPEYAMA
 2.979     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               STOCK OPTION GRANT NOTICE AND
           State what the contract or          STOCK OPTION AGREEMENT --                  MATAN WERBNER
 2.980     lease is for and the nature         EFFECTIVE DATE: 12/08/2021                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MATIC NETWORK (BVI) LTD.
 2.981     lease is for and the nature         03/07/2022                                 CRAIGMUIR CHAMBERS
           of the debtor’s interest                                                       P.O. BOX 71
                                                                                          ROAD TOWN, VG1110
           State the term remaining                                                       VIRGIN ISLANDS

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MATRIX IT
 2.982     lease is for and the nature         03/28/2022
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 11/23/2020 PLUS            MATRIX PORT TECHNOLOGIES (HONG KONG) LIMITED
 2.983     lease is for and the nature         ANY ANCILLARY OR RELATED
           of the debtor’s interest            DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/16/2022                 MATTEO DEGANO
 2.984     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MATTHEW JOYCE
 2.985     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               BETA TEST NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MATTHEW MCCAWLEY
 2.986     lease is for and the nature         06/23/2020                                 ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 02/15/2021                 MATTHEW ROSZAK
 2.987     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/26/2021                 MATTHEW S. HEARY
 2.988     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MAYFIELD FUND, L.L.C.
 2.989     lease is for and the nature         08/16/2021                                 2484 SAND HILL ROAD
           of the debtor’s interest                                                       MENLO PARK, CA 94025

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MAZARS LIMITED
 2.990     lease is for and the nature         03/04/2022                                 ARCH MAKARIOS III & 2 ROMANOU STR
           of the debtor’s interest                                                       1ST FLOOR
                                                                                          TLAIS TOWER
           State the term remaining                                                       NICOSIA,
                                                                                          CYPRUS
           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MAZARS LLP
 2.991     lease is for and the nature         06/29/2021                                 TOWER BRIDGE HOUSE
           of the debtor’s interest                                                       ST KATHARINE’S WAY
                                                                                          LONDON, E1W 1DD
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/02/2022                 MEHMET ÇAĞLIYANGIL
 2.992     lease is for and the nature                                                    ADDRESS REDACTED
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               MUTUAL NON DISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MEMETIC CAPITAL LP
 2.993     lease is for and the nature         07/15/2021                                 190 ELGIN ROAD, GEORGE TOWN
           of the debtor’s interest                                                       GRAND CAYMAN, KY1-9008
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 07/16/2021 PLUS            MEMETIC CAPITAL LP
 2.994     lease is for and the nature         ANY ANCILLARY OR RELATED                   ATTN: BRYN SOLOMON
           of the debtor’s interest            DOCUMENTS                                  190 ELGIN ROAD
                                                                                          GEORGE TOWN
           State the term remaining                                                       GRAND CAYMAN, KY1-9008
                                                                                          CAYMAN ISLANDS
           List the contract number of
           any government contract

                                               GUARANTY -- EFFECTIVE DATE:
           State what the contract or          02/07/2022                                 MENAI FINANCIAL GROUP LLC
 2.995     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               GUARANTY -- EFFECTIVE DATE:
           State what the contract or          03/11/2022                                 MENAI FINANCIAL GROUP, LLC
 2.996     lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MENAI MARKETS (CAYMAN) LTD
 2.997     lease is for and the nature         12/10/2021                                 PO BOX 309, UGLAND HOUSE
           of the debtor’s interest                                                       GRAND CAYMAN, KY1-1104
                                                                                          CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
           State what the contract or          AGREEMENT -- EFFECTIVE DATE:               MENAI MARKETS (UK) LTD.
 2.998     lease is for and the nature         12/12/2021                                 4TH FLOOR, READING BRIDGE HOUSE, GEORGE STREET
           of the debtor’s interest                                                       READING, RG1 8LS
                                                                                          UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                               MASTER LOAN AGREEMENT --
           State what the contract or          EFFECTIVE DATE: 01/15/2022 PLUS            MENAI MARKETS (UK) LTD.
 2.999     lease is for and the nature         ANY ANCILLARY OR RELATED                   4TH FLOOR, READING BRIDGE HOUSE, GEORGE STREET,
           of the debtor’s interest            DOCUMENTS                                  READING
                                                                                          BERKSHIRE, RG1 8LS
           State the term remaining                                                       UNITED KINGDOM

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MERCADOLIBRE INC.
2.1000 lease is for and the nature            04/26/2022                                AV. CASEROS 3039
       of the debtor’s interest                                                         2ND FLOOR
                                                                                        BUENOS AIRES,
           State the term remaining                                                     ARGENTINA

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/09/2021                MERYL DAWSON
2.1001 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MESSARI, INC.
2.1002 lease is for and the nature            01/14/2022                                408 BROADWAY
       of the debtor’s interest                                                         NEW YORK, NY 10013

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              METALLICUS, INC.
2.1003 lease is for and the nature            11/24/2020                                660 4TH ST
       of the debtor’s interest                                                         #107
                                                                                        SAN FRANCISCO, CA 94107
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MEX DIGITAL PTY LTD
2.1004 lease is for and the nature            06/06/2022                                61.03 LEVEL 61, MLC CENTRE
       of the debtor’s interest                                                         MARTIN PLACE
                                                                                        SYDNEY, 2000
           State the term remaining                                                     AUSTRALIA

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL HARRY CROSS
2.1005 lease is for and the nature            06/21/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                MICHAEL JAMES
2.1006 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/02/2021                MICHAEL JAMES
2.1007 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                MICHAEL JOHNSON
2.1008 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                MICHAEL JOHNSON
2.1009 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL PAGE INTERNATIONAL, INC.
2.1010 lease is for and the nature            11/11/2021                                622 THIRD AVENUE
       of the debtor’s interest                                                         29TH FLOOR
                                                                                        NEW YORK, NY 10017
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                MICHAEL PASSADE
2.1011 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                MICHAEL PASSADE
2.1012 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL PATRICK ENABNIT
2.1013 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL THOMAS
2.1014 lease is for and the nature            10/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL THOMAS
2.1015 lease is for and the nature            11/08/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MICHAEL TOFTELUND
2.1016 lease is for and the nature            02/18/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 MICHAL HANUKA
2.1017 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 MICHAL RAZ AMIR
2.1018 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2021                MICHEL RIBEIRO
2.1019 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/17/2021                MICHELLE E. MAULDIN
2.1020 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MIDDLEWARE, INC.
2.1021 lease is for and the nature            12/02/2021                                541 JEFFERSON AVE
       of the debtor’s interest                                                         STE 100
                                                                                        REDWOOD CITY, CA 94063
           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/31/2021                MIGDALIA GARCIA
2.1022 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                MIKE SEXTON
2.1023 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                MIKE SEXTON
2.1024 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MILAN HARRIS
2.1025 lease is for and the nature            03/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                MILENA HADZHIEVA
2.1026 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MILKROAD
2.1027 lease is for and the nature            04/12/2022                                3407 STAGE COACH DRIVE
       of the debtor’s interest                                                         LAFAYETTE, CA 94549

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/17/2022                MILLER FINANCE LTD
2.1028 lease is for and the nature                                                      HANECHOSHET 3
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/31/2021                MOELIS & COMPANY MOELIS ISRAEL LIMITED
2.1029 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MOLOCO INC
2.1030 lease is for and the nature            05/04/2022                                601 MARSHALL ST
       of the debtor’s interest                                                         REDWOOD CITY, CA 94063

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MONBANC INC.
2.1031 lease is for and the nature            07/22/2021                                10 KING STREET EAST
       of the debtor’s interest                                                         TORONTO, ON
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MONEY AVENUE
2.1032 lease is for and the nature            04/18/2022                                33 WOOD AVE S
       of the debtor’s interest                                                         ISELIN, NJ 08830

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2021                MONICA VARZEA
2.1033 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                MONICA VARZEA
2.1034 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MOONVAULT CAPITAL SPC
2.1035 lease is for and the nature            08/31/2021                                MAPLES CORPORATE SERVICES LIMITED
       of the debtor’s interest                                                         PO BOX 309, UGLAND HOUSE
                                                                                        GRAND CAYMAN, KY1-1104
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 MORIYA MALKA
2.1036 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MORTEN NILSEN
2.1037 lease is for and the nature            01/20/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 MOSHE SHEVACH
2.1038 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                MOSHE SHEVACH
2.1039 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MOTION CAPITAL GROUP FUND LTD
2.1040 lease is for and the nature            03/25/2020 PLUS ANY ANCILLARY OR          ATTN: MOTION CAPITAL
       of the debtor’s interest               RELATED DOCUMENTS                         27 HOSPITAL ROAD; GEORGE TOWN
                                                                                        GRAND CAYMAN, KY1-9008
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MOTUS CAPITAL MANAGEMENT, LLC
2.1041 lease is for and the nature            04/02/2022                                434 W 33RD ST
       of the debtor’s interest                                                         NEW YORK, NY 10001

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MOUNTAIN CLOUD GLOBAL LIMITED
2.1042 lease is for and the nature            03/28/2022                                SERTUS CHAMBERS
       of the debtor’s interest                                                         QUASTISKY BUILDING
                                                                                        ROAD TOWN, VG1110
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/02/2022 PLUS           MOUNTAIN CLOUD GLOBAL LIMITED
2.1043 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: SHUYUAN ZHAO
       of the debtor’s interest               DOCUMENTS                                 SERTUS CHAMBERS, QUASTISKY BUILDING
                                                                                        ROAD TOWN
           State the term remaining                                                     TORTOLA, VG1110
                                                                                        VIRGIN ISLANDS
           List the contract number of
           any government contract

                                              CONSULTING AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/16/2021                MR. GERRIT VAN WINGERDEN
2.1044 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/05/2021                MURPHY POINDEXTER
2.1045 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              MX TECHNOLOGIES INC.
2.1046 lease is for and the nature            09/08/2021                                3401 NORTH THANKSGIVING WAY
       of the debtor’s interest                                                         STE 500
                                                                                        LEHI, UT 84043
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/14/2019 PLUS           MY LOAN DOCTOR LLC
2.1047 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 MYAHN KATZ MEIR
2.1048 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/15/2021 PLUS           NASCENT GP INC
2.1049 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: THERESA REGENSTREIF
       of the debtor’s interest               DOCUMENTS                                 1001 RUE LENOIR, SUITE B532
                                                                                        MONTREAL, QC H4C 2Z6
           State the term remaining                                                     CANADA

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/28/2021                NASCENT GP INC
2.1050 lease is for and the nature                                                      1001 RUE LENOIR, SUITE B532
       of the debtor’s interest                                                         MONTREAL, QC
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/26/2021 PLUS           NASCENT LP
2.1051 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: THERESA REGENSTREIF
       of the debtor’s interest               DOCUMENTS                                 1001 RUE LENOIR, SUITE B532
                                                                                        MONTREAL, QC H4C 2Z6
           State the term remaining                                                     CANADA

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                NATHAN RIGAUD
2.1052 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STRICTLY PRIVATE AND
       State what the contract or             CONFIDENTIAL NAB VENTURES -               NATIONAL AUSTRALIA BANK LIMITED
2.1053 lease is for and the nature            CONFIDENTIALITY AGREEMENT --              800 BOURKE STREET
       of the debtor’s interest               EFFECTIVE DATE: 07/01/2021                DOCKLANDS, VICTORIA, 2008
                                                                                        AUSTRALIA
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NAZARE LILLEBO
2.1054 lease is for and the nature            06/28/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/22/2019 PLUS           NAZIR CAPITAL I, LP
2.1055 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/19/2022                NB ALTERNATIVES ADVISERS LLC
2.1056 lease is for and the nature                                                      325 N SAINT PAUL STREET
       of the debtor’s interest                                                         SUITE 4900
                                                                                        DALLAS, TX 75201
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NCR D.O.O. BEOGRAD
2.1057 lease is for and the nature            03/17/2022                                75 SPANSKIH BORACA
       of the debtor’s interest                                                         BELGRADE, 10070
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/02/2022                NEELESH PRABHU
2.1058 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/18/2021                NEHAL JOSHI
2.1059 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/24/2020                NEIL PATEL
2.1060 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                NEIL PATEL
2.1061 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NEKTON LABORATORIES, LLC
2.1062 lease is for and the nature            06/22/2021                                ATTN: JOE BEYERS
       of the debtor’s interest                                                         19925 STEVENS CREEK BLVD., SUITE #100,
                                                                                        CUPERTINO, CA 95070
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/06/2021                NEMANJA JOLOVIC
2.1063 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NENAD SAVKOVIĆ
2.1064 lease is for and the nature            08/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NEPTUNE DIGITAL ASSETS
2.1065 lease is for and the nature            04/29/2021                                666 BURRARD ST
       of the debtor’s interest                                                         VANCOUVER, BC V6C 2Z7
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/08/2022                NEVILLE HIATT
2.1066 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              OFFICE LEASE - LEASE IN LAS
       State what the contract or             VEGAS NV                                  NEW SPANISH RIDGE
2.1067 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ESTOPPEL AGREEMENT (ONLY) --
       State what the contract or             EFFECTIVE DATE: 05/23/2017                NEW SPANISH RIDGE, LLC, A NEVADA LIMITED LIABILITY
2.1068 lease is for and the nature                                                      COMPANY, PREH SPANISH RIDGE, LLC, A TENNESSEE LIMITED
       of the debtor’s interest                                                         LIABILITY COMPANY, AND MRK SPANISH RIDGE, LLC, A
                                                                                        DELAWARE LIMITED LIABILITY COMPANY
           State the term remaining                                                     9275 W RUSSELL RD
                                                                                        SUITE 235
           List the contract number of                                                  LAS VEGAS, NV 89148
           any government contract

                                              SUBORDINATION,
       State what the contract or             NON-DISTURBANCE AND                       NEW SPANISH RIDGE, LLC, A NEVADA LIMITED LIABILITY
2.1069 lease is for and the nature            ATTORNMENT AGREEMENT                      COMPANY, PREH SPANISH RIDGE, LLC, A TENNESSEE LIMITED
       of the debtor’s interest                                                         LIABILITY COMPANY, AND MRK SPANISH RIDGE, LLC, A
                                                                                        DELAWARE LIMITED LIABILITY COMPANY
           State the term remaining                                                     9275 W RUSSELL RD
                                                                                        SUITE 235
           List the contract number of                                                  LAS VEGAS, NV 89148
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NEW VISION GLOBAL PRIME FUND SPC
2.1070 lease is for and the nature            07/29/2021                                19F CHINACHEM TOWER, 34-37 CONNAUGH RD
       of the debtor’s interest
                                                                                        HONG KONG
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NEW WORLD HOLDINGS
2.1071 lease is for and the nature            06/02/2021                                ATTN: STEVEN WILLIAMS
       of the debtor’s interest                                                         67 FORT STREET
                                                                                        GRAND CAYMAN, KY1-1111
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/12/2021 PLUS           NEW WORLD HOLDINGS
2.1072 lease is for and the nature            ANY ANCILLARY OR RELATED                  67 FORT STREET
       of the debtor’s interest               DOCUMENTS                                 CAYMAN ISLANDS, KY1-1111

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT
       State what the contract or                                                       NICE SYSTEMS UK LIMITED
2.1073 lease is for and the nature                                                      TOLLBAR WAY
       of the debtor’s interest                                                         HEDGE END
                                                                                        SOUTHAMPTON, SO30 2ZP
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NICK CHONG
2.1074 lease is for and the nature            01/19/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/27/2021 PLUS           NICKEL DIGITAL ASSET FUND SPC
2.1075 lease is for and the nature            ANY ANCILLARY OR RELATED                  PO BOX 31243
       of the debtor’s interest               DOCUMENTS                                 GRAND CAYMAN ISLAND, KY1-1205
                                                                                        CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NICKEL DIGITAL ASSET MANAGEMENT LTD
2.1076 lease is for and the nature            04/09/2021                                34 ST. JAME'S STREET
       of the debtor’s interest                                                         LONDON, SW1A 1HD
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/17/2021 PLUS           NICKEL DIGITAL ASSET MASTER FUND SPC - DIGITAL FACTORS
2.1077 lease is for and the nature            ANY ANCILLARY OR RELATED                  FUND SP
       of the debtor’s interest               DOCUMENTS                                 9 FORUM LANE
                                                                                        CAMANA BAY
           State the term remaining                                                     PO BOX 31243
                                                                                        GRAND CAYMAN, KY11205
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/01/2021 PLUS           NICO VOGEL
2.1078 lease is for and the nature            ANY ANCILLARY OR RELATED                  ADDRESS REDACTED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 NICOLE FRIED
2.1079 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              FIXED INTEREST LOAN AGREEMENT
       State what the contract or             -- EFFECTIVE DATE: 07/23/2020             NICOLO VOGEL
2.1080 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NILUS OS LTD.
2.1081 lease is for and the nature            03/24/2022                                45 ROTHSCHILD ST
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/23/2022                NIMROD COHEN
2.1082 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NINE REALMS
2.1083 lease is for and the nature            05/19/2021                                ATTN: MICHAEL ZINAMAN
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NIR ATAR
2.1084 lease is for and the nature            01/15/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                NIR ATAR
2.1085 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                NIR ATAR
2.1086 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/08/2020                NIR ATAR
2.1087 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/28/2022                NIR NOVAK
2.1088 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/11/2021                NIRAJ GAUTAM
2.1089 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2022                NISAL CHANDRASEKARA
2.1090 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/30/2020                NITHIN EAPEN
2.1091 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/11/2020                NOA KEET
2.1092 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                NOA KEET
2.1093 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 NOA KEET
2.1094 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 NOAM ASSULIN
2.1095 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 NOAM SADE
2.1096 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NOAM WOLFSON
2.1097 lease is for and the nature            03/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NOF YAM SECURITY L.T.D.
2.1098 lease is for and the nature            07/25/2022                                1998 KIBUTS GALUYOT 34
       of the debtor’s interest                                                         TEL AVIV,

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 NOFAR COHEN
2.1099 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/07/2022                NORDLOGIC SOFTWARE SRL
2.1100 lease is for and the nature                                                      RENE DESCARTES 10-12
       of the debtor’s interest                                                         CLUJ-NAPOCA, 400486
                                                                                        ROMANIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NORDLOGIC SOFTWARE SRL
2.1101 lease is for and the nature            10/16/2021                                RENE DESCARTES 10-12
       of the debtor’s interest                                                         CLUJ-NAPOCA, 400486
                                                                                        ROMANIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NORTH CAPITAL INVESTMENT TECHNOLOGY, INC.
2.1102 lease is for and the nature            03/18/2022                                623 E. FORT UNION BOULEVARD
       of the debtor’s interest                                                         SUITE 101
                                                                                        MIDVALE, UT 84047
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              NOTABENE, INC.
2.1103 lease is for and the nature            12/14/2021                                150 N 5TH STREET #3H
       of the debtor’s interest                                                         BROOKLYN, NY 11211

           State the term remaining

           List the contract number of
           any government contract

                                              LETTER AGREEMENT RE:
       State what the contract or             EVALUATION MATERIALS --                   NOVAWULF DIGITAL MANAGEMENT, LP
2.1104 lease is for and the nature            EFFECTIVE DATE: 06/28/2022                ATTN: JASON NEW
       of the debtor’s interest                                                         536 WEST 29TH STREET
                                                                                        NEW YORK, NY 10001
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease

                                               RESTRICTED TOKEN AGREEMENT --
       State what the contract or              EFFECTIVE DATE: 01/28/2021                 NUKE GOLDSTEIN
2.1105 lease is for and the nature                                                        ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
       State what the contract or              EFFECTIVE DATE: 11/06/2020                 NUKE GOLDSTEIN
2.1106 lease is for and the nature                                                        ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               RESTRICTED TOKEN AGREEMENT --
       State what the contract or              EFFECTIVE DATE: 11/16/2020                 NUKE GOLDSTEIN
2.1107 lease is for and the nature                                                        ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               NONDISCLOSURE AGREEMENT --
       State what the contract or              EFFECTIVE DATE: 01/16/2022                 NUNO DE SE SEQUGIRA
2.1108 lease is for and the nature                                                        ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
       State what the contract or              AGREEMENT                                  NURTILEK TAALAIBEKOV
2.1109 lease is for and the nature                                                        ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                               MUTUAL NONDISCLOSURE
       State what the contract or              AGREEMENT -- EFFECTIVE DATE:               NUVEI LIMITED
2.1110 lease is for and the nature             04/12/2022                                 KAFKASOU 9
       of the debtor’s interest                                                           TREPPIDES TOWER
                                                                                          AGLANTZIA
           State the term remaining                                                       NICOSIA, 2112
                                                                                          CYPRUS
           List the contract number of
           any government contract

                                               LETTER AGREEMENT RE:
           State what the contract or          EVALUATION MATERIALS --                    OAKTREE CAPITAL MANAGEMENT, L.P.
2.1111     lease is for and the nature         EFFECTIVE DATE: 06/26/2022                 333 SOUTH GRAND AVE, 28TH FLOOR
           of the debtor’s interest                                                       LOS ANGELES, CA 90071

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OAKTREE OPPORTUNITIES FUND XB HOLDINGS (DELAWARE),
2.1112 lease is for and the nature            04/09/2021                                L.P., AND OAKTREE OPPORTUNITIES
       of the debtor’s interest                                                         FUND XI HOLDINGS (DELAWARE), L.P.
                                                                                        333 SOUTH GRAND AVE.
           State the term remaining                                                     28TH FLOOR
                                                                                        LOS ANGELES, CA 90071
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OCEAN VIEW MARKETING
2.1113 lease is for and the nature            03/12/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OCEAN VIEW MARKETING, LLC
2.1114 lease is for and the nature            04/08/2021                                4425 ESTA LANE
       of the debtor’s interest                                                         SOQUEL, CA 95073

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OCROLUS INC.
2.1115 lease is for and the nature            01/29/2022                                101 GREENWICH STREET
       of the debtor’s interest                                                         FL. 23
                                                                                        NEW YORK, NY 10006
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ODYSSEY DIGITAL LLC
2.1116 lease is for and the nature            04/27/2021
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ODYSSEY TECHNOLOGIES LIMITED
2.1117 lease is for and the nature            05/24/2021                                39 IRISH TOWN
       of the debtor’s interest                                                         GIBRALTAR, GX111AA
                                                                                        GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/11/2022 PLUS           ODYSSEY TECHNOLOGIES LIMITED
2.1118 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: SMADAR PELEG
       of the debtor’s interest               DOCUMENTS                                 BLOCK 2 WATERGARDEN
                                                                                        GIBRALTAR, GX111AA
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ODYSSEY TECHNOLOGIES LIMITED
2.1119 lease is for and the nature            10/09/2021                                39 IRISH TOWN
       of the debtor’s interest
                                                                                        GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OFFICESPACE SOFTWARE INC.
2.1120 lease is for and the nature            03/02/2022                                30000 MILL CREEK AVE
       of the debtor’s interest                                                         SUITE 300
                                                                                        ALPHARETTA, GA 30022
           State the term remaining

           List the contract number of
           any government contract

                                              FIXED INTEREST LOAN AGREEMENT
       State what the contract or             -- EFFECTIVE DATE: 07/23/2020             OILTRADING.COM PTE LTD.
2.1121 lease is for and the nature                                                      1 SCOTTS ROAD #16-06
       of the debtor’s interest                                                         SHAW CENTER
                                                                                        228208
           State the term remaining                                                     SINGAPORE

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OLD REPUBLIC PROFESSIONAL LIABILITY, INC.
2.1122 lease is for and the nature            05/12/2021                                191 NORTH WACKER STREET, SUITE 1000
       of the debtor’s interest                                                         CHICAGO, IL 60606

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                OLEG MANAEV
2.1123 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/09/2020                OLEG MANAEV
2.1124 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                OLEG MANAEV
2.1125 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              PARTNER REFERRAL AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/24/2022                OLEGOTRONE MEDIA INC
2.1126 lease is for and the nature                                                      202-2347 WELCHER AVE
       of the debtor’s interest                                                         PORT COQUITLAM, V3C1X8
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/10/2021                OLIVER BROWN
2.1127 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OLUWATOBI AWOPETU
2.1128 lease is for and the nature            11/04/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/26/2022                OLYMPUS PEAK ASSET MANAGEMENT LP
2.1129 lease is for and the nature                                                      ATTN: MATT ENGLEHARDT/LEAH SILVERMAN
       of the debtor’s interest                                                         745 FIFTH AVENUE
                                                                                        SUITE 1604
           State the term remaining                                                     NEW YORK, NY 10151

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 OMER GONNEN
2.1130 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 OMER LEVIN
2.1131 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONCHAIN CUSTODIAN PTE LTD
2.1132 lease is for and the nature            02/02/2021                                20 COLLYER QUAY #11-04
       of the debtor’s interest                                                         049319
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract




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       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              OMNIBUS WALLET SERVICE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONCHAIN CUSTODIAN PTE LTD
2.1133 lease is for and the nature            04/09/2020                                #11-04, 20 COLLYER QUAY
       of the debtor’s interest                                                         049319
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONCHAIN CUSTODIAN PTE. LTD
2.1134 lease is for and the nature            10/27/2020 PLUS ANY ANCILLARY OR          20 COLLYER QUAY #11-04
       of the debtor’s interest               RELATED DOCUMENTS                         SINGAPORE, 49319
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONCHAIN DIGITAL PTE LTD.
2.1135 lease is for and the nature            05/20/2021                                ATTN: EL LEE
       of the debtor’s interest                                                         #11-04, 20 COLLYER QUAY
                                                                                        SINGAPORE, 049319
           State the term remaining                                                     SINGAPORE

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONE WORLD SERVICES LLC
2.1136 lease is for and the nature            12/10/2019 PLUS ANY ANCILLARY OR          475 BRICKELL AVENUE
       of the debtor’s interest               RELATED DOCUMENTS                         APT. 3509
                                                                                        MIAMI, FL 33131
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ONENETWORKS, INC DBA FINEXIO
2.1137 lease is for and the nature            05/07/2022                                924 N MAGNOLIA AVE
       of the debtor’s interest                                                         SUITE 202 PMB 1310
                                                                                        ORLANDO, FL 32803
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/04/2022                ONOSE OGHENEVWOGAGA
2.1138 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/06/2021                OPEN FIELD CAPITAL LLC
2.1139 lease is for and the nature                                                      1140 AVE OF THE AMERICAS
       of the debtor’s interest                                                         9TH FLOOR
                                                                                        NEW YORK, NY 10036
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/10/2021 PLUS           OPHIRUS TRADING MANAGEMENT LLC
2.1140 lease is for and the nature            ANY ANCILLARY OR RELATED                  260 MADISON AVENUE
       of the debtor’s interest               DOCUMENTS                                 8TH FLOOR
                                                                                        NEW YORK, NY 10016
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OPHIRUS TRADING MANAGEMENT LLC
2.1141 lease is for and the nature            06/08/2021                                ATTN: BAIYU ZHOU
       of the debtor’s interest                                                         1013 CENTRE ROAD SUITE 403-B
                                                                                        WILMINGTON, DE 19805
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OPSGURU LTD
2.1142 lease is for and the nature            08/11/2021                                KEHILAT VARSHA 15B APT 16
       of the debtor’s interest                                                         TEL-AVIV, 6900097
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 OR HAREL
2.1143 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/10/2020                OR HAREL
2.1144 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                OR HAREL
2.1145 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                OR HAREL
2.1146 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                OR HIRSCHHORN
2.1147 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 OR HIRSCHHORN
2.1148 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/24/2020                OR HIRSCHHORN
2.1149 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 OR RON
2.1150 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESOLUTION OF THE BOARD OF
       State what the contract or             DIRECTORS OF CELSIUS NETWORK              OREN BLONSTEIN
2.1151 lease is for and the nature            LTD. (A UK LIMITED COMPANY) --            ADDRESS REDACTED
       of the debtor’s interest               EFFECTIVE DATE: 03/08/2021

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/25/2021                OREN MOHR
2.1152 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ORIX CORPORATE CAPITAL INC.
2.1153 lease is for and the nature            02/16/2022                                2001 ROSS AVENUE
       of the debtor’s interest                                                         DALLAS, TX 75201

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ORTHOGONAL TRADING LTD
2.1154 lease is for and the nature            01/14/2022                                4TH FLOOR, WATER'S EDGE BUILDING
       of the debtor’s interest                                                         MERIDIAN PLAZA
                                                                                        ROAD TOWN
           State the term remaining                                                     TORTOLA, VG1110
                                                                                        VIRGIN ISLANDS
           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/24/2022 PLUS           ORTHOGONAL TRADING LTD
2.1155 lease is for and the nature            ANY ANCILLARY OR RELATED                  WATER'S EDGE BUILDING, MERIDIAN PLAZA
       of the debtor’s interest               DOCUMENTS                                 4TH FLOOR
                                                                                        ROAD TOWN
           State the term remaining                                                     TORTOLA, 11100
                                                                                        VIRGIN ISLANDS
           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/30/2021                OSCAR DOMINGO
2.1156 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OSL SG PTE. LTD.
2.1157 lease is for and the nature            03/03/2020 PLUS ANY ANCILLARY OR          ATTN: LEGAL
       of the debtor’s interest               RELATED DOCUMENTS                         S5062, 7 STRAITS VIEW
                                                                                        MARINA ONE EAST TOWER, #05-01
           State the term remaining                                                     018936
                                                                                        SINGAPORE
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OSPREY FUNDS, LLC
2.1158 lease is for and the nature            10/10/2021                                520 WHITE PLAINS RD
       of the debtor’s interest                                                         SUITE 500
                                                                                        TARRYTOWN, NY 10591
           State the term remaining

           List the contract number of
           any government contract

                                              SUBSCRIPTION AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/29/2021                OSPREY POLKADOT TRUST
2.1159 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              SUBSCRIPTION AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/27/2021                OSPREY POLKADOT TRUST
2.1160 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              SUBSCRIPTION AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/28/2021                OSPREY POLKADOT TRUST
2.1161 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/16/2022                OTTO GRESAK
2.1162 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OURCROWD MANAGEMENT LIMITED
2.1163 lease is for and the nature            04/06/2022                                HEBRON RD 28
       of the debtor’s interest                                                         JERUSALEM, 9108001
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OUTREMONT ALPHA MASTER FUND LP
2.1164 lease is for and the nature            11/04/2021                                CRAIGMUIR CHAMBERS
       of the debtor’s interest                                                         ROAD TOWN
                                                                                        TORTOLA, VG1110
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/14/2022 PLUS           OUTREMONT ALPHA MASTER FUND LP
2.1165 lease is for and the nature            ANY ANCILLARY OR RELATED                  CRAIGMUIR CHAMBERS
       of the debtor’s interest               DOCUMENTS                                 ROAD TOWN
                                                                                        TORTOLA,
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OUTREMONT ALPHA MASTER FUND LP
2.1166 lease is for and the nature            10/30/2021                                CRAIGMUIR CHAMBERS, ROAD TOWN
       of the debtor’s interest                                                         TORTOLA, VG1110
                                                                                        VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OWEN LANKTREE
2.1167 lease is for and the nature            02/22/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/27/2022                OWL CREEK ASSET MANAGEMENT, L.P.
2.1168 lease is for and the nature                                                      ATTN: KEVIN DIBBLE AND STEVE KRAUSE
       of the debtor’s interest                                                         640 FIFTH AVENUE
                                                                                        20TH FLOOR
           State the term remaining                                                     NEW YORK, NY 10019

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              OXFORD VALUATION PARTNERS
2.1169 lease is for and the nature            11/28/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AND
       State what the contract or             CONFIDENTIALITY AGREEMENT --              PACIFIC CENTURY INTERNATIONAL HOLDINGS LIMITED
2.1170 lease is for and the nature            EFFECTIVE DATE: 02/16/2021                38TH FLOOR, CHAMPION TOWER
       of the debtor’s interest                                                         3 GARDEN ROAD
                                                                                        CENTRAL,
           State the term remaining                                                     HONG KONG

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PALITA SRISAIKHAM
2.1171 lease is for and the nature            06/28/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/12/2021                PANAYIOTIS MICHAELS
2.1172 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/09/2021                PANORAMA MORTGAGE, LLC
2.1173 lease is for and the nature                                                      350 RAMPART BLVD, #310
       of the debtor’s interest                                                         LAS VEGAS, NV 89145

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/07/2020                PAPAYA GLOBAL (HK) LIMITED
2.1174 lease is for and the nature                                                      FLAT/RM 1906 LEE GARDEN ONE
       of the debtor’s interest                                                         33 HYSAN AVENUE
                                                                                        CAUSEWAY BAY
           State the term remaining                                                     HONG KONG,
                                                                                        HONG KONG
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PARADIGM CONNECT, INC.
2.1175 lease is for and the nature            06/07/2021                                ATTN: MICKI KOONIN
       of the debtor’s interest                                                         110 WALL STREET
                                                                                        SUITE 5043
           State the term remaining                                                     NEW YORK, NY 10005

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PARALLEL CAPITAL MANAGEMENT LIMITED
2.1176 lease is for and the nature            06/30/2021                                ATTN: TIM TAM
       of the debtor’s interest                                                         ARTEMIS HOUSE
                                                                                        P.O. BOX 2775, 67 FORT ST.
           State the term remaining                                                     GRAND CAYMAN, KY1-1111
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/22/2021 PLUS           PARALLEL CAPITAL MANAGEMENT LIMITED
2.1177 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: TIM TAM
       of the debtor’s interest               DOCUMENTS                                 ARTEMIS HOUSE, 67 FORT ST
                                                                                        PO BOX 2775
           State the term remaining                                                     GRAND CAYMAN, KY1-1111
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PAT LEVECCHIA
2.1178 lease is for and the nature            02/08/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PATAGONIA FUND MANGEMENT LTD.
2.1179 lease is for and the nature            05/04/2021                                CASABLANCA HOUSE, LUCK HILL
       of the debtor’s interest                                                         TORTOLA,
                                                                                        VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/03/2022                PATRICE MASSON
2.1180 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                PATRICK HOLERT
2.1181 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/08/2020                PATRICK HOLERT
2.1182 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                PATRICK HOLERT
2.1183 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2022                PATRICK MARTIN
2.1184 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PATRICK MICHAEL WYLIE
2.1185 lease is for and the nature            06/21/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PAUL ANTHONY RATTIGAN
2.1186 lease is for and the nature            08/25/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/01/2022                PAUL BAUERSCHMIDT
2.1187 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                PAUL NIEHE
2.1188 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                PAUL SEBASTIAN SALIBA
2.1189 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                PAUL SEBASTIAN SALIBA
2.1190 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                PAUL SZEWS
2.1191 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                PAVEL ETKIN
2.1192 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                PAVEL ETKIN
2.1193 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PAVLOS NACOUZI
2.1194 lease is for and the nature            03/04/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              SEGMENTED WALLET SERVICE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PAXFUL, INC.
2.1195 lease is for and the nature            10/17/2020                                3422 OLD CAPITOL TRAIL
       of the debtor’s interest                                                         PMB 989
                                                                                        WILMINGTON, DE 19808
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/04/2021                PAYSAFE FINANCIAL SERVICES LIMITED
2.1196 lease is for and the nature                                                      LEVEL 27, 25 CANADA SQUARE
       of the debtor’s interest                                                         LONDON, ENGLAND, E14 5LQ
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                PAZ EZRATI
2.1197 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 PAZ EZRATI
2.1198 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PEDRAM OREIZI
2.1199 lease is for and the nature            06/28/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ENGAGEMENT LETTER --
       State what the contract or             EFFECTIVE DATE: 03/23/2022                PERELLA WEINBERG PARTNERS LP
2.1200 lease is for and the nature                                                      767 FIFTH AVENUE
       of the debtor’s interest                                                         NEW YORK, NY 10153

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PERELLA WEINBERG PARTNERS LP
2.1201 lease is for and the nature            11/29/2021                                767 FIFTH AVENUE
       of the debtor’s interest                                                         NEW YORK, NY 10153

           State the term remaining

           List the contract number of
           any government contract

                                              ENGAGEMENT LETTER --
       State what the contract or             EFFECTIVE DATE: 03/23/2021                PERKINS COIE LLP
2.1202 lease is for and the nature                                                      1155 AVENUE OF THE AMERICAS
       of the debtor’s interest                                                         22ND FLOOR
                                                                                        NEW YORK, NY 10036-2711
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PETER ALLEN SCHUMACHER
2.1203 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                PETER GRAHAM
2.1204 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/03/2020                PETER GRAHAM
2.1205 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/03/2022 PLUS           PHAROS FUND BTC + SP OF PHAROS MASTER SPC
2.1206 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/28/2021 PLUS           PHAROS FUND BTC+ SP OF PHAROS MASTER SPC
2.1207 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 715
                                                                                        GRAND CAYMAN, KY1-1107
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 10/21/2021 PLUS           PHAROS FUND ETH+ SP OF PHAROS MASTER SPC
2.1208 lease is for and the nature            ANY ANCILLARY OR RELATED                  LANDMARK SQUARE, 1ST FLOOR, 64 EARTH CLOSE
       of the debtor’s interest               DOCUMENTS                                 PO BOX 715
                                                                                        GRAND CAYMAN, KY1-1107
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/28/2021 PLUS           PHAROS FUND SP OF PHAROS MASTER SPC
2.1209 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 715
                                                                                        GRAND CAYMAN, KY1-1107
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/03/2022 PLUS           PHAROS FUND SP OF PHAROS MASTER SPC
2.1210 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 715
                                                                                        GRAND CAYMAN, KY1-1107
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/01/2021 PLUS           PHAROS FUND SPC
2.1211 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 715
                                                                                        GRAND CAYMAN, KY1-1007
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PHAROS FUND SPC
2.1212 lease is for and the nature            05/20/2021                                ATTN: TARA MAC AULAY
       of the debtor’s interest                                                         AVALON TRUST & CORPORATE SERVICES LTD.
                                                                                        LANDMARK SQUARE, 1ST FLOOR, 64 EARTH CLOSE, PO BOX
           State the term remaining                                                     715
                                                                                        GRAND CAYMAN, KY1-1111
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/03/2022 PLUS           PHAROS USD FUND SP OF PHAROS MASTER SPC
2.1213 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 716
                                                                                        GRAND CAYMAN, KY1-1107
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/28/2021 PLUS           PHAROS USD FUND SP OF PHAROS MASTER SPC
2.1214 lease is for and the nature            ANY ANCILLARY OR RELATED                  AVALON TRUST & CORPORATE SERVICES LTD, LANDMARK
       of the debtor’s interest               DOCUMENTS                                 SQUARE
                                                                                        1ST FLOOR, 64 EARTH CLOSE
           State the term remaining                                                     PO BOX 716
                                                                                        GRAND CAYMAN, KY1-1107
           List the contract number of                                                  CAYMAN ISLANDS
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/13/2022                PHIL RICH
2.1215 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AND
       State what the contract or             NON-CIRCUMVENTION AGREEMENT               PHILIPP PIEPER
2.1216 lease is for and the nature            -- EFFECTIVE DATE: 05/12/2022             ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PHILLIP SECURITIES JAPAN, LTD.
2.1217 lease is for and the nature            10/06/2021                                4-2, NIHONBASHI KABUTO-CHO, CHUO-KU
       of the debtor’s interest                                                         TOKYO, 103-0026
                                                                                        JAPAN
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PHX FINANCIAL, INC.
2.1218 lease is for and the nature            02/17/2022                                1 EAST BROWARD BLVD
       of the debtor’s interest                                                         FL 11
                                                                                        FT LAUDERDALE, FL 33301
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PLUTUS21 CAPITAL
2.1219 lease is for and the nature            12/17/2021                                6116 N CENTRAL EXPY
       of the debtor’s interest                                                         SUITE 700
                                                                                        DALLAS, TX 75206
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PLUTUS21 CRYPTO FUND I, L.P.
2.1220 lease is for and the nature            01/13/2020 PLUS ANY ANCILLARY OR          6116 N. CCENTRAL EXPY.
       of the debtor’s interest               RELATED DOCUMENTS                         SUITE 700
                                                                                        DALLAS, TX 75206
           State the term remaining

           List the contract number of
           any government contract

                                              CONFIDENTIALITY AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/20/2021                POINT72 PRIVATE INVESTMENTS, LLC
2.1221 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/19/2021 PLUS           POINT95 GLOBAL (HONG KONG) LIMITED
2.1222 lease is for and the nature            ANY ANCILLARY OR RELATED                  T ROOM 1708 DOMINION CENTRE
       of the debtor’s interest               DOCUMENTS                                 43-59 QUEEN’S ROAD EAST
                                                                                        WANCHAI,
           State the term remaining                                                     HONG KONG

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              POINT95 GLOBAL (HONG KONG) LIMITED
2.1223 lease is for and the nature            05/19/2021                                ATTN: LIN CHEUNG
       of the debtor’s interest                                                         1708 DOMINION CENTRE
                                                                                        43-59 QUEENS ROAD EAST
           State the term remaining                                                     HONG KONG, WANCHAI,
                                                                                        CHINA
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              SETTLEMENT AGREEMENT AND
       State what the contract or             RELEASE -- EFFECTIVE DATE:                POLONIEX LLC, CIRCLE INTERNET FINANCIAL, INC.
2.1224 lease is for and the nature            11/01/2019                                CIRCLE INTERNET FINANCIAL, INC.
       of the debtor’s interest                                                         99 HIGH STREET
                                                                                        SUITE 1701
           State the term remaining                                                     BOSTON, MA 02110

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              POLYPHASE CAPITAL LP
2.1225 lease is for and the nature            04/08/2020 PLUS ANY ANCILLARY OR          ATTN: JASON HAUF
       of the debtor’s interest               RELATED DOCUMENTS                         40 E CHICAGO AVE
                                                                                        SUITE 168
           State the term remaining                                                     CHICAGO, IL 60611

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PORTOFINO TECHNOLOGIES AG
2.1226 lease is for and the nature            04/05/2022                                ATTN: JAE PARK
       of the debtor’s interest                                                         DAMMSTRASSE 18
                                                                                        ZUG, 6300
           State the term remaining                                                     SWITZERLAND

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/03/2022 PLUS           PORTOFINO TECHNOLOGIES GLOBAL LIMITED
2.1227 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: JAE PARK
       of the debtor’s interest               DOCUMENTS                                 DAMMSTRASSE 18
                                                                                        ZUG, 6300
           State the term remaining                                                     SWITZERLAND

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              POWER BLOCK COIN LLC
2.1228 lease is for and the nature            04/24/2020 PLUS ANY ANCILLARY OR          ATTN: TOM RETSON
       of the debtor’s interest               RELATED DOCUMENTS                         1145 SOUTH 800 EAST
                                                                                        SUITE 117
           State the term remaining                                                     OREM, UT 84097

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PRASAD RAO
2.1229 lease is for and the nature            02/22/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PRECEPT CAPITAL MANAGEMENT, LP
2.1230 lease is for and the nature            12/17/2021                                200 CRESCENT COURT
       of the debtor’s interest                                                         SUITE 1450
                                                                                        DALLAS, TX 75201
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PREMIER ZEROCAP PTY LIMITED
2.1231 lease is for and the nature            08/05/2021                                FORDHAM RIALTO SOUTH TOWER LEVEL 29
       of the debtor’s interest                                                         525 COLLINS STREET
                                                                                        MELBOURNE, 3000
           State the term remaining                                                     AUSTRALIA

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROCUREDESK LLC
2.1232 lease is for and the nature            03/16/2022                                6338 SNIDER RD
       of the debtor’s interest                                                         MASON, OH

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROCURIFY TECHNOLOGIES INC.
2.1233 lease is for and the nature            03/03/2022                                455 GRANVILLE STREET
       of the debtor’s interest                                                         300
                                                                                        VANCOUVER, BC V6C 1T1
           State the term remaining                                                     CANADA

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/25/2022 PLUS           PROFLUENT TRADING INC
2.1234 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/17/2019 PLUS           PROFLUENT TRADING UK LTD
2.1235 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/17/2019 PLUS           PROFLUENT TRADING, LLC
2.1236 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROOF OF TALENT, LLC
2.1237 lease is for and the nature            12/15/2021                                915 CARMANS ROAD
       of the debtor’s interest                                                         PMB 372
                                                                                        MASSAPEQUA, NY 11758
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROOFPOINT, INC.
2.1238 lease is for and the nature            01/13/2022                                925 WEST MAUDE AVENUE
       of the debtor’s interest                                                         SUNNYVALE, CA 94085

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROPELLER INDUSTRIES LLC
2.1239 lease is for and the nature            07/23/2021                                110 WILLIAM STREET, SUITE 2200
       of the debtor’s interest                                                         NEW YORK, NY 10038

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROVE IDENTITY, LTD.
2.1240 lease is for and the nature            03/04/2022                                32 19-21 CRAWFORD STREET
       of the debtor’s interest                                                         LONDON, W1H 1PJ
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/08/2022                PROVIDUS D.O.O.
2.1241 lease is for and the nature                                                      BULEVAR OSLOBODENJA 129
       of the debtor’s interest
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PROVIDUS D.O.O.
2.1242 lease is for and the nature            01/21/2022                                BULEVAR OSLOBODENJA 129
       of the debtor’s interest
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              PULSAR GLOBAL LIMITED
2.1243 lease is for and the nature            07/22/2021                                OMC CHAMBERS, WICKHAMS CAY 1, ROAD TOWN
       of the debtor’s interest                                                         TORTOLA,
                                                                                        VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/09/2021 PLUS           PULSAR GLOBAL LIMITED
2.1244 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: PULSAR
       of the debtor’s interest               DOCUMENTS                                 UNIT 904-905 K11 ATELIER
                                                                                        18 SALISBURY ROAD, TSIM SHA TSUI
           State the term remaining                                                     HONG KONG,
                                                                                        HONG KONG
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/16/2020 PLUS           PULSAR GLOBAL LIMITED
2.1245 lease is for and the nature            ANY ANCILLARY OR RELATED                  15 CHONG YIP STREET
       of the debtor’s interest               DOCUMENTS                                 31/F MONTERY PLAZA
                                                                                        UNIT G
           State the term remaining                                                     KWUN TUNG,
                                                                                        HONG KONG
           List the contract number of
           any government contract

                                              CONFIDENTIALITY AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/03/2021                Q9 HOLDINGS LIMITED
2.1246 lease is for and the nature                                                      OMC CHAMBERS
       of the debtor’s interest                                                         WICKHAMS CAY 1, ROAD TOWN
                                                                                        TORTOLA,
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              Q9 HOLDINGS LIMITED
2.1247 lease is for and the nature            02/08/2022                                OMC CHAMBERS
       of the debtor’s interest                                                         WICKHAMS CAY 1, ROAD TOWN
                                                                                        TORTOLA,
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QBE INSURANCE CORPORATION
2.1248 lease is for and the nature            05/05/2021                                55 WATER STREET
       of the debtor’s interest                                                         NEW YORK, NY 10041

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QCP CAPITAL PTE LIMITED
2.1249 lease is for and the nature            06/30/2021                                ATTN: DARIUS SIT ZAI LI
       of the debtor’s interest                                                         3 PHILIP STREET, #11-02, ROYAL GROUP BUILDING
                                                                                        SINGAPORE, 048693
           State the term remaining                                                     SINGAPORE

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 10/23/2020 PLUS           QCP CAPITAL PTE. LTD.
2.1250 lease is for and the nature            ANY ANCILLARY OR RELATED                  3 PHILLIP ST
       of the debtor’s interest               DOCUMENTS                                 #11-02 ROYAL GROUP BUILDING
                                                                                        048693
           State the term remaining                                                     SINGAPORE

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QED CAPITAL LLC
2.1251 lease is for and the nature            04/12/2021                                500 W 2ND STREET
       of the debtor’s interest                                                         SUITE 1900
                                                                                        AUSTIN, TX 78701
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QREDO FINANCE LIMITED
2.1252 lease is for and the nature            05/04/2022                                FLOOR 4
       of the debtor’s interest                                                         BANCO POPULAR BUILDING
                                                                                        ROAD TOWN, VG1110
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUANTOX TECHNOLOGY
2.1253 lease is for and the nature            10/27/2021                                EPISKOPA NIKIFORA MAKSIMOVICA 31
       of the debtor’s interest                                                         CACAK,
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SERVICES AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/25/2022                QUANTOX TECHNOLOGY D.O.O.
2.1254 lease is for and the nature                                                      EPISKOPA NIKIFORA MAKSIMOVICA 31
       of the debtor’s interest                                                         CAKAK,
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              AGREEMENT ON ASSIGNMENT OF
       State what the contract or             THE MASTER SERVICE AGREEMENT              QUANTOX TECHNOLOGY D.O.O. CACAK
2.1255 lease is for and the nature            -- EFFECTIVE DATE: 01/28/2022             EPISKOPA NIKIFORA MAKSIMOVICA, NO. 31
       of the debtor’s interest                                                         CACAK, 32000
                                                                                        MONTENEGRO (SERBIA-MONTENEGRO)
           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/23/2021                QUANTUM ECONOMICS
2.1256 lease is for and the nature                                                      HA'EREZ 9
       of the debtor’s interest                                                         ARIEL, 40700
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUBE RESEARCH & TECHNOLOGIES LIMITED
2.1257 lease is for and the nature            10/01/2021                                NOVA SOUTH, 160 VICTORIA STREET
       of the debtor’s interest                                                         LONDON, SW1E 5LB
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUENTIN COOPER
2.1258 lease is for and the nature            06/29/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                QUINITA CLARK
2.1259 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                QUINITA CLARK
2.1260 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/09/2020                QUINITA CLARK
2.1261 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/24/2020                QUINN M LAWLOR
2.1262 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                QUINN M LAWLOR
2.1263 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              OMNIBUS WALLET SERVICE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUOINE PTE. LIMITED
2.1264 lease is for and the nature            11/17/2020                                8 ORANGE GROVE ROAD
       of the debtor’s interest                                                         #06-02
                                                                                        258342
           State the term remaining                                                     SINGAPORE

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUOINE PTE. LTD
2.1265 lease is for and the nature            09/24/2021                                80RR, #08-01, 80 ROBINSON ROAD
       of the debtor’s interest
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              QUOINE PTE. LTD.
2.1266 lease is for and the nature            02/08/2021                                88 ROBINSON ROAD
       of the debtor’s interest
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RAAG NAIDU
2.1267 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RAAG NAIDU
2.1268 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RAAJJ TRADING LLC
2.1269 lease is for and the nature            02/09/2021                                822 OLIVER ST
       of the debtor’s interest                                                         WOODMERE, NY 11598

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/08/2021 PLUS           RADKL, LLC
2.1270 lease is for and the nature            ANY ANCILLARY OR RELATED                  95 SOLARIS AVENUE
       of the debtor’s interest               DOCUMENTS                                 PO BOX 1349
                                                                                        GRAND CAYMAN, KY1009
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/09/2021 PLUS           RADKL, LLC
2.1271 lease is for and the nature            ANY ANCILLARY OR RELATED                  96 SOLARIS AVENUE
       of the debtor’s interest               DOCUMENTS                                 PO BOX 1350
                                                                                        GRAND CAYMAN, KY1010
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RADKL, LLC
2.1272 lease is for and the nature            10/08/2021                                94 SOLARIS AVENUE
       of the debtor’s interest                                                         PO BOX 1348
                                                                                        GRAND CAYMAN, KY1-1108
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/10/2021                RAFAEL RECHE
2.1273 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/18/2021                RAFAL MOLAK
2.1274 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/12/2021                RAFAL MOLAK
2.1275 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2022                RAFAL WOJCIK
2.1276 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RAHUL BANERJEE
2.1277 lease is for and the nature            02/18/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RAILSTECH, INC.
2.1278 lease is for and the nature            02/02/2021                                1603 CAPITOL AVENUE
       of the debtor’s interest                                                         SUITE 310 A479
                                                                                        CHEYANNE, WY 82001
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/16/2022 PLUS           RAKDL, LLC
2.1279 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RAMIEL CAPITAL LTD.
2.1280 lease is for and the nature            12/19/2021                                CARIGMUIR CHAMBERS ROAD TOWN
       of the debtor’s interest                                                         TORTOLA, VG 1110
                                                                                        VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/04/2022                RAMNIK ARORA
2.1281 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 01/04/2022                RAMP SWAPS LIMITED
2.1282 lease is for and the nature                                                      3 MORE LONDON RIVERSIDE
       of the debtor’s interest                                                         LONDON, SE1 2AQ
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 01/13/2022                RAMP SWAPS LIMITED
2.1283 lease is for and the nature                                                      3 MORE LONDON RIVERSIDE
       of the debtor’s interest                                                         LONDON, SE1 2AQ
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RAN SHITRIT
2.1284 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/18/2022                RANDALL TOKAR
2.1285 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RANDY JAMES DUFOUR
2.1286 lease is for and the nature            06/28/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RAY WU
2.1287 lease is for and the nature            12/27/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                REA KLAYMAN
2.1288 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 REA KLAYMAN
2.1289 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/22/2020                REA KLAYMAN
2.1290 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/10/2021                REBECCA SWEETMAN
2.1291 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 01/23/2022                RED OAK COMPLIANCE SOFTWARE LLC
2.1292 lease is for and the nature                                                      1320 ARROW POINT DR #411
       of the debtor’s interest                                                         CEDAR PARK, TX 78613

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/19/2021 PLUS           RED RIVER DIGITAL TRADING LLC
2.1293 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              REDEFINE TECHNOLOGIES LTD.
2.1294 lease is for and the nature            08/30/2021
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              REDK CRM SOLUTIONS LTD
2.1295 lease is for and the nature            12/20/2021                                71 QUEEN VICTORIA STREET
       of the debtor’s interest                                                         LONDON, EC4V 4BE
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              OFFICE LICENSE - CO-LOCATION
       State what the contract or             LICENSE IN LONDON                         REGUS
2.1296 lease is for and the nature                                                      THE HARLEY BUILDING
       of the debtor’s interest                                                         77-79 NEW CAVENDISH STREET
                                                                                        LONDON, W1W 6XB
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MASTER LEASE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 09/18/2020                RELIZ LTD
2.1297 lease is for and the nature                                                      401 W. ONTARIO
       of the debtor’s interest                                                         STE 400
                                                                                        CHICAGO, IL 60605
           State the term remaining

           List the contract number of
           any government contract

                                              AGREEMENT OF PURCHASE AND
       State what the contract or             SALE OF ASIC MINING HARDWARE --           RELIZ LTD
2.1298 lease is for and the nature            EFFECTIVE DATE: 09/08/2020                402 W. ONTARIO
       of the debtor’s interest                                                         STE 401
                                                                                        CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                              FIRST AMENDMENT TO DIGITAL
       State what the contract or             ASSET LENDING FOR LEASE                   RELIZ LTD
2.1299 lease is for and the nature            ASSETS AGREEMENT -- EFFECTIVE             4TH FLOOR CENTURY CARD
       of the debtor’s interest               DATE: 09/04/2020                          CRICKET SQR
                                                                                        GEORGETOWN
           State the term remaining                                                     GRAND CAYMAN, KY1-1209
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING FOR
       State what the contract or             LEASE ASSETS AGREEMENT --                 RELIZ LTD.
2.1300 lease is for and the nature            EFFECTIVE DATE: 08/04/2020 PLUS           4TH FLOOR CENTURY YARD
       of the debtor’s interest               ANY ANCILLARY OR RELATED                  CRICKET SQR.
                                              DOCUMENTS                                 GEORGETOWN
           State the term remaining                                                     GR. CAYMAN, KY1-1209
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract




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                                                                                         whom the debtor has an executory contract or unexpired lease

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RELIZ LTD.
2.1301 lease is for and the nature            12/03/2019 PLUS ANY ANCILLARY OR          4TH FLOOR CENTURY YARD
       of the debtor’s interest               RELATED DOCUMENTS                         CRICKET SQR.
                                                                                        GEORGETOWN
           State the term remaining                                                     GRAND CAYMAN ISLAND, KY1-1209
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract

                                              NON-SOLICITATION AGREEMENT
       State what the contract or                                                       RELIZ LTD.
2.1302 lease is for and the nature                                                      4TH FLOOR CENTURY YARD
       of the debtor’s interest                                                         CRICKET SQR.
                                                                                        GEORGETOWN
           State the term remaining                                                     GRAND CAYMAN ISLAND, KY1-1209
                                                                                        CAYMAN ISLANDS
           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RELM INSURANCE, LTD
2.1303 lease is for and the nature            05/12/2021                                22 CANON’S COURT, VICTORIA STREET
       of the debtor’s interest                                                         HAMILTON, 12
                                                                                        BERMUDA
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              REMCO KATZ
2.1304 lease is for and the nature            08/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 02/18/2022                REMITLY, INC.
2.1305 lease is for and the nature                                                      1111 3RD AVE
       of the debtor’s interest                                                         SEATTLE, WA 98101

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RENE BIJLOO
2.1306 lease is for and the nature            02/19/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/07/2021                RESOURCES CONNECTION LLC D/B/A RESOURCES GLOBAL
2.1307 lease is for and the nature                                                      PROFESSIONALS
       of the debtor’s interest                                                         17101 ARMSTRONG AVENUE
                                                                                        IRVINE, CA 92614
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RICARDO EMANUEL MEIRELES ABRANTES DIAS DE MACEDO
2.1308 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/03/2022                RICHARD A. ARNOLD
2.1309 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RICHARD GARDNER
2.1310 lease is for and the nature            01/13/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                RICHARD JOHANSEN
2.1311 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RICHARD W. OLIVER
2.1312 lease is for and the nature            08/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RIPIO
2.1313 lease is for and the nature            02/08/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RIPPLE LABS INC.
2.1314 lease is for and the nature            08/16/2021                                THE HARLEY BUILDING, 77-79 NEW CAVENDISH STREET
       of the debtor’s interest                                                         LONDON, ENGLAND, W1W 6KB
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 02/22/2022                RISELINE CAPITAL LLC
2.1315 lease is for and the nature                                                      251 LITTLE FALLS DRIVE
       of the debtor’s interest                                                         WILMINGTON, DE 19808

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RITEN GOHIL
2.1316 lease is for and the nature            05/10/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/30/2021                ROB BLAZE
2.1317 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ROBERT BLOIS MCINTYRE
2.1318 lease is for and the nature            02/23/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/13/2022                ROBERT MOORE
2.1319 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2022                ROBERT PISTEY
2.1320 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE DEED --
       State what the contract or             EFFECTIVE DATE: 02/04/2022                ROBERT WALTERS ASSOCIATES
2.1321 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/07/2022                ROBINHOOD MARKETS, INC.
2.1322 lease is for and the nature                                                      ATTN: VIKRAM GROVER
       of the debtor’s interest                                                         85 WILLOW RD.
                                                                                        MENLO PARK, CA 94025
           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/31/2021                ROGELIO ROMERO
2.1323 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ROGERS INVESTMENT ADVISORS K.K.
2.1324 lease is for and the nature            08/16/2021                                32 SHIBA KOEN BUILDING, 7F13-4-30 SHIBAKOEN
       of the debtor’s interest                                                         MINATO-KU, TOKYO, 105-0011
                                                                                        JAPAN
           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 ROIE FINKELSHTEIN
2.1325 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RON BILSKI
2.1326 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RON BILSKI
2.1327 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RON BILSKI
2.1328 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/01/2021                RON DEUTSCH
2.1329 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RON KAHAT
2.1330 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RON SABO
2.1331 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RON SCHWARTZ
2.1332 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RONI PAVON
2.1333 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RONI PAVON COHEN
2.1334 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RONNIE BERMAN
2.1335 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RONNIE BERMAN
2.1336 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RONY LEVI
2.1337 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 RONY LEVI
2.1338 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT
       State what the contract or             TOKEN AGREEMENT                           RONY LEVI
2.1339 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RONY LEVI
2.1340 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ROOST ENTERPRISE, INC. D.B.A RHOVE
2.1341 lease is for and the nature            08/22/2021                                629 N HIGH STREET, 6TH FLOOR
       of the debtor’s interest                                                         COLUMBUS, OH 43215

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/05/2022                ROSA RAMOS-KWOK
2.1342 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/16/2022                ROSS LUKATSEVICH
2.1343 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ROSS STEPHENSON
2.1344 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/12/2019 PLUS           ROY G. NIEDERHOFFER OPTIMAL ALPHA MASTER FUND, LTD.
2.1345 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RSM GIBRALTAR LIMITED
2.1346 lease is for and the nature            04/12/2022                                21 ENGINEER LANE
       of the debtor’s interest                                                         GIBRALTAR, GX11 1AA
                                                                                        GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RSM UK AUDIT LLP
2.1347 lease is for and the nature            03/29/2022                                25 FARRINGDON STREET
       of the debtor’s interest                                                         LONDON, EC4A 4AB
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RSM US LLP
2.1348 lease is for and the nature            03/14/2022                                30 S WACKER DR
       of the debtor’s interest                                                         SUITE 3300
                                                                                        CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RSM US LLP
2.1349 lease is for and the nature            03/22/2022                                30 S WACKER DR
       of the debtor’s interest                                                         SUITE 3300
                                                                                        CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RUMEER KESHWANI
2.1350 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RUMEER KESHWANI
2.1351 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RYAN BACKUS
2.1352 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RYAN BACKUS
2.1353 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                RYAN GUARASCIA
2.1354 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/03/2020                RYAN GUARASCIA
2.1355 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                RYAN GUARASCIA
2.1356 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                RYAN NAKAIMA
2.1357 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              RYAN WERTH
2.1358 lease is for and the nature            03/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              S. DANIEL LEON
2.1359 lease is for and the nature            06/17/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                S. DANIEL LEON
2.1360 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                S. DANIEL LEON
2.1361 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/05/2020                SAINT BITTS LLC
2.1362 lease is for and the nature                                                      NELSON SPRINGS COMMERCIAL COMPLEX
       of the debtor’s interest                                                         COLQUHOUN ESTATE

           State the term remaining                                                     ST. CHRISTOPHER (ST. KITTS) & NEVIS

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/03/2020                SALOME MKHEIDZE
2.1363 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SALOME MKHEIDZE
2.1364 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SALT BLOCKCHAIN, INC.
2.1365 lease is for and the nature            12/30/2020                                707 17TH STREET
       of the debtor’s interest                                                         SUITE 4200
                                                                                        DENVER, CO 80202
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/23/2020                SAM FORTUNE
2.1366 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/16/2022                SAMIT R DESAI
2.1367 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/12/2022                SAMUEL BANKMAN-FRIED
2.1368 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SAMUEL BAURLE
2.1369 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SAMUEL SPRINGER
2.1370 lease is for and the nature            08/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/02/2022                SAMUEL SPRINGER
2.1371 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/06/2021 PLUS           SANDP SOLUTIONS INC. D/B/A BITCOIN OF AMERICA
2.1372 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: PAUL BIALOBRZEWSKI
       of the debtor’s interest               DOCUMENTS                                 833 W CHICAGO
                                                                                        CHICAGO, IL 60642
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SANDP SOLUTIONS INC. D/B/A BITCOIN OF AMERICA
2.1373 lease is for and the nature            03/12/2021                                833 W. CHICAGO AVE.
       of the debtor’s interest                                                         CHICAGO, IL 60642

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2022                SANTOS CACERES
2.1374 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SAP AMERICA, INC.
2.1375 lease is for and the nature            09/20/2021                                3999 WEST CHESTER PIKE
       of the debtor’s interest                                                         NEWTOWN SQUARE, PA 19073

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SAPIENT LIMITED
2.1376 lease is for and the nature            02/14/2022                                1ST FLOOR 2 TELEVISION CENTRE
       of the debtor’s interest                                                         101 WOOD LANE
                                                                                        LONDON, W12 7FR
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 SARAI AMRAN
2.1377 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/16/2021                SAVEARTH DIGITAL ASSETS SPV, LLC
2.1378 lease is for and the nature                                                      1 BARTHOLOMEW LANE
       of the debtor’s interest                                                         LONDON, ENGLAND, EC2N 2AX
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/15/2021                SB INVESTMENT ADVISERS
2.1379 lease is for and the nature                                                      (UK) LIMITED
       of the debtor’s interest                                                         69 GROSVENOR STREET
                                                                                        LONDON, W1K 3JP
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SCHALLER FRANCOIS
2.1380 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                SCOTT GOCHANOUR
2.1381 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/09/2021                SCOTT GRAVES
2.1382 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SCOTT TAYLOR
2.1383 lease is for and the nature            03/08/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/08/2021                SCOTT TAYLOR
2.1384 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SCRYPT ASSET MANAGEMENT
2.1385 lease is for and the nature            05/24/2021                                ATTN: NORMAN WOODING
       of the debtor’s interest                                                         DAMSTRASSE, 16. ZUG, 6300

           State the term remaining                                                     SWITZERLAND

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/09/2021 PLUS           SCRYPT ASSET MANAGEMENT AG
2.1386 lease is for and the nature            ANY ANCILLARY OR RELATED                  DAMSTRASSE, 16. ZUG, 6300
       of the debtor’s interest               DOCUMENTS
                                                                                        SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/21/2022                SCULPTOR CAPITAL INVESTMENTS, LLC
2.1387 lease is for and the nature                                                      ATTN: LEGAL DEPARTMENT
       of the debtor’s interest                                                         9 WEST 57TH STREET
                                                                                        39TH FL
           State the term remaining                                                     NEW YORK, NY 10019

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/02/2022                SCULPTOR CAPITAL INVESTMENTS, LLC
2.1388 lease is for and the nature                                                      9 WEST 57TH STREET
       of the debtor’s interest                                                         NEW YORK, NY 10019

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/16/2022                SEAFRONT CAPITAL MANAGMENT LLC
2.1389 lease is for and the nature                                                      80 LIBERTY SHIP WAY #25
       of the debtor’s interest                                                         SAUSALITO, CA 94965

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                SEBASTIAN GONZALEZ
2.1390 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SEBASTIAN ZILCH
2.1391 lease is for and the nature            06/24/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SEBASTIEN MAUCUER
2.1392 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/17/2021                SEBINA WILCOCK
2.1393 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SECURED LOAN
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SECURE CASH SWEEP, B.T.,
2.1394 lease is for and the nature            02/04/2020 PLUS ANY ANCILLARY OR
       of the debtor’s interest               RELATED DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL CONFIDENTIALITY AND
       State what the contract or             NONDISCLOSURE AGREEMENT --                SEED CX
2.1395 lease is for and the nature            EFFECTIVE DATE: 10/31/2019                2 N. LASALLE ST
       of the debtor’s interest                                                         SUITE 1400
                                                                                        CHICAGO, IL 60602
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SENDA DIGITAL ASSETS LP
2.1396 lease is for and the nature            05/02/2022                                68 BURNING TREE RD
       of the debtor’s interest                                                         GREENWICH, CT 06830

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SENTRA INC
2.1397 lease is for and the nature            01/23/2022                                181 METRO DRIVE RD
       of the debtor’s interest                                                         SUITE 290
                                                                                        SAN JOSE, CA 95110
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SERGIO NUNO BARROS SANTOS DE CAMPOS AZEREDO
2.1398 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 SHAHAR ESFORMES
2.1399 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SHAHAR PETER
2.1400 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SHAHAR PETER
2.1401 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 SHAHAR PETER
2.1402 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SHANNELLE GILLIANNE LIM CHUA
2.1403 lease is for and the nature            09/16/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SHANNON BRUCE MCDONELL
2.1404 lease is for and the nature            08/24/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              LETTER RE: SERVICES AGREEMENT
       State what the contract or             -- EFFECTIVE DATE: 09/27/2021             SHAWN HOPKINSON
2.1405 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SHEELDMARKET SAS
2.1406 lease is for and the nature            04/12/2022                                15 RUE DES HALLES
       of the debtor’s interest                                                         PARIS, 75001
                                                                                        FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SHEFA CAPITAL LTD
2.1407 lease is for and the nature            06/01/2022                                10 ISRAELIS STREET
       of the debtor’s interest
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SHELI ZHITOMIRSKY
2.1408 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SHELI ZHITOMIRSKY
2.1409 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SHELISHA STEELE
2.1410 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SHELISHA STEELE
2.1411 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/02/2022                SHERIL FELDMAN
2.1412 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/02/2022                SHERIL FELDMAN
2.1413 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SHIMON SHVARTSBROIT
2.1414 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SHIRAN KLEIDERMAN
2.1415 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SHIRAN KLEIDERMAN
2.1416 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SHUFTI PRO LIMITED
2.1417 lease is for and the nature            01/02/2022                                LEVEL 8 ONE CANADA SQUARE
       of the debtor’s interest                                                         CANARY WHARF, LONDON, E14 5AA
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/10/2021 PLUS           SIAFU CAPITAL LLC
2.1418 lease is for and the nature            ANY ANCILLARY OR RELATED                  4550 SADDLE MOUNTAIN COURT
       of the debtor’s interest               DOCUMENTS                                 SAN DIEGO, CA 92130

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIAFU CAPITAL LLC
2.1419 lease is for and the nature            05/10/2021                                4550 SADDLE MOUNTAIN COURT
       of the debtor’s interest                                                         SAN DIEGO, CA 92130

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/07/2022                SIAMAK KEYVANI
2.1420 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                SIDDHARTHA NAYAK
2.1421 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                SIDDHARTHA NAYAK
2.1422 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIDNEY POWELL
2.1423 lease is for and the nature            01/17/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIFT SCIENCE, INC.
2.1424 lease is for and the nature            12/20/2021                                525 MARKET STREET
       of the debtor’s interest                                                         6TH FLOOR
                                                                                        SAN FRANCISCO, CA 94105
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIGMA RATINGS INC
2.1425 lease is for and the nature            08/17/2021                                43 WEST 23RD STREET, 6TH FLOOR
       of the debtor’s interest                                                         NEW YORK, NY 10010

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIGNICAT AS
2.1426 lease is for and the nature            01/05/2022                                BEDDINGEN 16
       of the debtor’s interest                                                         TRONDHEIM, 7042
                                                                                        NORWAY
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL CONFIDENTIALITY AND
       State what the contract or             NONDISCLOSURE AGREEMENT --                SILVERGATE BANK
2.1427 lease is for and the nature            EFFECTIVE DATE: 11/11/2021                4250 EXECUTIVE SQUARE, SUITE 300
       of the debtor’s interest                                                         LA JOLLA, CA 92037

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIMEON ZIMBALIST ON BEHALF OF DELOITTE ISRAEL
2.1428 lease is for and the nature            05/03/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/17/2021                SIMON CALLAGHAN
2.1429 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SIMON WRIGHT
2.1430 lease is for and the nature            06/21/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 SIVAN SHACHAM
2.1431 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SJP PROPERTIES
2.1432 lease is for and the nature            09/16/2021                                389 INTERPACE PKWY
       of the debtor’s interest                                                         PARSIPPANY, NJ 07054

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/21/2021                SKOLEM TECHNOLOGIES
2.1433 lease is for and the nature                                                      1500-1055 WEST GEORGIA ST
       of the debtor’s interest                                                         VANCOUVER, BC V6E 4N7
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              CONFIDENTIALITY AND
       State what the contract or             NONDISCLOSURE AGREEMENT --                SKOLEM TECHNOLOGIES LTD.
2.1434 lease is for and the nature            EFFECTIVE DATE: 07/16/2020                1500-1055 WEST GERGIA STREET
       of the debtor’s interest                                                         VANCOUVER, V6E4N7
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER SUBSCRIPTION
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SLACK TECHNOLOGIES, LLC
2.1435 lease is for and the nature            04/23/2022                                500 HOWARD STREET
       of the debtor’s interest                                                         SAN FRANCISCO, CA 94105

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SMARTCONTRACT INC.
2.1436 lease is for and the nature            07/14/2021                                1250 BROADWAY, 36TH FLOOR
       of the debtor’s interest                                                         NEW YORK, NY 10001

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 SNIR LEVI
2.1437 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SOLIDUS LABS INC
2.1438 lease is for and the nature            03/09/2022                                26 BROADWAY
       of the debtor’s interest                                                         NEW YORK, NY 01004

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/04/2022                SONDAG HALUKA
2.1439 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SPECTA OMNIS LLC
2.1440 lease is for and the nature            02/27/2022                                FIRST FLOOR, FIRST ST VINCENT BANK LTD BUILDING
       of the debtor’s interest                                                         JAMES ST
                                                                                        KINGSTOWN,
           State the term remaining                                                     ST. VINCENT & THE GRENADINES

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/31/2022 PLUS           SPECTA OMNIS LLC
2.1441 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: RICHARD HODGES
       of the debtor’s interest               DOCUMENTS                                 FIRST FLOOR, FIRST ST VINCENT BANK BUILDING
                                                                                        JAMES STREET
           State the term remaining                                                     KINGSTOWN,
                                                                                        ST. VINCENT & THE GRENADINES
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SR GROUP (US) INC.
2.1442 lease is for and the nature            01/21/2022                                2 PARK AVE
       of the debtor’s interest                                                         NEW YORK, NY 10016

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STACK EXCHANGE, INC.
2.1443 lease is for and the nature            12/30/2021                                110 WILLIAM STREET, 28TH FLOOR
       of the debtor’s interest                                                         NEW YORK, NY 10038

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STACKED FINANCE LLC
2.1444 lease is for and the nature            07/23/2021                                200 W MADISON STREET
       of the debtor’s interest                                                         3000
                                                                                        CHICAGO, IL 60604
           State the term remaining

           List the contract number of
           any government contract

                                              LOAN TERM AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/27/2021                STAKEHOUND SA
2.1445 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STARSTONE VENTURES
2.1446 lease is for and the nature            07/22/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STARSTONE VENTURES LLC
2.1447 lease is for and the nature            07/23/2021                                1547 11TH ST
       of the debtor’s interest                                                         FORT LEE, NJ 07024

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STEAKER INC.
2.1448 lease is for and the nature            09/03/2021                                SUITE 1, COMMERCIAL HOUSE ONE
       of the debtor’s interest                                                         EDEN ISLAND,
                                                                                        SEYCHELLES
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STEFAN BARANSKI
2.1449 lease is for and the nature            06/02/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/26/2021                STEPHANIE MARTIN
2.1450 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 STEPHANIE TIMSIT
2.1451 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/31/2022                STEPHEN IVAN
2.1452 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/14/2022                STEPHEN IVAN
2.1453 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STEPHEN SEK
2.1454 lease is for and the nature            04/23/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                STEVAN KOSTIC
2.1455 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              STEVEN JOHN MCDONNELL
2.1456 lease is for and the nature            04/05/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/01/2022                STONEHILL CAPITAL MANAGEMENT LLC
2.1457 lease is for and the nature                                                      ATTN: PAUL MALEK
       of the debtor’s interest                                                         320 PARK AVE
                                                                                        26TH FLOOR
           State the term remaining                                                     NEW YORK, NY 10022

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/21/2022                STRATEGIC FOCUS INVESTMENTS LLC
2.1458 lease is for and the nature                                                      70 WASHINGTON STREET
       of the debtor’s interest                                                         APT 5F
                                                                                        BROOKLYN, NY 11201
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SUBOTAI TECH LIMITED
2.1459 lease is for and the nature            01/13/2020 PLUS ANY ANCILLARY OR          143 MAIN STREET
       of the debtor’s interest               RELATED DOCUMENTS
                                                                                        GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SUM AND SUBSTANCE LTD.
2.1460 lease is for and the nature            01/05/2022                                30 ST MARY AXE
       of the debtor’s interest                                                         LONDON, EC3A 8BF
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SUN AND SUBSTANCE LTD.
2.1461 lease is for and the nature            01/05/2022                                30 ST. MARY AXE
       of the debtor’s interest                                                         LONDON, ENGLAND, EC3A 8BF
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/16/2022                SUN YUCHEN
2.1462 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SURENDRA MAN SHRESTHA
2.1463 lease is for and the nature            02/17/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SUSANA MARIA AZEVEDO MOREIRA
2.1464 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SWARM CAPITAL GMBH
2.1465 lease is for and the nature            04/12/2022                                PESTALOZZISTR. 3
       of the debtor’s interest                                                         BERLIN, 10625
                                                                                        GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SWISS INVESTMENT MANAGEMENT SA
2.1466 lease is for and the nature            09/01/2021                                15 BVD HELVETIQUE
       of the debtor’s interest                                                         GENEVA, 1207
                                                                                        SWITZERLAND
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL CONFIDENTIALITY AND
       State what the contract or             NONDISCLOSURE AGREEMENT --                SWYCH INC.
2.1467 lease is for and the nature            EFFECTIVE DATE: 12/18/2019                ATTN: DEEPAK JAIN
       of the debtor’s interest                                                         2435 NORTH CENTRAL EXPRESSWAY
                                                                                        SUITE 1420
           State the term remaining                                                     RICHARDSON, TX 75080

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SWYFTX PTY LTD
2.1468 lease is for and the nature            02/22/2022                                LEVEL 3, 10 MARKET STREET
       of the debtor’s interest                                                         BRISBANE CITY, QUEENSLAND, 4000
                                                                                        AUSTRALIA
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/06/2021 PLUS           SYMBOLIC CAPITAL PARTNERS LTD
2.1469 lease is for and the nature            ANY ANCILLARY OR RELATED                  30 N GOULD STREET
       of the debtor’s interest               DOCUMENTS                                 SHERIDAN, WY 82801

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 10/21/2021 PLUS           SYMBOLIC CAPITAL PARTNERS LTD,
2.1470 lease is for and the nature            ANY ANCILLARY OR RELATED                  30 N. GOULD STREET
       of the debtor’s interest               DOCUMENTS                                 SHERIDAN, WY 82801

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SYMBOLIC CAPITAL PARTNERS LTD.
2.1471 lease is for and the nature            07/02/2021                                30 N GOULD STREET
       of the debtor’s interest                                                         SHERIDAN, WY 82801

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              SYMPHONY COMMUNICATION SERVICES, LLC
2.1472 lease is for and the nature            10/07/2021                                640 WEST CALIFORNIA AVENUE, SUITE 200
       of the debtor’s interest                                                         SUNNYVALE, CA 94086

           State the term remaining

           List the contract number of
           any government contract

                                              SERVICE AGREEMENT BETWEEN
       State what the contract or             CELSIUS NETWORK AND SYNAPSE               SYNAPSE INTERNATIONAL
2.1473 lease is for and the nature            INTERNATIONAL -- EFFECTIVE DATE:          WEST PENDER PLACE
       of the debtor’s interest               04/20/2021                                VANCOUVER, BC
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TAGOMI TRADING LLC
2.1474 lease is for and the nature            12/06/2019 PLUS ANY ANCILLARY OR          201 MONTGOMERY STREET
       of the debtor’s interest               RELATED DOCUMENTS                         JERSEY CITY, NJ 07302

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TAGUS CAPITAL LP
2.1475 lease is for and the nature            09/22/2021                                85 CRESCENT LANE
       of the debtor’s interest                                                         SW4 9PT
                                                                                        LONDON,
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 10/19/2021 PLUS           TAGUS CAPITAL MULTISTRATEGY FUND SP
2.1476 lease is for and the nature            ANY ANCILLARY OR RELATED                  MARICORP SERVICES LTD. 31 THE STRAND 46 CANAL POINT
       of the debtor’s interest               DOCUMENTS                                 DRIVE GEORGE TOWN
                                                                                        GRAND CAYMAN, KY1-1105
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/14/2021 PLUS           TAI MO SHAN LIMITED
2.1477 lease is for and the nature            ANY ANCILLARY OR RELATED                  600 WEST CHICAGO
       of the debtor’s interest               DOCUMENTS                                 SUITE 600
                                                                                        CHICAGO, IL 60654
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TAILOR MEDIA LTD
2.1478 lease is for and the nature            12/02/2021                                CARMEL ST 5
       of the debtor’s interest                                                         REHOVOT,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                TAL BENTOV
2.1479 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                TAL BENTOV
2.1480 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 TAL DAHAN
2.1481 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TALON CYBER SECURITY LTD
2.1482 lease is for and the nature            03/07/2022                                30 IBN GABRIOL
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                TANER HASSAN
2.1483 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TANGEM AG
2.1484 lease is for and the nature            06/02/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TANIA REIF
2.1485 lease is for and the nature            05/02/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/16/2022                TANZIN CAPITAL LLC
2.1486 lease is for and the nature                                                      100 RIVERSIDE BLVD
       of the debtor’s interest                                                         NEW YORK, NY 10069

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TATA CONSULTANCY SERVICES LIMITED
2.1487 lease is for and the nature            11/15/2021                                TCS HOUSE, RAVELINE STREET, FORT
       of the debtor’s interest                                                         MUMBAI, 400001
                                                                                        INDIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TAURUS SA
2.1488 lease is for and the nature            05/22/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TAXBIT, INC.
2.1489 lease is for and the nature            01/18/2022                                66 EAST WADSWORTH PARK DR
       of the debtor’s interest                                                         DRAPER, UT 84020

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              ENGAGEMENT LETTER --
       State what the contract or             EFFECTIVE DATE: 03/22/2021                TAYLOR WESSING LLP
2.1490 lease is for and the nature                                                      5 NEW STREET SQUARE
       of the debtor’s interest                                                         LONDON, EC4A 3TW
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/19/2022 PLUS           TDX SG PTE LTD
2.1491 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: DICK LO
       of the debtor’s interest               DOCUMENTS                                 1 SUNNING ROAD
                                                                                        CAUSEWAY BAY
           State the term remaining                                                     HONG KONG,
                                                                                        CHINA
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TDX SG PTE LTD
2.1492 lease is for and the nature            01/16/2022                                7 STRAITS VIEW, #05-01
       of the debtor’s interest                                                         MARINA ONE EAST TOWER, 018936
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT LOAN AGREEMENT                  TDX SG PTE LTD
2.1493 lease is for and the nature            PLUS ANY ANCILLARY OR RELATED             7 STRAITS VIEW #05-01 MARINA ONE EAST TOWER
       of the debtor’s interest               DOCUMENTS                                 SINGAPORE, 18936
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TECH MAHINDRA LTD
2.1494 lease is for and the nature            08/27/2021                                PLOT NO.1,PHASE III, RAJIV GANDHI INFOTECH PARK
       of the debtor’s interest                                                         HINJEWADI, PUNE, 411057
                                                                                        INDIA
           State the term remaining

           List the contract number of
           any government contract

                                              STAFFING SERVICES AGREEMENT:
       State what the contract or             MODIFIED -- EFFECTIVE DATE:               TEKSYSTEMS, INC.
2.1495 lease is for and the nature            01/28/2021                                7437 RACE RD
       of the debtor’s interest                                                         HANOVER, MD 21076

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TELNYX LLC
2.1496 lease is for and the nature            12/29/2021                                311 W SUPERIOR ST, SUITE 504
       of the debtor’s interest                                                         CHICAGO, IL 60654

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TERENCE LAI
2.1497 lease is for and the nature            09/25/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TERESA CHAN
2.1498 lease is for and the nature            06/17/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TERRAFORM CAPITAL, LLC
2.1499 lease is for and the nature            12/17/2021                                30721 RUSSELL RANCH RD #140
       of the debtor’s interest                                                         WESTLAKE VILLAGE, CA 91362

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TESSERACT GROUP OY
2.1500 lease is for and the nature            04/26/2022                                PORKKALANKATU 22 A
       of the debtor’s interest                                                         HELSINKI, 00180
                                                                                        FINLAND
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TEZOS ISRAEL LTD
2.1501 lease is for and the nature            11/23/2021                                ROTSHILD 45
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THE ALLIANCE RISK GROUP, LLC
2.1502 lease is for and the nature            08/23/2021                                4676 NE LOOP DR
       of the debtor’s interest                                                         OTIS, OR 97368

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THE BIG KAHOONA
2.1503 lease is for and the nature            11/10/2020                                THAT LARGE BUILDING IN TOWN
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THE BLOCK CRYPTO, INC.
2.1504 lease is for and the nature            03/17/2022                                45 BOND ST
       of the debtor’s interest                                                         FL 5
                                                                                        NEW YORK, NY 10012
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THE CAEN GROUP, LLC
2.1505 lease is for and the nature            06/01/2021                                ATTN: CHI W YAU
       of the debtor’s interest                                                         8813 DETWILER ROAD
                                                                                        ESCONDIDO, CA 92029
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/16/2022                THE FOREST ROAD COMPANY, LLC
2.1506 lease is for and the nature                                                      ATTN: JEREMY V. RICHARDS, ESQ.
       of the debtor’s interest                                                         1177 AVENUE OF THE AMERICAS
                                                                                        5TH FLOOR
           State the term remaining                                                     NEW YORK, NY 10036

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THE KINGDOM TRUST COMPANY
2.1507 lease is for and the nature            12/18/2020                                4300 SOUTH LOUISE AVE
       of the debtor’s interest                                                         SUITE 107
                                                                                        SIOUX FALLS, SD 57106
           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2022                THEODORE KIM
2.1508 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/07/2022                THIRD POINT LLC
2.1509 lease is for and the nature                                                      ATTN: LOUIS WANG
       of the debtor’s interest                                                         55 HUDSON YARDS
                                                                                        NEW YORK, NY 10001
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THIRD POINT LLC
2.1510 lease is for and the nature            12/09/2020                                55 HUDSON YARDS
       of the debtor’s interest                                                         NEW YORK, NY 10001

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/02/2022                THOMAS CLOCHERET
2.1511 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2022                THOMAS CONNOLLY
2.1512 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                THOMAS HAMLETT
2.1513 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THOMAS LAUWEREINS
2.1514 lease is for and the nature            06/21/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                THOMAS MCCARTHY
2.1515 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                THOMAS VIGIL
2.1516 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              THOMSON REUTERS ENTERPRISE CENTRE GMBH
2.1517 lease is for and the nature            02/18/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/25/2019 PLUS           THREE ARROWS CAPITAL LTD.
2.1518 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/11/2021                TIA NEL
2.1519 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TIBRA TRADING PTY LIMITED
2.1520 lease is for and the nature            05/22/2022                                LEVEL 17, WESTFIELD TOWER 2
       of the debtor’s interest                                                         101 GRAFTON STREET
                                                                                        BONDI JUNCTION, 2022
           State the term remaining                                                     AUSTRALIA

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                TIMOTHY CRADLE
2.1521 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                TIMOTHY CRADLE
2.1522 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TIMOTHY NERING
2.1523 lease is for and the nature            09/21/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TINK AB
2.1524 lease is for and the nature            04/24/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOKEN LIMITED
2.1525 lease is for and the nature            02/21/2022                                CRAIGMUIR CHAMBERS, ROAD TOWN
       of the debtor’s interest                                                         TORTOLA, VG 1110
                                                                                        VIRGIN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/25/2022 PLUS           TOKEN LIMITED
2.1526 lease is for and the nature            ANY ANCILLARY OR RELATED                  CRAIGMUIR CHAMBERS
       of the debtor’s interest               DOCUMENTS                                 ROAD TOWN
                                                                                        TORTOLA, 1110
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOKIO MARINE HCC - D&O GROUP
2.1527 lease is for and the nature            05/12/2021                                111 TOWN SQUARE PLACE, SUITE 890
       of the debtor’s interest                                                         JERSEY CITY, NJ 07310

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOM PEILOW
2.1528 lease is for and the nature            12/30/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOMAS MOSKALA
2.1529 lease is for and the nature            01/17/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOMASZ CANDER
2.1530 lease is for and the nature            06/24/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOMASZ LUKASZ SIENKOWSKI
2.1531 lease is for and the nature            02/28/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOMEDES LTD.
2.1532 lease is for and the nature            03/08/2022                                14, GRUZENBERG STREET
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 TOMER WEISS
2.1533 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                TOMER WEISS
2.1534 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOROVZAR INVESTMENTS LLC
2.1535 lease is for and the nature            05/24/2022                                16192 COASTAL HIGHWAY
       of the debtor’s interest                                                         LEWES, DE 19958

           State the term remaining

           List the contract number of
           any government contract

                                              PARTNER REFERRAL AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/23/2021                TOTAL ACTION MARKETING, LLC
2.1536 lease is for and the nature                                                      ATTN: JEFF BLUM
       of the debtor’s interest                                                         3507 OAKS WAY
                                                                                        807
           State the term remaining                                                     POMPANO, FL 33069

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TOWER BC LTD
2.1537 lease is for and the nature            12/12/2021                                3RD FLOOR, TOWER 42
       of the debtor’s interest                                                         25 OLD BROAD STREET
                                                                                        EC2N 1HQ
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/15/2021 PLUS           TOWER BC LTD
2.1538 lease is for and the nature            ANY ANCILLARY OR RELATED                  3 RD FLOOR
       of the debtor’s interest               DOCUMENTS                                 TOWER 42
                                                                                        25 OLD BROAD STREET
           State the term remaining                                                     LONDON, EC2M 1HQ
                                                                                        UNITED KINGDOM
           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRACEY STARK
2.1539 lease is for and the nature            06/27/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRADABILITY LLC
2.1540 lease is for and the nature            07/03/2021                                5000 BIRCH STREET, SUITE 3000
       of the debtor’s interest                                                         NEWPORT BEACH, CA 92660

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRADE REPUBLIC BANK GMBH
2.1541 lease is for and the nature            03/01/2022                                1 ERNST-SCHNEIDER PLATZ
       of the debtor’s interest                                                         DUSSELDORF, 40212
                                                                                        GERMANY
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRADESTATION GROUP, INC.
2.1542 lease is for and the nature            11/19/2019                                8050 SW 10TH STREET, SUITE 400
       of the debtor’s interest                                                         PLANTATION, FL 33324

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/07/2022                TRANG NGUYEN
2.1543 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRANSFERO BRASIL PAGAMENTOS S.A.
2.1544 lease is for and the nature            01/07/2020 PLUS ANY ANCILLARY OR          RUA ANIBAL DE MENDONCA
       of the debtor’s interest               RELATED DOCUMENTS                         21/1A ANDAR, IPANEMA CEP
                                                                                        RIO DE JANEIRO, 22410-050
           State the term remaining                                                     BRAZIL

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRAVALA.COM
2.1545 lease is for and the nature            11/30/2020                                HARBOUR PLACE
       of the debtor’s interest                                                         103 SOUTH CHURCH ST
                                                                                        GEORGE TOWN,
           State the term remaining                                                     CAYMAN ISLANDS

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRENYOR BANCSHARES, INC.
2.1546 lease is for and the nature            02/14/2022                                15 E MAIN ST
       of the debtor’s interest                                                         TREYNOR, IA 51575

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRES FINANCE INC.
2.1547 lease is for and the nature            02/04/2022                                7 WORLD TRADE CENTER
       of the debtor’s interest                                                         250 GREENWICH ST #7
                                                                                        NEW YORK, NY 10007
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/14/2022                TREVOR KIVIAT
2.1548 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRIGON TRADING PTY LTD
2.1549 lease is for and the nature            04/08/2021 PLUS ANY ANCILLARY OR          ATTN: MATTEO SALERNO
       of the debtor’s interest               RELATED DOCUMENTS                         SUITE 18, 240 VARSITY PARADE
                                                                                        VARSITY LAKES, QLD 4227
           State the term remaining                                                     AUSTRALIA

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/24/2021 PLUS           TRIGON TRADING PTY LTD ACN 610 865 533
2.1550 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: MATTEO SALERNO
       of the debtor’s interest               DOCUMENTS                                 240 VARISTY PARADE
                                                                                        SUITE 18
           State the term remaining                                                     VARSITY LAKES, QLD 4227
                                                                                        AUSTRALIA
           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRM LABS
2.1551 lease is for and the nature            09/04/2021                                450, TOWNSEND STREET
       of the debtor’s interest                                                         SAN FRANCISCO, CA

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TROY HARRIS
2.1552 lease is for and the nature            11/10/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                TRUNSHEDDA W. RAMOS
2.1553 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                TRUNSHEDDA W. RAMOS
2.1554 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                TRUNSHEDDARA W. RAMOS
2.1555 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TRUSTLABS, INC.
2.1556 lease is for and the nature            01/25/2022                                325 9TH ST.
       of the debtor’s interest                                                         SAN FRANCISCO, CA 94103

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/16/2021                TRUSTTOKEN, INC.
2.1557 lease is for and the nature                                                      234 S MAIN ST
       of the debtor’s interest                                                         WILLITS, CA 95490

           State the term remaining

           List the contract number of
           any government contract

                                              LOAN AGREEMENT -- EFFECTIVE
       State what the contract or             DATE: 11/12/2019                          TRUSTTOKEN, INC.
2.1558 lease is for and the nature                                                      325 9TH STREET
       of the debtor’s interest                                                         SAN FRANCISCO, CA 94103

           State the term remaining

           List the contract number of
           any government contract

                                              PROMISSORY NOTE -- EFFECTIVE
       State what the contract or             DATE: 11/12/2019                          TRUSTTOKEN, INC.
2.1559 lease is for and the nature                                                      325 9TH STREET
       of the debtor’s interest                                                         SAN FRANCISCO, CA 94103

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 10/11/2021                TUSHAR NADKARNI
2.1560 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TWO PRIME
2.1561 lease is for and the nature            03/28/2022                                1615 PLATTE ST
       of the debtor’s interest                                                         SUITE 200
                                                                                        DENVER, CO 80202
           State the term remaining

           List the contract number of
           any government contract

                                              PARTNER REFERRAL AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/23/2021                TYLER MCMURRAY
2.1562 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              TYLER SILVERMAN
2.1563 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/03/2020                TYLER WELLS
2.1564 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              UAB PERSENSE
2.1565 lease is for and the nature            03/24/2022                                LVOVO 25
       of the debtor’s interest                                                         VILNIUS,
                                                                                        LITHUANIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              UNBANKED, INC.
2.1566 lease is for and the nature            05/02/2022                                44 MILTON AVE.
       of the debtor’s interest                                                         ALPHARETTA, GA 30009

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              SETTLEMENT AGREEMENT AND
       State what the contract or             MUTUAL RELEASE -- EFFECTIVE               UNBOUND SECURITY INC. AND UNBOUND SECURITY LTD.
2.1567 lease is for and the nature            DATE: 11/16/2021
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ESCROW AGREEMENT -- EFFECTIVE
       State what the contract or             DATE: 11/16/2021                          UNBOUND TECH LTD, UNBOUND SECURITY INC. AND UNBOUND
2.1568 lease is for and the nature                                                      SECURITY LTD.
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              UNION PROTOCOL LABS, INC.
2.1569 lease is for and the nature            03/28/2022                                34 STREET PH VICTORIA BUILDING
       of the debtor’s interest                                                         PANAMA CITY,
                                                                                        PANAMA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              UNITED STATES FIRE INSURANCE COMPANY
2.1570 lease is for and the nature            05/11/2021                                305 MADISON AVE
       of the debtor’s interest                                                         MORRISTOWN, NJ 07962

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              UNITEDCOIN, INC.
2.1571 lease is for and the nature            04/12/2022                                8 THE GREEN
       of the debtor’s interest                                                         SUITE 8507
                                                                                        DOVER, DE 19901
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              URKEL LABS, LLC
2.1572 lease is for and the nature            06/16/2021                                729 N WASHINGTON AVE
       of the debtor’s interest                                                         6TH FLOOR
                                                                                        MINNEAPOLIS, MN 55401
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              US DATA TECHNOLOGIES GROUP LTD
2.1573 lease is for and the nature            01/18/2021                                3001 PGA BLVD
       of the debtor’s interest                                                         SUITE 305
                                                                                        PALM BEACH GARDENS, FL 33410
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/03/2021                VAD PROPERTIES LLC
2.1574 lease is for and the nature                                                      3500 PIEDMONT RD, ST 330
       of the debtor’s interest                                                         ATLANTA, GA 30342

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VAL KURDALIEV
2.1575 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              ENGAGEMENT LETTER --
       State what the contract or             EFFECTIVE DATE: 03/01/2022                VALERE CAPITAL PARTNERS
2.1576 lease is for and the nature                                                      12 AUSTIN FRIARS
       of the debtor’s interest                                                         LONDON, EC2N 2HE
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VALERIO DE GIORGI
2.1577 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VALID NETWORK LTD
2.1578 lease is for and the nature            10/10/2021                                13 HELIKIKAY HOAR
       of the debtor’s interest                                                         BEER-SHEBA,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VAN ECK ASSOCIATES
2.1579 lease is for and the nature            06/21/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/08/2021                VANESSA DE LA TORRE
2.1580 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/19/2021                VANITA PATEL
2.1581 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VANJA PAUNOVIC
2.1582 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VANTAGE RISK SPECIALTY INSURANCE COMPANY
2.1583 lease is for and the nature            05/12/2022                                RIVER POINT, 17TH FLOOR
       of the debtor’s interest                                                         444 W LAKE STREET
                                                                                        CHICAGO, IL 60606
           State the term remaining

           List the contract number of
           any government contract

                                              TERMS OF USE -- EFFECTIVE DATE:
       State what the contract or             09/30/2020                                VARIOUS
2.1584 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS OF USE
       State what the contract or             -- EFFECTIVE DATE: 06/15/2020             VARIOUS
2.1585 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS AND
       State what the contract or             CONDITIONS -- EFFECTIVE DATE:             VARIOUS
2.1586 lease is for and the nature            02/17/2020
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS AND
       State what the contract or             CONDITIONS -- EFFECTIVE DATE:             VARIOUS
2.1587 lease is for and the nature            04/30/2019
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              CELSIUS NETWORK TERMS AND
       State what the contract or             CONDITIONS -- EFFECTIVE DATE:             VARIOUS
2.1588 lease is for and the nature            11/08/2019
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS OF USE
       State what the contract or             -- EFFECTIVE DATE: 03/05/2020             VARIOUS
2.1589 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS LOAN TERMS AND
       State what the contract or             CONDITIONS                                VARIOUS
2.1590 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              TERMS OF SERVICE -- EFFECTIVE
       State what the contract or             DATE: 02/01/2018                          VARIOUS
2.1591 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS AND
       State what the contract or             CONDITIONS -- EFFECTIVE DATE:             VARIOUS
2.1592 lease is for and the nature            06/13/2019
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS OF USE
       State what the contract or             -- EFFECTIVE DATE: 05/05/2020             VARIOUS
2.1593 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS TERMS OF USE --
       State what the contract or             EFFECTIVE DATE: 09/30/2020                VARIOUS
2.1594 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              TERMS OF SERVICE -- EFFECTIVE
       State what the contract or             DATE: 01/02/2018                          VARIOUS
2.1595 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              CELSIUS NETWORK TERMS AND
       State what the contract or             CONDITIONS -- EFFECTIVE DATE:             VARIOUS
2.1596 lease is for and the nature            07/20/2019
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VARONIS SYSTEMS INC
2.1597 lease is for and the nature            05/11/2022                                1250 BROADWAY
       of the debtor’s interest                                                         29TH FLOOR
                                                                                        NEW YORK, NY 10001
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 07/25/2022                VARUNA GUNATILLAKE
2.1598 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VELOCITY GLOBAL, LLC
2.1599 lease is for and the nature            02/14/2022                                3858 WALNUT STREET
       of the debtor’s interest                                                         SUITE 107
                                                                                        DENVER, CO 80205
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VENTURE SMART ASIA LIMITED
2.1600 lease is for and the nature            11/19/2021                                23/F LEE GARDEN FIVE
       of the debtor’s interest                                                         18 HYSAN AVENUE
                                                                                        CAUSEWAY BAY,
           State the term remaining                                                     HONG KONG

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VERIFF OU
2.1601 lease is for and the nature            12/10/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VERIFY INVESTOR, LLC
2.1602 lease is for and the nature            05/03/2022
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VESPENE ENERGY
2.1603 lease is for and the nature            06/08/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VEXIL CAPITAL
2.1604 lease is for and the nature            05/12/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/13/2021 PLUS           VEXIL CAPITAL LTD
2.1605 lease is for and the nature            ANY ANCILLARY OR RELATED                  CLARENCE THOMAS BUILDING,
       of the debtor’s interest               DOCUMENTS                                 P.O. BOX 4649
                                                                                        ROAD TOWN,
           State the term remaining                                                     VIRGIN ISLANDS

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VICTOR YANG
2.1606 lease is for and the nature            08/30/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VICTORIA ASSET MANAGEMENT LLC
2.1607 lease is for and the nature            11/24/2021                                466 GREEN BAY RD
       of the debtor’s interest                                                         WINNETKA, IL 60093

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                VIJAY KONDURU
2.1608 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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                                                                                         whom the debtor has an executory contract or unexpired lease

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VINAY CHATLANI
2.1609 lease is for and the nature            03/07/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VINCENZO FERME
2.1610 lease is for and the nature            06/24/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VINEETH NAIRK TK
2.1611 lease is for and the nature            08/31/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VISTROVE INC.
2.1612 lease is for and the nature            12/16/2020                                1318 RIDGRETREE TRAILS CT
       of the debtor’s interest                                                         WILDWOOD, MO 63021

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 VITALII VALKOV
2.1613 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VITOR HARIEL BARAUNA
2.1614 lease is for and the nature            08/17/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VOLT TECHNOLOGIES LIMITED
2.1615 lease is for and the nature            02/18/2022                                MELCOMBE PLACE 12 MELCOMBE PLACE
       of the debtor’s interest                                                         LONDON, NW1 6JJ
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              OMNIBUS WALLET SERVICE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VOYAGER
2.1616 lease is for and the nature            06/12/2020                                33 IRVING PLACE 3060
       of the debtor’s interest                                                         NEW YORK, NY 10003

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              VOYAGER DIGITAL, LLC
2.1617 lease is for and the nature            02/10/2021                                33 IRVING PLACE
       of the debtor’s interest                                                         NEW YORK, NY 10003

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              W3BCLOUD LIMITED
2.1618 lease is for and the nature            07/20/2021                                48 RINGSEND ROAD
       of the debtor’s interest                                                         DUBLIN, 4
                                                                                        IRELAND (EIRE)
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WALLBROOK ADVISORY LIMITED
2.1619 lease is for and the nature            05/26/2022                                1 KING STREET
       of the debtor’s interest                                                         LONDON, ENGLAND, EC2V 8AU
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WALNUT, INC.
2.1620 lease is for and the nature            03/24/2022                                454 MANHATTAN AVENUE
       of the debtor’s interest                                                         NEW YORK, NY 10026

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WANG XINXI
2.1621 lease is for and the nature            05/21/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                WASEEM SHABOUT
2.1622 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                WASEEM SHABOUT
2.1623 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WAVE FINANCIAL LLC
2.1624 lease is for and the nature            03/28/2021                                12400 WILSHIRE BLVD
       of the debtor’s interest                                                         SUITE 995
                                                                                        LOS ANGELES, CA 90025
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WAZIR MARKETING SOLUTIONS LIMITED
2.1625 lease is for and the nature            03/28/2022                                UNIT 526, LEE GARDEN 3
       of the debtor’s interest                                                         1 SUNNING ROAD
                                                                                        CAUSEWAY BAY,
           State the term remaining                                                     HONG KONG

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WEALTHICA FINANCIAL TECHNOLOGY INC.
2.1626 lease is for and the nature            11/05/2021                                1100 RENÉ- LÉVESQUE BLVD
       of the debtor’s interest                                                         25TH FLOOR
                                                                                        MONTRÉAL, QC H3B 4N4
           State the term remaining                                                     CANADA

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/11/2022 PLUS           WEAVE MARKETS LTD
2.1627 lease is for and the nature            ANY ANCILLARY OR RELATED                  2454 WEST BAY ROAD, SUITE 205C
       of the debtor’s interest               DOCUMENTS                                 GRAND CAYMAN,
                                                                                        CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WEAVE MARKETS LTD
2.1628 lease is for and the nature            10/06/2021                                2454 WEST BAY ROAD, SUITE 205C
       of the debtor’s interest                                                         GRAND CAYMAN, KY1-1303
                                                                                        CAYMAN ISLANDS
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/16/2022 PLUS           WEAVE MARKETS, LP
2.1629 lease is for and the nature            ANY ANCILLARY OR RELATED                  8 THE GREEN
       of the debtor’s interest               DOCUMENTS                                 STE A
                                                                                        DOVER, DE 19901
           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WEB3 VENTURES PTY LTD
2.1630 lease is for and the nature            04/16/2022                                11 YORK ST
       of the debtor’s interest                                                         SYDNEY, NSW 2000
                                                                                        AUSTRALIA
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL CONFIDENTIALITY
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WEBBANK
2.1631 lease is for and the nature            03/01/2021                                215 SOUTH STATE STREET
       of the debtor’s interest                                                         10TH FLOOR
                                                                                        SALT LAKE CITY, UT 84111
           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WESLEY W WOSINSKI
2.1632 lease is for and the nature            02/22/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WEST HARBOR ADVISORY LLC
2.1633 lease is for and the nature            10/02/2021                                1 BRIDGE PLAZA N
       of the debtor’s interest                                                         SUITE 275
                                                                                        FORT LEE, NJ 07024
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/23/2021                WEST STREET GLOBAL GROWTH PARTNERS, L.P.
2.1634 lease is for and the nature
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              AMENDED AND RESTATED SENIOR
       State what the contract or             SECURED CONVERTIBLE                       WESTCAP MANAGEMENT, LLC
2.1635 lease is for and the nature            PROMISSORY NOTE PURCHASE                  590 PACIFIC AVENUE
       of the debtor’s interest               AGREEMENT PROMISSORY NOTE                 SAN FRANCISCO, CA 94133
                                              PURCHASE AGREEMENT
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/25/2021                WESTCAP MANAGEMENT, LLC
2.1636 lease is for and the nature                                                      590 PACIFIC AVENUE
       of the debtor’s interest                                                         SAN FRANCISCO, CA 94133

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              AMENDED AND RESTATED SENIOR
       State what the contract or             SECURED CONVERTIBLE                       WESTCAP SOF II CELSIUS 2021 AGGREGATOR, LP
2.1637 lease is for and the nature            PROMISSORY NOTE PURCHASE
       of the debtor’s interest               AGREEMENT PROMISSORY NOTE
                                              PURCHASE AGREEMENT
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WESTRIDGE MARKETS LIMITED
2.1638 lease is for and the nature            07/06/2021                                ATTN: MUHAMMAD OMER SULEMAN
       of the debtor’s interest                                                         15 BOWLING GREEN LANE
                                                                                        LONDON, EC1R 0BD
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WESTRIDGE MARKETS LIMITED
2.1639 lease is for and the nature            07/06/2021                                15 BOWLING GREEN LANE
       of the debtor’s interest                                                         LONDON, EC1R 0BD
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WHITESMOKE SOFTWARE LTD
2.1640 lease is for and the nature            03/01/2021                                20 RAUL VALENBERG ST.
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/03/2022                WILLIAM ENNIS
2.1641 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WILLIAM MARLETT
2.1642 lease is for and the nature            02/18/2021                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WILLIAM MATTHEW LUKE
2.1643 lease is for and the nature            06/29/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WILLIAM OU
2.1644 lease is for and the nature            06/09/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WINCENT INVESTMENT FUND PCC LTD
2.1645 lease is for and the nature            11/22/2021                                6.20 WORLD TRADE CENTER, 6 BAYSIDE ROAD
       of the debtor’s interest                                                         GIBRALTAR,
                                                                                        GIBRALTAR
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/22/2021 PLUS           WINCENT INVESTMENT FUND PCC LTD
2.1646 lease is for and the nature            ANY ANCILLARY OR RELATED                  6.20 WORLD TRADE CENTER
       of the debtor’s interest               DOCUMENTS                                 6 BAYSIDE ROAD,
                                                                                        GX11 1AA
           State the term remaining                                                     GIBRALTAR

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WING SECURITY LTD
2.1647 lease is for and the nature            03/17/2022                                114 YIGAL ALON 114
       of the debtor’s interest                                                         TEL AVIV,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/10/2021                WINSTON SMITH
2.1648 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/25/2021                WINTERMUTE TRADING LTD
2.1649 lease is for and the nature                                                      3RD FLOOR, 1 ASHLEY ROAD, ALTRINCHAM
       of the debtor’s interest                                                         CHESHIRE, WA14 2DT
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              LIQUIDITY CONSULTING AND LOAN
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WINTERMUTE TRADING LTD
2.1650 lease is for and the nature            03/02/2021                                ATTN: EVGENY GAEVOY
       of the debtor’s interest                                                         3RD FLOOR, 1 ASHLEY ROAD
                                                                                        ALTRINCHAN, CHESHIRE, WA14 2DT
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              DIGITAL ASSET LENDING
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WINTERMUTE TRADING LTD
2.1651 lease is for and the nature            03/02/2020 PLUS ANY ANCILLARY OR          ATTN: CEO
       of the debtor’s interest               RELATED DOCUMENTS                         2 EASTBOURNE TERRACE
                                                                                        LONDON, W26LG
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/05/2021 PLUS           WIRE PAYMENTS, INC.
2.1652 lease is for and the nature            ANY ANCILLARY OR RELATED                  660 4TH STREET
       of the debtor’s interest               DOCUMENTS                                 SUITE 462
                                                                                        SAN FRANCISCO, CA 94103
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WIREX CUBE SYSTEMS LTD
2.1653 lease is for and the nature            01/29/2022                                DERECH HAHORESH 4
       of the debtor’s interest                                                         YEHUD MONOSSON,
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 05/26/2020                WIREX LIMITED
2.1654 lease is for and the nature                                                      34-37 LIVERPOOL ST
       of the debtor’s interest                                                         LONDON, EC2M 7PP
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2022                WITHROW COURT HOLDINGS LLC
2.1655 lease is for and the nature                                                      4629 SAN MARTINO
       of the debtor’s interest                                                         WESLEY CHAPEL, FL 33543

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WOORTON SAS
2.1656 lease is for and the nature            04/28/2021                                18 RUE SAINTE FOY
       of the debtor’s interest                                                         PARIS, 75002
                                                                                        FRANCE
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 03/22/2021                WORKFI OÜ
2.1657 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WTG CONSULTING INC
2.1658 lease is for and the nature            07/10/2021                                1739 FRANCES STREET
       of the debtor’s interest                                                         VANCOUVER, BC V5L 1Z5
                                                                                        CANADA
           State the term remaining

           List the contract number of
           any government contract

                                              NON DISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 06/23/2021                WYRE PAYMENTS INC
2.1659 lease is for and the nature                                                      1209 ORANGE ST
       of the debtor’s interest                                                         WILMINGTON, DE 19801

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              WYRE PAYMENTS INC.
2.1660 lease is for and the nature            06/23/2021                                ATTN: IOANNIS GIANNAROS
       of the debtor’s interest                                                         1209 ORANGE STREET
                                                                                        WILMINGTON, DE
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/05/2021 PLUS           WYRE PAYMENTS, INC.
2.1661 lease is for and the nature            ANY ANCILLARY OR RELATED
       of the debtor’s interest               DOCUMENTS

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              XHUB LTD
2.1662 lease is for and the nature            12/09/2020                                LEVEL 1 NORTHSIDE HOUSE
       of the debtor’s interest                                                         LONDON,
                                                                                        UNITED KINGDOM
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/18/2022                YAACOV SAKOWITZ
2.1663 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/23/2020                YAIR TAL
2.1664 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                YAIR TAL
2.1665 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 YAIR TAL
2.1666 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 YANIV TSUR
2.1667 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YANNICK DUGUAY
2.1668 lease is for and the nature            03/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YAPSTONE INTERNATIONAL HOLDINGS, INC.
2.1669 lease is for and the nature            04/11/2022                                2121 N. CALIFORNIA BLVD.
       of the debtor’s interest                                                         SUITE 400
                                                                                        WALNUT CREEK, CA 94596
           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                YARDEN NOY
2.1670 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/20/2021                YARDEN NOY
2.1671 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 YARDEN NOY
2.1672 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 12/20/2021                YARON REMEN
2.1673 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YELLOWHEAD, LTD
2.1674 lease is for and the nature            01/25/2021                                PO BOX 320
       of the debtor’s interest                                                         KIBBUTZ GA'ASH, 6095000
                                                                                        ISRAEL
           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/06/2022                YLAN KAZI
2.1675 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 YONY BRANTZ
2.1676 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 YOSSI BELLO
2.1677 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YOSSI GOLDLUST
2.1678 lease is for and the nature            06/23/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YOUREE LEE
2.1679 lease is for and the nature            06/21/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/12/2021                YUANHAI SHI
2.1680 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              BETA TEST NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              YURI ABDÚ MARTINS DOS SANTOS TEIXEIRA
2.1681 lease is for and the nature            07/05/2020                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/05/2022                YUSUF BEGG
2.1682 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 04/20/2021                Z VENTURE CAPITAL CORPORATION
2.1683 lease is for and the nature                                                      1-3, KIOI-CHO, CHIYODA-KU
       of the debtor’s interest                                                         TOKYO, 102-8282
                                                                                        JAPAN
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZACH DEXTER
2.1684 lease is for and the nature            05/07/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                ZACHARY WILDES
2.1685 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 11/06/2020                ZACHARY WILDES
2.1686 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 09/13/2021 PLUS           ZEROCAP LIMITED
2.1687 lease is for and the nature            ANY ANCILLARY OR RELATED                  149 EDMUND ST
       of the debtor’s interest               DOCUMENTS                                 RUTLAND HOUSE
                                                                                        BIRMINGHAM, B32JQ
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 09/08/2021 PLUS           ZEROCAP LIMITED
2.1688 lease is for and the nature            ANY ANCILLARY OR RELATED                  148 EDMUND ST
       of the debtor’s interest               DOCUMENTS                                 RUTLAND HOUSE
                                                                                        BIRMINGHAM, B32JQ
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZEROCAP LIMITED
2.1689 lease is for and the nature            08/05/2021                                SQUIRE PATTON BOGGS (UK) LLP
       of the debtor’s interest                                                         RUTLAND HOUSE, 148 EDMUND STREET
                                                                                        BIRMINGHAM, B3 2JR
           State the term remaining                                                     UNITED KINGDOM

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 02/23/2022 PLUS           ZEROCAP PTY LIMITED
2.1690 lease is for and the nature            ANY ANCILLARY OR RELATED                  RIALTO SOUTH TOWER LEVEL 29
       of the debtor’s interest               DOCUMENTS                                 COLLINS STREET
                                                                                        MELBOURNE, 3000
           State the term remaining                                                     AUSTRALIA

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZETA SERVICES INC.
2.1691 lease is for and the nature            12/19/2021                                3001 BISHOP DRIVE
       of the debtor’s interest                                                         SUITE 300
                                                                                        SAN RAMON, CA 94583
           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NONDISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZHIHU CHEN
2.1692 lease is for and the nature            05/29/2022                                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZILLIQA RESEARCH PTE. LTD
2.1693 lease is for and the nature            07/15/2021                                12 MARINA VIEW #11-01 ASIA SQUARE TOWER 2
       of the debtor’s interest                                                         018961
                                                                                        SINGAPORE
           State the term remaining

           List the contract number of
           any government contract

                                              MASTER LOAN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 08/05/2021 PLUS           ZILLIQA RESEARCH PTE. LTD.
2.1694 lease is for and the nature            ANY ANCILLARY OR RELATED                  ATTN: AMRIT KUMAR
       of the debtor’s interest               DOCUMENTS                                 12 MARINA VIEW, #11-01
                                                                                        ASIA SQUARE TOWER 2
           State the term remaining                                                     018961
                                                                                        SINGAPORE
           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/10/2021                ZOHAR ARMONI
2.1695 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              RESTRICTED TOKEN AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/28/2021                ZOHAR ARMONI
2.1696 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              STOCK OPTION GRANT NOTICE AND
       State what the contract or             STOCK OPTION AGREEMENT --                 ZOHAR ARMONI
2.1697 lease is for and the nature            EFFECTIVE DATE: 12/08/2021                ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              NONDISCLOSURE AGREEMENT --
       State what the contract or             EFFECTIVE DATE: 01/01/2022                ZORAN BABIC
2.1698 lease is for and the nature                                                      ADDRESS REDACTED
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:              ZURICH AMERICAN INSURANCE COMPANY
2.1699 lease is for and the nature            05/05/2021                                1299 ZURICH WAY
       of the debtor’s interest                                                         SCHAUMBURG, IL 60196

           State the term remaining

           List the contract number of
           any government contract




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    List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease

                                              MUTUAL NON DISCLOSURE
       State what the contract or             AGREEMENT -- EFFECTIVE DATE:               ZURICH NORTH AMERICA
2.1700 lease is for and the nature            07/26/2021
       of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining

           List the contract number of
           any government contract




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  Fill in this information to identify the case:
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  Debtor name        Celsius Network Limited

  United States Bankruptcy Court for the:       Southern District of New York
                                                                                                                                                               ¨ Check if this is an
  Case number (If known):         22-10966                                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                                          12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the additional Page to this page.



   1. Does the debtor have any codebtors?

        ¨    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

        þ    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.


          Column 1: Codebtor                                                                                                              Column 2: Creditor

                                                                                                                                                                 Check all schedules
            Name                               Mailing address                                                                              Name
                                                                                                                                                                 that apply:

  2.1   Celsius Mining LLC                   121 RIVER STREET                                                                           SHEFA CAPITAL LTD        ¨    D
                                             PH05
                                                                                                                                                                 ¨    E/F
                                             HOBOKEN, NJ 07030
                                             UNITED STATES
                                                                                                                                                                 þ    G




  2.2   Celsius Network Europe                                                                                                          QUANTOX                  ¨    D
        d.o.o. Beograd                                                                                                                  TECHNOLOGY D.O.O.
                                                                                                                                                                 ¨    E/F
                                                                                                                                        CACAK
                                                                                                                                                                 þ    G




  2.3   Celsius Network Inc.                 121 RIVER STREET                                                                           ABE STOREY               ¨    D
                                             PH05
                                                                                                                                                                 ¨    E/F
                                             HOBOKEN, NJ 07030
                                             UNITED STATES
                                                                                                                                                                 þ    G




  2.4   Celsius Network Inc.                 121 RIVER STREET                                                                           ADONIS DEMETRIOU         ¨    D
                                             PH05
                                                                                                                                                                 ¨    E/F
                                             HOBOKEN, NJ 07030
                                             UNITED STATES
                                                                                                                                                                 þ    G




  2.5   Celsius Network Inc.                 121 RIVER STREET                                                                           AJAH S. WALKER           ¨    D
                                             PH05
                                                                                                                                                                 ¨    E/F
                                             HOBOKEN, NJ 07030
                                             UNITED STATES
                                                                                                                                                                 þ    G




  2.6   Celsius Network Inc.                 121 RIVER STREET                                                                           ALEKSANDRA KRDZIC        ¨    D
                                             PH05
                                                                                                                                                                 ¨    E/F
                                             HOBOKEN, NJ 07030
                                             UNITED STATES
                                                                                                                                                                 þ    G




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         Column 1: Codebtor                                                                                                    Column 2: Creditor

            Name                          Mailing address                                                                        Name               Check all schedules
                                                                                                                                                    that apply:

  2.7   Celsius Network Inc.            121 RIVER STREET                                                                       AMBER TECHNOLOGIES    ¨    D
                                        PH05                                                                                   LIMITED
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




  2.8   Celsius Network Inc.            121 RIVER STREET                                                                       ANDREW TURLEY         ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




  2.9   Celsius Network Inc.            121 RIVER STREET                                                                       ANTHONY LINGARD       ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.10   Celsius Network Inc.            121 RIVER STREET                                                                       ANTONIS               ¨    D
                                        PH05                                                                                   CHRISTODOULOU
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.11   Celsius Network Inc.            121 RIVER STREET                                                                       ANTONY LINGARD        ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.12   Celsius Network Inc.            121 RIVER STREET                                                                       ASAF COHEN            ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.13   Celsius Network Inc.            121 RIVER STREET                                                                       ATHOS KOUTRA          ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.14   Celsius Network Inc.            121 RIVER STREET                                                                       BC TECHNOLOGY         ¨    D
                                        PH05                                                                                   GROUP LIMITED
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




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         Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.15   Celsius Network Inc.            121 RIVER STREET                                                                       BCRS2 LLC              ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.16   Celsius Network Inc.            121 RIVER STREET                                                                       BERND FORTSCH          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.17   Celsius Network Inc.            121 RIVER STREET                                                                       BRIAN STRAUSS          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.18   Celsius Network Inc.            121 RIVER STREET                                                                       BRUNO ALESSIO CARRA    ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.19   Celsius Network Inc.            121 RIVER STREET                                                                       CARLEEN LEONARD        ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.20   Celsius Network Inc.            121 RIVER STREET                                                                       CEX.IO LTD             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.21   Celsius Network Inc.            121 RIVER STREET                                                                       CHARLOTTE              ¨    D
                                        PH05                                                                                   FERRIS-LAWLOR
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.22   Celsius Network Inc.            121 RIVER STREET                                                                       CHRIS KUNZE-LEVY       ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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         Column 1: Codebtor                                                                                                    Column 2: Creditor

            Name                          Mailing address                                                                        Name               Check all schedules
                                                                                                                                                    that apply:

 2.23   Celsius Network Inc.            121 RIVER STREET                                                                       CHRISTIAAN            ¨    D
                                        PH05                                                                                   HAUSSMANN
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.24   Celsius Network Inc.            121 RIVER STREET                                                                       CHRISTIAN CHOI        ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.25   Celsius Network Inc.            121 RIVER STREET                                                                       CHRISTIAN VELEZ       ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.26   Celsius Network Inc.            121 RIVER STREET                                                                       CHRISTIAN VELEZ       ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.27   Celsius Network Inc.            121 RIVER STREET                                                                       CHRISTOPHER LALLY     ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.28   Celsius Network Inc.            121 RIVER STREET                                                                       CRAIG LOSPALLUTO      ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.29   Celsius Network Inc.            121 RIVER STREET                                                                       DARRON MOULD          ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.30   Celsius Network Inc.            121 RIVER STREET                                                                       DAX NAGTEGAAL         ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




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            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.31   Celsius Network Inc.            121 RIVER STREET                                                                       DIANA VALENTIN A       ¨    D
                                        PH05                                                                                   CASTILLO GARCIA
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.32   Celsius Network Inc.            121 RIVER STREET                                                                       DRAGOS IOAN ILIE       ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.33   Celsius Network Inc.            121 RIVER STREET                                                                       ERICH DELLA VOLPE      ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.34   Celsius Network Inc.            121 RIVER STREET                                                                       ERIK ELIAS             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.35   Celsius Network Inc.            121 RIVER STREET                                                                       EWA WLOSEK             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.36   Celsius Network Inc.            121 RIVER STREET                                                                       FRANK VAN ETTEN        ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.37   Celsius Network Inc.            121 RIVER STREET                                                                       GEORGIOS RETOUDIS      ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.38   Celsius Network Inc.            121 RIVER STREET                                                                       GLENN WILLIAMS JR      ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.39   Celsius Network Inc.            121 RIVER STREET                                                                       GRETA VAN              ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.40   Celsius Network Inc.            121 RIVER STREET                                                                       GUILLERMO BODNAR       ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.41   Celsius Network Inc.            121 RIVER STREET                                                                       GUY STIEBEL            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.42   Celsius Network Inc.            121 RIVER STREET                                                                       HSU LI                 ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.43   Celsius Network Inc.            121 RIVER STREET                                                                       IAN JOHNSON            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.44   Celsius Network Inc.            121 RIVER STREET                                                                       ISHAN GOEL             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.45   Celsius Network Inc.            121 RIVER STREET                                                                       JACOB CLEMENT          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.46   Celsius Network Inc.            121 RIVER STREET                                                                       JACOB GRANT            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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         Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.47   Celsius Network Inc.            121 RIVER STREET                                                                       JALAL UDDIN            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.48   Celsius Network Inc.            121 RIVER STREET                                                                       JAMES HOBSON           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.49   Celsius Network Inc.            121 RIVER STREET                                                                       JAY SALVATI            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.50   Celsius Network Inc.            121 RIVER STREET                                                                       JAY SCHOFIELD          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.51   Celsius Network Inc.            121 RIVER STREET                                                                       JESSICA PECK           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.52   Celsius Network Inc.            121 RIVER STREET                                                                       JESSICA VELIZ          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.53   Celsius Network Inc.            121 RIVER STREET                                                                       JOEL PEDERIGAN         ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.54   Celsius Network Inc.            121 RIVER STREET                                                                       JOHANNA SCOTT          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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            Name                          Mailing address                                                                        Name               Check all schedules
                                                                                                                                                    that apply:

 2.55   Celsius Network Inc.            121 RIVER STREET                                                                       JOHN AMOROSANA        ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.56   Celsius Network Inc.            121 RIVER STREET                                                                       JOHN SCIANNA          ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.57   Celsius Network Inc.            121 RIVER STREET                                                                       JOHN SHKEDI           ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.58   Celsius Network Inc.            121 RIVER STREET                                                                       JOSE MARIA            ¨    D
                                        PH05                                                                                   CABALLERO BECERRIL
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.59   Celsius Network Inc.            121 RIVER STREET                                                                       JOVANA GROZDANIC      ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.60   Celsius Network Inc.            121 RIVER STREET                                                                       JULIE SECOR           ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.61   Celsius Network Inc.            121 RIVER STREET                                                                       JYOTI SINGLA          ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




 2.62   Celsius Network Inc.            121 RIVER STREET                                                                       KACEY WOODS           ¨    D
                                        PH05
                                                                                                                                                     ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                þ    G




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            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.63   Celsius Network Inc.            121 RIVER STREET                                                                       KARIN AIRY             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.64   Celsius Network Inc.            121 RIVER STREET                                                                       KAROL NOWAK            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.65   Celsius Network Inc.            121 RIVER STREET                                                                       KEVIN BRADFORD         ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.66   Celsius Network Inc.            121 RIVER STREET                                                                       LAUREN SMITH           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.67   Celsius Network Inc.            121 RIVER STREET                                                                       LEVI SOLOMON           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.68   Celsius Network Inc.            121 RIVER STREET                                                                       LIAM DUNN              ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.69   Celsius Network Inc.            121 RIVER STREET                                                                       LUCIE FAHY             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.70   Celsius Network Inc.            121 RIVER STREET                                                                       LUKE WAGMAN            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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            Name                          Mailing address                                                                        Name                 Check all schedules
                                                                                                                                                      that apply:

 2.71   Celsius Network Inc.            121 RIVER STREET                                                                       MADHU KUTTY             ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.72   Celsius Network Inc.            121 RIVER STREET                                                                       MARGARITA               ¨    D
                                        PH05                                                                                   GEORGIADOU
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.73   Celsius Network Inc.            121 RIVER STREET                                                                       MARIANA HALL            ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.74   Celsius Network Inc.            121 RIVER STREET                                                                       MARK EDDISON            ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.75   Celsius Network Inc.            121 RIVER STREET                                                                       MARY KATE FIORAVANTI    ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.76   Celsius Network Inc.            121 RIVER STREET                                                                       MATTHEW ROSZAK          ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.77   Celsius Network Inc.            121 RIVER STREET                                                                       MATTHEW S. HEARY        ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




 2.78   Celsius Network Inc.            121 RIVER STREET                                                                       MERYL DAWSON            ¨    D
                                        PH05
                                                                                                                                                       ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                  þ    G




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         Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.79   Celsius Network Inc.            121 RIVER STREET                                                                       MICHAEL JAMES          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.80   Celsius Network Inc.            121 RIVER STREET                                                                       MICHAEL PASSADE        ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.81   Celsius Network Inc.            121 RIVER STREET                                                                       MICHEL RIBEIRO         ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.82   Celsius Network Inc.            121 RIVER STREET                                                                       MONICA VARZEA          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.83   Celsius Network Inc.            121 RIVER STREET                                                                       MOSHE SHEVACH          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.84   Celsius Network Inc.            121 RIVER STREET                                                                       MOTION CAPITAL         ¨    D
                                        PH05                                                                                   GROUP FUND LTD
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.85   Celsius Network Inc.            121 RIVER STREET                                                                       NEHAL JOSHI            ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.86   Celsius Network Inc.            121 RIVER STREET                                                                       NEIL PATEL             ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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            Name                          Mailing address                                                                        Name                Check all schedules
                                                                                                                                                     that apply:

 2.87   Celsius Network Inc.            121 RIVER STREET                                                                       NEMANJA JOLOVIC        ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.88   Celsius Network Inc.            121 RIVER STREET                                                                       NIRAJ GAUTAM           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.89   Celsius Network Inc.            121 RIVER STREET                                                                       NITHIN EAPEN           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.90   Celsius Network Inc.            121 RIVER STREET                                                                       OLIVER BROWN           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.91   Celsius Network Inc.            121 RIVER STREET                                                                       OR HIRSCHHORN          ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.92   Celsius Network Inc.            121 RIVER STREET                                                                       OSL SG PTE. LTD.       ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.93   Celsius Network Inc.            121 RIVER STREET                                                                       PANAYIOTIS MICHAELS    ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




 2.94   Celsius Network Inc.            121 RIVER STREET                                                                       PETER GRAHAM           ¨    D
                                        PH05
                                                                                                                                                      ¨    E/F
                                        HOBOKEN, NJ 07030
                                        UNITED STATES                                                                                                 þ    G




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            Name                           Mailing address                                                                        Name                 Check all schedules
                                                                                                                                                       that apply:

 2.95    Celsius Network Inc.            121 RIVER STREET                                                                       POLYPHASE CAPITAL LP    ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.96    Celsius Network Inc.            121 RIVER STREET                                                                       POWER BLOCK COIN        ¨    D
                                         PH05                                                                                   LLC
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.97    Celsius Network Inc.            121 RIVER STREET                                                                       QUINN M LAWLOR          ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.98    Celsius Network Inc.            121 RIVER STREET                                                                       RAFAEL RECHE            ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.99    Celsius Network Inc.            121 RIVER STREET                                                                       RAFAL MOLAK             ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.100   Celsius Network Inc.            121 RIVER STREET                                                                       RAFAL MOLAK             ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.101   Celsius Network Inc.            121 RIVER STREET                                                                       REA KLAYMAN             ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.102   Celsius Network Inc.            121 RIVER STREET                                                                       REBECCA SWEETMAN        ¨    D
                                         PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




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            Name                           Mailing address                                                                        Name               Check all schedules
                                                                                                                                                     that apply:

 2.103   Celsius Network Inc.            121 RIVER STREET                                                                       RON DEUTSCH           ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.104   Celsius Network Inc.            121 RIVER STREET                                                                       RYAN GUARASCIA        ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.105   Celsius Network Inc.            121 RIVER STREET                                                                       SALOME MKHEIDZE       ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.106   Celsius Network Inc.            121 RIVER STREET                                                                       SAM FORTUNE           ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.107   Celsius Network Inc.            121 RIVER STREET                                                                       SCOTT GRAVES          ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.108   Celsius Network Inc.            121 RIVER STREET                                                                       SCOTT TAYLOR          ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.109   Celsius Network Inc.            121 RIVER STREET                                                                       SEBINA WILCOCK        ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




 2.110   Celsius Network Inc.            121 RIVER STREET                                                                       SIMON CALLAGHAN       ¨    D
                                         PH05
                                                                                                                                                      ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                þ    G




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               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


          Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                           Mailing address                                                                        Name                Check all schedules
                                                                                                                                                      that apply:

 2.111   Celsius Network Inc.            121 RIVER STREET                                                                       TANER HASSAN           ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.112   Celsius Network Inc.            121 RIVER STREET                                                                       TIA NEL                ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.113   Celsius Network Inc.            121 RIVER STREET                                                                       TRIGON TRADING PTY     ¨    D
                                         PH05                                                                                   LTD
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.114   Celsius Network Inc.            121 RIVER STREET                                                                       TUSHAR NADKARNI        ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.115   Celsius Network Inc.            121 RIVER STREET                                                                       TYLER WELLS            ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.116   Celsius Network Inc.            121 RIVER STREET                                                                       VANESSA DE LA TORRE    ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.117   Celsius Network Inc.            121 RIVER STREET                                                                       VANITA PATEL           ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




 2.118   Celsius Network Inc.            121 RIVER STREET                                                                       WINSTON SMITH          ¨    D
                                         PH05
                                                                                                                                                       ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                 þ    G




Official Form 206H                                                                Schedule H: Codebtors                                                    Page 15 of 17
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   Debtor    Celsius Network Limited
                                                                         Pg 319 of 321 Case number (If known): 22-10966

             Name


              Additional Page if Debtor Has More Codebtors


               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


          Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                           Mailing address                                                                        Name                   Check all schedules
                                                                                                                                                         that apply:

 2.119   Celsius Network Inc.            121 RIVER STREET                                                                       WINTERMUTE TRADING        ¨    D
                                         PH05                                                                                   LTD
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.120   Celsius Network Inc.            121 RIVER STREET                                                                       YAIR TAL                  ¨    D
                                         PH05
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.121   Celsius Network Inc.            121 RIVER STREET                                                                       YARDEN NOY                ¨    D
                                         PH05
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.122   Celsius Network Inc.            121 RIVER STREET                                                                       YUANHAI SHI               ¨    D
                                         PH05
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.123   Celsius Network Inc.            121 RIVER STREET                                                                       ZOHAR ARMONI              ¨    D
                                         PH05
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.124   Celsius Network LLC             121 RIVER STREET                                                                       AMON OU                   ¨    D
                                         PH05
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                    þ    G




 2.125   Celsius Networks Lending        121 RIVER STREET                                                                       DIVERSIFIED ALPHA SP -    ¨    D
         LLC                             PH05                                                                                   INSTITUTIONAL, A
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030                                                                      SEGREGATED
                                         UNITED STATES                                                                          PORTFOLIO OF NICKEL       þ    G
                                                                                                                                DIGITAL ASSET MASTER



 2.126   Celsius Networks Lending        121 RIVER STREET                                                                       DIVERSIFIED ALPHA SP -    ¨    D
         LLC                             PH05                                                                                   INSTITUTIONAL, A
                                                                                                                                                          ¨    E/F
                                         HOBOKEN, NJ 07030                                                                      SEGREGATED
                                         UNITED STATES                                                                          PORTFOLIO OF NICKEL       þ    G
                                                                                                                                DIGITAL ASSET MASTER




Official Form 206H                                                                Schedule H: Codebtors                                                       Page 16 of 17
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   Debtor    Celsius Network Limited
                                                                         Pg 320 of 321 Case number (If known): 22-10966

             Name


              Additional Page if Debtor Has More Codebtors


               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


          Column 1: Codebtor                                                                                                     Column 2: Creditor

            Name                           Mailing address                                                                        Name                 Check all schedules
                                                                                                                                                       that apply:

 2.127   Celsius Networks Lending        121 RIVER STREET                                                                       NICKEL DIGITAL ASSET    ¨    D
         LLC                             PH05                                                                                   FUND SPC
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.128   Celsius Networks Lending        121 RIVER STREET                                                                       NICKEL DIGITAL ASSET    ¨    D
         LLC                             PH05                                                                                   MASTER FUND SPC -
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030                                                                      DIGITAL FACTORS FUND
                                         UNITED STATES                                                                          SP                      þ    G




 2.129   Celsius Networks Lending        121 RIVER STREET                                                                       NICOLO VOGEL            ¨    D
         LLC                             PH05
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.130   Celsius Networks Lending        121 RIVER STREET                                                                       OILTRADING.COM PTE      ¨    D
         LLC                             PH05                                                                                   LTD.
                                                                                                                                                        ¨    E/F
                                         HOBOKEN, NJ 07030
                                         UNITED STATES                                                                                                  þ    G




 2.131                                                                                                                                                  ¨    D
                                                                                                                                                        ¨    E/F
                                                                                                                                                        ¨    G




 2.132                                                                                                                                                  ¨    D
                                                                                                                                                        ¨    E/F
                                                                                                                                                        ¨    G




 2.133                                                                                                                                                  ¨    D
                                                                                                                                                        ¨    E/F
                                                                                                                                                        ¨    G




 2.134                                                                                                                                                  ¨    D
                                                                                                                                                        ¨    E/F
                                                                                                                                                        ¨    G




Official Form 206H                                                                Schedule H: Codebtors                                                     Page 17 of 17
                 22-10966-mg                 Doc 7        Filed 10/05/22 Entered 10/05/22 23:48:22                                     Main Document
  Fill in this information to identify the case and this filing:
                                                                      Pg 321 of 321

   Debtor name     Celsius Network Limited


   United States Bankruptcy Court for the:   Southern District of New York


   Case number (If known)      22-10966




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets
and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the
individual’s position or relationship to the debtor , the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature




        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        þ      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

        þ      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

        þ      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

        þ      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

        þ      Schedule H: Codebtors (Official Form 206H)

        þ      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

        ¨     Amended Schedule

        ¨      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

        ¨      Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.



        Executed on      10/05/2022                                          X /s/ Christopher Ferraro
                         MM / DD / YYYY                                         Signature of individual signing on behalf of debtor




                                                                                Christopher Ferraro
                                                                                Printed name

                                                                                Acting CEO, CRO & CFO
                                                                                Position or relationship to debtor




     Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
